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                 Exhibit 11
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FUHGLWRUGHELWDFFRXQWVDW$JULFXOWXUDO%DQNRI&KLQD/LPLWHGKHOGE\-XGJPHQW'HEWRUV
LQFOXGLQJEXWQRWOLPLWHGWRWKHEDQNDFFRXQWVLGHQWLILHGDVEHORQJLQJWR-XGJPHQW'HEWRUVDV
VHWIRUWKLQ([KLELWWRWKH-XGJPHQWDQG$WWDFKPHQWWRWKH2UGHUDQGDVVHWIRUWKLQ
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DQ\RILWVDIILOLDWHVVXEVLGLDULHVPDQDJHUVHPSOR\HHVDJHQWVUHSUHVHQWDWLYHVFRQVXOWDQWV
DWWRUQH\VRUDQ\RWKHUSHUVRQRUHQWLW\DFWLQJIRUDWWKHGLUHFWLRQRIRURQEHKDOIRI$%&

             ³&20081,&$7,21´LVXVHGKHUHLQLQDVGHILQHGLQ5XOH F  RIWKH
/RFDO5XOHVRIWKH8QLWHG6WDWHV'LVWULFW&RXUWVIRUWKH6RXWKHUQDQG(DVWHUQ'LVWULFWVRI1HZ
<RUNDQGLVXVHGWKHFRPSUHKHQVLYHVHQVHDQGPHDQVHYHU\FRQFHLYDEOHPDQQHURUPHDQVRI
GLVFORVXUHWUDQVIHURUH[FKDQJHRIRUDOHOHFWURQLFGLJLWDORUZULWWHQLQIRUPDWLRQEHWZHHQRU
DPRQJRQHRUPRUHSHUVRQVRUHQWLWLHVLQFOXGLQJEXWQRWOLPLWHGWRZULWLQJVFRUUHVSRQGHQFH
PHHWLQJVFRQIHUHQFHVFRQYHUVDWLRQVGLDORJXHVGLVFXVVLRQVLQWHUYLHZVFRQVXOWDWLRQV
DJUHHPHQWVLQTXLULHVDQGDQ\RWKHUH[SUHVVLRQVRUXQGHUVWDQGLQJVZKHWKHUPDGHIDFHWRIDFH
E\WHOHSKRQHPDLOIDFVLPLOHHPDLOFRPSXWHURURWKHUZLVH

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             ³³'2&80(17´RU³'2&80(176´LVV\QRQ\PRXVZLWKWKHXVDJHRIWKDWWHUP
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WKH8QLWHG6WDWHV'LVWULFW&RXUWVIRUWKH6RXWKHUQDQG(DVWHUQ'LVWULFWVRI1HZ<RUNDQGLVXVHG
KHUHLQLQWKHEURDGHVWVHQVHRIWKHZRUGDQGLQFOXGHVZLWKRXWOLPLWDWLRQGUDIWVDQGILQDO
YHUVLRQVRIWKHIROORZLQJDFFRXQWUHFRUGVDFFRXQWVWDWHPHQWVEDQNUHFRUGVEDQNVWDWHPHQWV
FDQFHOHGFKHFNVDQGWKHLULPDJHVGHSRVLWHGFKHFNVDQGWKHLULPDJHVGHSRVLWVOLSVZLWKGUDZDO
VOLSVZLUHWUDQVIHULQVWUXFWLRQVDQGUHFHLSWVFHUWLILFDWHVRIGHSRVLWHPDLOVZULWWHQVWDWHPHQWV
ZULWLQJVRUUHSRUWV ZKHWKHUVXEPLWWHGPRQWKO\TXDUWHUO\VHPLDQQXDOO\DQQXDOO\RURWKHUZLVH 
SDSHUVQRWHVPHPRUDQGDFRUUHVSRQGHQFHFRPPXQLFDWLRQVLQYRLFHVPHPRUDQGDRIPHHWLQJV
RUFRQYHUVDWLRQVWHOHSKRQHUHFRUGVFRPSXWHUWDSHVFRPSXWHUSULQWRXWVDQGRWKHUGDWD
FRPSLODWLRQVIURPZKLFKLQIRUPDWLRQFDQEHREWDLQHGRUWUDQVODWHGDOOHOHFWURQLFPHFKDQLFDO
PDJQHWLFRSWLFDORUHOHFWULFGDWDUHFRUGVRUUHSUHVHQWDWLRQVRIDQ\NLQG LQFOXGLQJFRPSXWHU
GDWDFRPSXWHUILOHVFRPSXWHUSURJUDPVKDUGGULYHVIORSS\GLVNVFRPSDFWGLVNVWDSHVDQG
FDUGVH[LVWLQJRQGHVNWRSFRPSXWHUVODSWRSFRPSXWHUVQRWHERRNFRPSXWHUVSHUVRQDOGLJLWDO
DVVLVWDQWFRPSXWHUVVHUYHUVEDFNXSWDSHVRUDQ\RWKHUPHGLXP DQGDQ\RWKHUIRUPRISK\VLFDO
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LGHQWLILHGDV-XGJPHQW'HEWRUVLQWKH-XGJPHQWDQGWKHH[KLELWVWKHUHWRDQGDVVHWIRUWKLQWKH
2UGHUDQGWKHDWWDFKPHQWVWKHUHWRDQGWKHLU³RIILFHUVGLUHFWRUVHPSOR\HHVSDUWQHUVFRUSRUDWH
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ZLWKFRPPHQWLQJDERXWUHIHUULQJWRSHUWDLQLQJWRUHVSRQGLQJWRRULQDQ\ZD\ORJLFDOO\RU
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WKHH[WHQWGRFXPHQWVKDYHDOUHDG\EHHQSURGXFHGLQUHVSRQVHWRWKH2UGHUWKH\QHHGQRWEH
SURGXFHGDJDLQ$Q\QRQGXSOLFDWLYHUHVSRQVLYHGRFXPHQWVPXVWEHSURGXFHGLQUHVSRQVHWR
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SURGXFHWKHRULJLQDORIHYHU\UHTXHVWHGGRFXPHQWDQGWDQJLEOHWKLQJDQGDQ\FRSLHVWKDWKDYH
EHHQDOWHUHGLQDQ\ZD\RUWKDWFRQWDLQRQWKHLUIDFHDGGLWLRQDOPDUNLQJVFRPPHQWVRU
LQIRUPDWLRQ,IWKHRULJLQDORIDQ\GRFXPHQWLVQRWDYDLODEOHWKHPRVWOHJLEOHFRS\VKRXOGEH
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GRFXPHQWUHTXHVWRULQWKHDOWHUQDWLYHWKH\PD\EHSURGXFHGLQWKHVDPHRUGHULQZKLFKWKH\
DUHPDLQWDLQHGLQWKHXVXDOFRXUVHRIEXVLQHVV(OHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQFOXGLQJEXW
QRWOLPLWHGWRHPDLODFFRXQWGRFXPHQWDWLRQZLUHWUDQVIHUUHFRUGVDQGEDQNUHFRUGVVKDOOEH
SURGXFHGLQWKHIRUPRUIRUPVLQZKLFKLWLVRUGLQDULO\PDLQWDLQHGRULQDIRUPWKDWLVUHDVRQDEO\
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SULYLOHJHZRUNSURGXFWSULYLOHJHRUDQ\RWKHUSULYLOHJHLWLVUHTXHVWHGWKDW\RXVXEPLWIRUHDFK
GRFXPHQWZLWKKHOGDZULWWHQVWDWHPHQWWKDWVSHFLILHVWKHSULYLOHJHRURWKHUDVVHUWHGEDVLVIRU
ZLWKKROGLQJWKHGRFXPHQWVXPPDUL]HVWKHVXEVWDQFHRIWKHGRFXPHQWLGHQWLILHVWKHSHUVRQZKR
SUHSDUHGWKHGRFXPHQWDQGDQ\SHUVRQVWRZKRPWKHGRFXPHQWZDVVHQWRUGLVFORVHGDQG
VSHFLILHVWKHGDWHVRQZKLFKWKHGRFXPHQWZDVSUHSDUHGWUDQVPLWWHGDQGUHFHLYHG

            7KHWLPHSHULRGFRYHUHGE\WKHVHGRFXPHQWUHTXHVWVUXQVIURPWKHGDWHRQZKLFK
DQ\RIWKH-XGJPHQW'HEWRUVRSHQHGDQDFFRXQWDW$%&RUZHUHDGGHGDVDQDFFRXQWKROGHUWRDQ
H[LVWLQJDFFRXQWDW$%&ZKLFKHYHULVHDUOLHUWKURXJKWRWKHGDWHRISURGXFWLRQRIWKHUHTXHVWHG
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GRFXPHQWREWDLQHGRUORFDWHGDIWHUWKHGDWHRISURGXFWLRQWKDWZRXOGKDYHEHHQSURGXFHGKDGLW
EHHQDYDLODEOHRUKDGLWVH[LVWHQFHEHHQNQRZQDWWKDWWLPHVKRXOGEHSURGXFHGLPPHGLDWHO\

            7KHXVHRIWKHVLQJXODUIRUPRIDQ\ZRUGLQFOXGHVWKHSOXUDODQGYLFHYHUVD7KH
SDVWWHQVHIRUPVKDOOEHFRQVWUXHGWRLQFOXGHWKHSUHVHQWWHQVHDQGYLFHYHUVDZKHQHYHUVXFKD
GXDOFRQVWUXFWLRQZLOOVHUYHWREULQJZLWKLQWKHVFRSHRIDSURGXFWLRQFDWHJRU\DQ\GRFXPHQWVRU
LQIRUPDWLRQWKDWZRXOGRWKHUZLVHQRWEHZLWKLQLWVVFRSH

         ,IDQREMHFWLRQLVPDGHWRDQ\QXPEHUHGUHTXHVWRUDQ\VXESDUWWKHUHRIVWDWHZLWK
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'HEWRUVRU-XGJPHQW'HEWRUV¶DFFRXQWVLQFOXGLQJZLWKRXWOLPLWDWLRQDOOOHWWHUVHPDLOVSKRQH
PHVVDJHVDQGQRWHVRIGLVFXVVLRQVZLWK-XGJPHQW'HEWRUVRUDQ\UHSUHVHQWDWLYHRUSXUSRUWHG
UHSUHVHQWDWLYHRI-XGJPHQW'HEWRUVDQGFUHGLWFKHFNVRULQYHVWLJDWLRQVSHUIRUPHGRQ-XGJPHQW
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           $Q\DQGDOOGRFXPHQWVFRQWDLQLQJFRQWDFWLQIRUPDWLRQDVVRFLDWHGZLWKHDFKRI
-XGJPHQW'HEWRUV¶DFFRXQWVLQFOXGLQJEXWQRWOLPLWHGWRQDPHVDXWKRUL]HGVLJQDWXUHVPDLOLQJ
DQGHPDLODGGUHVVHVDQGWHOHSKRQHDQGIDFVLPLOHQXPEHUV

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FRQQHFWLRQZLWKSXUFKDVHVIURP-XGJPHQW'HEWRUVRU-XGJPHQW'HEWRUV¶ZHEVLWHVDVVHWIRUWKLQ
$WWDFKPHQW(ZKLFKUHIOHFWVWKHFRPSOHWHOLVWRIZHEVLWHVLGHQWLILHGLQWKH-XGJPHQWDQGWKH
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PDUNHWDFFRXQWVRUDQ\RWKHUDFFRXQWVDQGFHUWLILFDWHVRIGHSRVLWKHOGLQWKHQDPHRIDQ\RIWKH
-XGJPHQW'HEWRUVLQFOXGLQJEXWQRWOLPLWHGWRDQ\GHSRVLWVRUDFFRXQWVRIWKHQDPHVOLVWHGLQ


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DQGWKH2UGHUDQGWKHHPDLODGGUHVVHVOLVWHGLQ$WWDFKPHQW*ZKLFKUHIOHFWVWKHFRPSOHWHOLVWRI
HPDLODGGUHVVHVLGHQWLILHGLQWKH-XGJPHQWDQGWKH2UGHULQFOXGLQJEXWQRWOLPLWHGWR

           D $FFRXQWRSHQLQJGRFXPHQWVLQFOXGLQJVLJQDWXUHFDUGVFRSLHVRILGHQWLILFDWLRQ
               GRFXPHQWVSURYLGHGDQGLIDEXVLQHVVDFFRXQWFRSLHVRIDQ\FRUSRUDWHUHVROXWLRQ
               WRRSHQDFFRXQWDQGRWKHUEXVLQHVVGRFXPHQWVSURYLGHGZKLFKPD\LQFOXGH
               DUWLFOHVRILQFRUSRUDWLRQIRUWKHEXVLQHVV

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           F &DQFHOOHGFKHFNV ERWKVLGHV 

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               GLUHFWGHSRVLWV 

           H :LWKGUDZDOVOLSVRUUHFHLSWV

           I $70ZLWKGUDZDOVDQGSRLQWRIVDOHGHELWV

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           K 7HOHSKRQLFWUDQVIHUVOLSV

           L :LUHWUDQVIHUUHFRUGV

           M $Q\DQGDOORWKHUGRFXPHQWDWLRQQRWVSHFLILFDOO\UHTXHVWHGWKDWUHODWHVWRWKH
               GHSRVLWZLWKGUDZDORUWUDQVIHURIIXQGVLQWRRXWRIRUEHWZHHQDQ\RI-XGJPHQW
               'HEWRUV¶DFFRXQWV

           $OOGRFXPHQWVFRQFHUQLQJDQ\RSHQRUFORVHGORDQVRUPRUWJDJHVUHODWLQJWRDQ\
RIWKH-XGJPHQW'HEWRUVLQFOXGLQJEXWQRWOLPLWHGWR

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           F &RSLHVRIORDQGLVEXUVHPHQWGRFXPHQWV

           G &RSLHVRIORDQUHSD\PHQWGRFXPHQWV

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           I &UHGLWUHSRUWVDQGUDWLQJV

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           M &RSLHVRIORDQDPRUWL]DWLRQVWDWHPHQWV

           N $Q\RWKHUVXSSRUWLQJGRFXPHQWDWLRQQRWVSHFLILFDOO\UHTXHVWHGLQFOXGLQJEXWQRW
               OLPLWHGWRILQDQFLDOVWDWHPHQWV)HGHUDORU6WDWHWD[UHWXUQVVFKHGXOHVRIDVVHWV
               DQGOLDELOLWLHVDORQJZLWKDSSOLFDEOHEDQNYHULILFDWLRQVDQGORDQRIILFHUQRWHV

           $OOGRFXPHQWVUHODWLQJWRDQ\FDVKLHU¶VEDQNRUWUDYHOHU¶VFKHFNVDQGPRQH\
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           D $Q\GRFXPHQWVXVHGWRSXUFKDVHFKHFNVRUPRQH\RUGHUV

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           F $SSOLFDWLRQVIRUDQ\QHJRWLDEOHLQVWUXPHQWV

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            $OOZLUHWUDQVIHUGRFXPHQWVDQGILOHVUHODWLQJWRDQ\RIWKH-XGJPHQW'HEWRUV
LQFOXGLQJEXWQRWOLPLWHGWR

           D 'RFXPHQWVUHODWLQJWRUHTXHVWVIRUDXWKRUL]DWLRQWRZLUHIXQGVLQFOXGLQJEXWQRW
               OLPLWHGWRDQ\ZLUHVWRRUIURP$%&$FFRXQWV

           E 'RFXPHQWVUHODWLQJWR)HGZLUH6:,)7RURWKHUGRFXPHQWVUHIOHFWLQJWKHWUDQVIHU
               RIIXQGVWRIURPRURQEHKDOIRIWKH-XGJPHQW'HEWRUVRUWKHRZQHUVRIWKH$%&
               $FFRXQWVZKLFKVKRZWKHEHQHILFLDU\RIVXFKWUDQVIHUGHVWLQDWLRQEDQNDQG
               DFFRXQWQXPEHU

           F 'RFXPHQWVUHODWLQJWRDQ\ZLUHWUDQVIHUVWRRUIURP-XGJPHQW'HEWRUV¶$FFRXQWV
               HIIHFWXDWHGWKURXJKDQ\RI$%&FOHDULQJDFFRXQWVPDLQWDLQHGLQWKHVWDWHRI1HZ
               <RUN

           G 'RFXPHQWVUHIOHFWLQJWKHVRXUFHRIIXQGVIRUDZLUHLQWRDQ\RI-XGJPHQW
               'HEWRUV¶DFFRXQWVLQFOXGLQJEXWQRWOLPLWHGWRGRFXPHQWVFRQWDLQLQJWKHQDPHRI
               WKHEDQNRUHQWLW\RULJLQDWLQJWKHZLUHWUDQVIHUWKHDFFRXQWQXPEHUIURPZKLFK
               WKHIXQGVZHUHWUDQVIHUUHGDQGWKHQDPHRIWKHSHUVRQRUHQWLW\IURPZKRVH
               DFFRXQWVXFKIXQGVZHUHWUDQVIHUUHG

           H 'RFXPHQWVUHIOHFWLQJWKHGLVSRVLWLRQRIDZLUHWUDQVIHU

           I 1RWHVPHPRUDQGDRURWKHUZULWLQJVUHODWLQJWRWKHVHQGLQJRUUHFHLYLQJRIZLUH
               WUDQVIHUV

           J $Q\RWKHUVXSSRUWLQJGRFXPHQWDWLRQQRWVSHFLILFDOO\UHTXHVWHG

           $OOGRFXPHQWVUHODWLQJWRDQ\&XUUHQF\7UDQVDFWLRQ5HSRUWVDQG6XVSLFLRXV
$FWLYLW\5HSRUWVFRQFHUQLQJDQ\RIWKH-XGJPHQW'HEWRUVLQFOXGLQJEXWQRWOLPLWHGWR


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          D &RSLHVRI&XUUHQF\7UDQVDFWLRQ5HSRUWVE\LQGLYLGXDORUHQWLW\

          E &RSLHVRI6XVSLFLRXV$FWLYLW\5HSRUWVILOHGRQWKHHQWLW\DQGDQ\VXSSRUWLQJ
              GRFXPHQWDWLRQIRUWKHVHUHSRUWV

          F $Q\RWKHUVXSSRUWLQJGRFXPHQWDWLRQQRWVSHFLILFDOO\UHTXHVWHG
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          
                                             0HUFKDQW1DPH
                                        :::$/9$%$%<&20
                                        :::&/27+,1*1(7
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                                                                               INFRINGING WEBSITES


                                                                             DEFENDANTS - GROUP A
                     Domain Name                                Name(s)                                                     Email Address(es)           Affected Plaintiff
                                                                                                                                                          (Nike and/or
                                                                                                                                                           Converse)
1    www.vans2010-tw.com                 WHOIS AGENT                                         domainadm@hichina.com                                     Nike
2    www.nike678.com                     DOMAIN WHOIS PROTECTION SERVICE                     roro3314@hotmail.com                                      Nike
                                                                                             nike88888com@hotmail.com
                                                                                             shopping8090@hotmail.com
                                                                                             nike9a@yahoo.cn
                                                                                             shopping8090@yahoo.cn
                                                                                             www51nikecom@yahoo.cn
                                                                                             yanuolv@yahoo.com.tw
                                                                                             gucci591@yahoo.com.tw
3    www.visvim-taipei.com               WHOIS AGENT                                         domainadm@hichina.com                                     Nike
                                                                                             shopping112233@hotmail.com
                                                                                             shopping112233@yahoo.com.tw
4    www.vans88-tw.com                   cai cigui                                           yanuolv2013@163.com                                       Nike
                                                                                             violet.min@hotmail.com
                                                                                             shopping112233@hotmail.com
                                                                                             shopping112233@yahoo.com.tw
5    www.levis523.com                    Pan Bing Huang                                      1749080296@qq.com                                         Nike
                                                                                             violet.min@hotmail.com
                                                                                             shopping8090@hotmail.com
                                                                                             shopping112233@hotmail.com
                                                                                             shopping8090@yahoo.com.tw
                                                                                             shopping112233@yahoo.com.tw
6    www.123shoeshop.com                 Pan Bing Huang                                      makemoney.888@hotmail.com                                 Nike
                                                                                             shopping8090@hotmail.com
                                                                                             shopping112233@hotmail.com
                                                                                             shopping8090@yahoo.com.tw
                                                                                             shopping112233@yahoo.com.tw
7    www.camper-taiwan.com               WHOIS AGENT                                         domainadm@hichina.com                                     Nike
                                                                                             violet.min@hotmail.com
                                                                                             shopping8090@hotmail.com
                                                                                             shopping112233@hotmail.com
                                                                                             shopping8090@yahoo.com.tw
                                                                                             shopping112233@yahoo.com.tw
8    www.freerunners-tn-au.com           pu tian shi qing chun mao yi you xian gong si       shoesspring@hotmail.com                                   Nike
9    www.shoes-bags-china.info           sanchun wu                                          530267919@qq.com                                          Nike
                                         yingchun yuan
10   www.shoes-bags-china.org            rose marry                                          daijiawu@live.com                                         Nike
                                         yingchun yuan
11   www.buyshoeclothing.com             Tian yu                                             2428675043@qq.com                                         Nike
                                                                                             wholesale-square@hotmail.com
12   www.cheapnikeaustralia.info         rose marry                                          daijiawu@live.com                                         Nike
                                                                                             shoescapsxyz.com@gmail.com
13   www.niketnshoes.info                rose marry                                          daijiawu@live.com                                         Nike
                                                                                             shoescapsxyz.com@gmail.com
14   www.cheapnikefreeshoes.info         rose marry                                          daijiawu@live.com                                         Nike
                                                                                             shoesspring2005@hotmail.com
15   www.shoecapsxyz.com                 chonghua yu                                         906856729@qq.com                                          Nike
                                         Linhai Ke                                           sell-topbrand@hotmail.com
                                         Maria Wu                                            shoescapsxyz.com@gmail.com
                                                                                             shoesspring2003@hotmail.com
                                                                                             sophieyuan3448@yahoo.com.cn
                                                                                             salesdispute@hotmail.com
16   www.cheapfreerun-tn-au.com          chaokevin lebron                                    1309624870@qq.com                                         Nike
                                                                                             cheapfreetnau@gmail.com; vvipwholesale2012@yahoo.com.cn
17   www.freerun-tns-au.com              chaokevin lebron                                    1309624870@qq.com                                         Nike
18   www.cheapfrees-tn-au.com            yuan shixiang                                       sophieyuan3448@sina.com                                   Nike
                                                                                             cheapfreetnau@gmail.com
19   www.cheapnbajerseys.info            rose marry                                          daijiawu@live.com                                         Nike
20   www.upcomingsbc.com                 sanchun wu                                          530267919@qq.com                                          Nike
21   www.jerseystops.com                 yuan xiaojie                                        wiles@35zh.com                                            Nike
22   www.wholesaleneweracaps.info        rose marry                                          daijiawu@live.com                                         Nike
23   www.wholesalenikeshoes.info         rose marry                                          daijiawu@live.com                                         Nike
24   www.hiphopfootlocker.com            pu tian shi qing chun mao yi you xian gong si       805800638@qq.com                                          Nike
25   www.nikeskosalg.info                rose marry                                          daijiawu@live.com                                         Nike
26   www.airyeezy2pascher.info           rose marry                                          daijiawu@live.com                                         Nike
27   www.caps-sell.com                   mei lian webnet you xian gong si                    1309624870@qq.com                                         Nike
                                                                                             salesdispute@hotmail.com
28   www.buywholesalecap.com             Registration Private                                sell-topbrand@hotmail.com                                 Nike
29   www.nikefrees-au.com                chunchun yuan                                       sophieyuan3448@yahoo.com.cn                               Nike
30   www.airjordanparcher.info           rose marry                                          daijiawu@live.com                                         Nike
31   www.cheapnike2013.info              rose marry                                          daijiawu@live.com                                         Nike
32   www.shoes-jersey-sale.org           dai jianmei                                         salesdispute@hotmail.com                                  Nike
33   www.buyshoeclothing.org             yingchun yuan                                       daijiawu@live.com                                         Nike
34   www.cheapnikenflelitejerseys.info   rose marry                                          shoesspring@hotmail.com                                   Nike
35   www.cheapcowboysjerseys.info        rose marry                                          daijiawu@live.com                                         Nike
36   www.cheapnikefreerunning.org        rose marry                                          daijiawu@live.com                                         Nike
37   www.cheapnikefreerun2.org           rose marry                                          daijiawu@live.com                                         Nike
38   www.newnikefreerun.org              rose marry                                          daijiawu@live.com                                         Nike
39   www.nikefreeserials.org             rose marry                                          daijiawu@live.com                                         Nike
40   www.wholesaelejerseys.org           rose marry                                          daijiawu@live.com                                         Nike
41   www.cheapniketn.info                rose marry                                          daijiawu@live.com                                         Nike
42   www.cheapnikeusa.info               rose marry                                          daijiawu@live.com                                         Nike
43   www.nikerequinpascher.info          rose marry                                          daijiawu@live.com                                         Nike
44   www.shoesnikeairmax90.info          rose marry                                          daijiawu@live.com                                         Nike
45   www.wholesaelejerseys.info          rose marry                                          daijiawu@live.com                                         Nike
46   www.cheaplebronshoes.info           rose marry                                          daijiawu@live.com                                         Nike




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47    www.noschaussuresfr.info              sanchun wu                               daijiawu@live.com                                      Nike
48    www.blazer-sale.co.uk                 1api (privacy protected)                 530267919@qq.com                                       Nike
49    www.jerseypk.net                      WHOIS AGENT                              tradingspring@hotmail.com                              Nike
50    www.skosnorge.com                     zenyu lin                                805800638@qq.com                                       Nike
51    www.shoes-jersey-sale.com                                                      shoesspring2005@hotmail.com                            Nike
52    www.1stairmaxshoes.com                Sean Roy                                 roynaba20@gmail.com                                    Nike
53    www.purchasecheapshoes.co.nz          eloise jayne                             eloise@clough.com.au                                   Nike
54    www.cheapairmaxshoessales.co.nz       jayne Greczkowski                        eloipoole@clough.com.au                                Nike
55    www.ublazers.co.uk                    William Clark                            service3@storelinkmail.com                             Nike
56    www.freerunshoponline.com             Danilo Yambao                            fcvfsde0@yahoo.com                                     Nike
57    www.blazerhigher.co.uk                Natorious Douglas                        service2@airemail.net                                  Nike
58    www.1sblazers.co.uk                   Phil Harrison                            service3@storelinkmail.com                             Nike
59    www.freerunonlocker.co.uk             Alfred La Mar                            storeonlineservice2012@gmail.com                       Nike
60    www.freerunsupermall.co.uk            brad mckinney                            service1@airemail.net                                  Nike
61    www.freerunninglocker.co.uk           Linda Rives                              service1@airemail.net                                  Nike
62    www.blazerhighs.co.uk                 luke jeffrey                             service2@airemail.net                                  Nike
63    www.freerunstoreonline.com            Mike Thornton                            dfse0@yahoo.com                                        Nike
                                                                                     service3@emailkoca.com
64    www.airshoes4u.com                    Angelika Fuhrer                          madgemail18@yahoo.com                                  Nike
                                                                                     service3@emailkoca.com
65    www.trainer90forsale.co.uk            Jenny McDougald                          service5@storelinkmail.com                             Nike
                                            Martin Lessman
66    www.runfreeuksale.co.uk               ALICIA CORBETT                           service2@emailkoca.com                                 Nike
                                                                                     service3@storelinkmail.com
67    www.blazers4u.co.uk                   Alan Ring                                service3@storelinkmail.com                             Nike
68    www.airmaxsneakersale.co.uk           Ethelene Gorham                          service2@airemail.net                                  Nike
69    www.footwearsupermall.co.uk           Scott McCarthy                           service2@emailkoca.com                                 Nike
70    www.footwearsuper.co.uk               Tamerra Barrett                          service2@airemail.net                                  Nike
71    www.blazersdeonlines.co.uk            Kateila Smith                            service2@emailkoca.com                                 Nike
72    www.blazershisuede.co.uk              Helen Mayer                              service2@airemail.net                                  Nike
73    www.blazersuedeonlines.co.uk          zhang ying de                            service2@airemail.net                                  Nike
74    www.cheapfree-tn-au.com                                                        cheapfreetnau@gmail.com                                Nike

                                                                          DEFENDANTS - GROUP B
                      Domain Name                               Name(s)                                                 Email Address(es)    Affected Plaintiff
                                                                                                                                               (Nike and/or
                                                                                                                                                Converse)
75    www.honestysale2.com                  linhao                                   505175638@qq.com                                       Nike
                                                                                     honestysale2@hotmail.com
76    www.wholesalenfljerseyssale.com       Lin Yameng                               wholesalenfljerseyssale@hotmail.com                    Nike
                                            EBI*COMMINUTETE MORE K.K.                honestysale2@hotmail.com
77    www.nikenfldepot.com                  hao lin                                  505175638@qq.com                                       Nike
                                                                                     nikesportjerseys@msn.com
78    www.soaol.com                         linhao                                   505175638@qq.com                                       Nike
                                                                                     today0212@gmail.com
                                                                                     lmany01@gmail.com
79    www.ostyler.com                       linhao                                   505175638@qq.com                                       Nike
                                                                                     kundeservice@ostyler.com
80    www.cheapdiscountnfljerseyshere.com   HuangXiuYing                             fdsgfdgd@qq.com                                        Nike
                                                                                     honestysale2@hotmail.com
81    www.cheapjerseyshonesty.com           Cai LiMing                               rqb@dingdian.cn                                        Nike
                                                                                     honestysale2@hotmail.com
82    www.honestysale3.com                                                           honestysale2@hotmail.com                               Nike
83    www.honestysale1.com                                                           honestysale2@hotmail.com                               Nike
84    www.shoescapsxyz.com                                                           shoescapsxyz.com@gmail.com                             Nike
85    www.shoecapxyz.com                                                             shoescapsxyz.com@gmail.com                             Nike
86    www.honestyjerseys.com                                                         honestysale2@hotmail.com                               Nike

                                                                          DEFENDANTS - GROUP C
                      Domain Name                               Name(s)                                                 Email Address(es)    Affected Plaintiff
                                                                                                                                               (Nike and/or
                                                                                                                                                Converse)
87    www.nike-firm.com                     WHOIS AGENT                              domainadm@hichina.com                                  Nike
                                                                                     sellmanageridb@hotmail.com
88    www.airmaxcentral.com                 weijia yin                               bangd@bangd.com                                        Nike
                                                                                     sellmanageridw@hotmail.com
89    www.nikeairforce1wholesale.com        jie wei                                  johnhijack@139.com                                     Nike
                                                                                     sellmanageridw@hotmail.com
90    www.niketncentral.com                 langui Chen                              hopelady2005@126.com                                   Nike
                                                                                     sellmanageridw@hotmail.com
91    www.shox-pas-cher.com                 Weijia yin                               yixia3@gmail.com                                       Nike
                                                                                     sellmanageridw@hotmail.com
92    www.airforceonediscount.com           jie wei                                  johnhijack@139.com                                     Nike
93    www.airforceonesdiscount.com          wang hong                                airygirl2003@163.com                                   Nike
                                                                                     sellmanageridr@hotmail.com
 94   www.airjordansshoesdiscount.com       jie wei                                  johnhijack@139.com                                     Nike
 95   www.airjordansshoesnike2013.com       li mingbo                                wellsource86@yahoo.com                                 Nike
 96   www.airjordansweb.com                 weijia yin                               paypal888999@139.com                                   Nike
 97   www.airmaxpascher.com                 weijia yin                               paypal888999@139.com                                   Nike
 98   www.discount360c.com                  jie wei                                  johnhijack@139.com                                     Nike
 99   www.footballshirtgrossiste.com        li mingbo                                wellsource86@yahoo.com                                 Nike
100   www.jordanairnike2013.com             li mingbo                                wellsource86@yahoo.com                                 Nike
                                                                                     sellmanageridb@hotmail.com
101 www.jordanairwholesale.com              jie wei                                  johnhijack@139.com                                     Nike
102 www.nflofchina.com                      lin linming                              whjsoft@126.com                                        Nike
                                            EBL*BRAKEHEMALT K.K.-TRAD                sellmanageridr@hotmail.com
                                                                                     onlinebizdiscount@gmail.com (PayPal)
103 www.storeonlineselllnow.com             Brakehemalt K.K                                                                                 Nike
104 www.nikeairjordansweb.com               wang hong                                airygirl2003@163.com                                   Nike
                                                                                     sellmanageridb@hotmail.com
105 www.nikeairjordanswholesale.com         jie wei                                  johnhijack@139.com                                     Nike
106 www.nikeairmax1998.com                  li gang                                  airygirl2004@163.com                                   Nike




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107 www.nike-air-max-destock.com          Wu Zhenlong                              airygirl2004@126.com                                     Nike
                                                                                   sellmanageridr@hotmail.com
                                                                                   ordermanageridr@gmail.com
                                                                                   generalmanageridr@hotmail.com
108   www.nikeairmaxinstock.com           jie wei                                  johnhijack@139.com                                       Nike
109   www.nikecentral.com                 jie wei                                  johnhijack@139.com                                       Nike
110   www.nikegrossiste.com               jiang wang                               paypa999@139.com                                         Nike
111   www.nike-offer.com                  yubaosu                                  funyba@126.com                                           Nike
112   www.nikeofusa.com                   san susan                                bangd@bangd.com                                          Nike
113   www.nike-pas-cher.fr                Xubo Hu                                  support@tongyong.net                                     Nike
114   www.nikerequinpascher.com           Fundacion Private Whois                  522cf60537bakydg@5225b4d0pi3627q9.privatewhois.net       Nike
115   www.nikeshoxdestock1.com            li gang                                  airygirl2004@163.com                                     Nike
116   www.nikeshoxgrossiste.com           li mingbo                                wellsource86@yahoo.com                                   Nike
117   www.nikeshoxweb.com                 jie wei                                  johnhijack@139.com                                       Nike
118   www.nike-sport.com                  quanzhou                                 perchas@126.com                                          Nike
119   www.niketn.fr                       Xubo Hu                                  support@tongyong.net                                     Nike
120   www.nike-tn-best.com                li gang                                  airygirl2004@163.com                                     Nike
121   www.niketngrossiste.com             li mingbo                                wellsource86@yahoo.com                                   Nike
122   www.nike-tn-instock.com             li gang                                  airygirl2004@163.com                                     Nike
123   www.nike-tn-sell-discount.com       Yaping Lee                               hopelady2003@163.com                                     Nike
                                                                                   sellmanageridr@hotmail.com; ordermanageridr@gmail.com;
                                                                                   generalmanageridr@hotmail.com
124   www.nike-trading.com                yubao su                                 bangd@bangd.com                                          Nike
125   www.retrojordannike2013.com         li mingbo                                wellsource86@yahoo.com                                   Nike
126   www.retrojordanswholesale.com       jie wei                                  johnhijack@139.com                                       Nike
127   www.shoxgrossiste.com               li mingbo                                wellsource86@yahoo.com                                   Nike
128   www.shox-pas-cher-there.com         wu zhenlong                              airygirl2004@126.com                                     Nike
129   www.tn-best-tn.com                  wu zhenlong                              airygirl2004@126.com                                     Nike
130   www.tnfrance.com                    weijia yin                               bangd@bangd.com                                          Nike
131   www.tngrossiste.com                 Weijia yin                               yixia3@gmail.com                                         Nike
132   www.tnrequinfrance.com              weijia yin                               bangd@bangd.com                                          Nike
133   www.tn-requin-france-discount.com   wu zhenlong                              airygirl2004@126.com                                     Nike
134   www.tn-requin-pas-chere1.com        wu zhenlong                              airygirl2004@126.com                                     Nike
135   www.tnrequinweb.com                 weijia yin                               paypal888999@139.com                                     Nike
136   www.shoxniker4sale.com              wu zhenlong                              airygirl2004@126.com                                     Nike
                                                                                   ordermanageridr@gmail.com
                                                                                   generalmanageridr@hotmail.com
                                                                                   sellmanageridr@hotmail.com
137 www.nikeairmaxstore.nl                Telepublicity                            ordermanageridr@gmail.com                                Nike
                                                                                   generalmanageridr@hotmail.com
                                                                                   sellmanageridr@hotmail.com
138   www.nike-requin-nike.com            Solomaier Dennis                         vidda2771@hotmail.fr                                     Nike
139   www.shoxtn.com                      san san                                  wellsource86@yahoo.com                                   Nike
140   www.nike-chaussures.fr              Ano Nymous                               -                                                        Nike
141   www.nike-tn.fr                      Ano Nymous                               -                                                        Nike
142   www.tn-new-discount.com             jie wei                                  johnhijack@139.com                                       Nike
143   www.nikeairforcecentral.com         wang hong                                airygirl2003@163.com                                     Nike
144   www.tnrequinmall.com                weijia yin                               tnrequinmall@live.com                                    Nike
                                                                                    paypal888999@139.com
145   www.tnrequincentral.com             weijia yin                               paypal888999@139.com                                     Nike
146   nike-chaussures.fr                  Ano Nymous                                                                                        Nike
147   nike-tn.fr                          Ano Nymous                                                                                        Nike
148   tnrequinmall.com                    weijia yin                               tnrequinmall@live.com                                    Nike
                                                                                   paypal888999@139.com
149 www.nikeairforcecentral.com           wang hong                                airygirl2003@163.com                                     Nike
150 tn-new-discount.com                   jie wei                                  johnhijack@139.com                                       Nike
151 tnrequincentral.com                   weijia yin                               paypal888999@139.com                                     Nike

                                                                        DEFENDANTS - GROUP D
                      Domain Name                             Name(s)                                               Email Address(es)        Affected Plaintiff
                                                                                                                                               (Nike and/or
                                                                                                                                                Converse)
152 www.cleat.biz                         Repossessed by Go Daddy                  repossesseddomain@godaddy.com                            Nike
                                                                                   customerserviceNo1@hotmail.com
153 www.dealerbyte.com                    Repossessed by Go Daddy                  customerserviceNo1@hotmail.com                           Nike
154 www.soccercleatsky.com                jason tokunaga                           esoccerpro@gmail.com                                     Nike
                                                                                   customersupports@live.com
155 www.footballebay.com                  Tiffany Jarvis                           accountlocked@godaddy.com                                Nike
                                                                                   secureonlinepay@hotmail.com
156 www.nikemercurialvaporspeed.com       Tiffany Jarvis                           445241672@qq.com                                         Nike
                                                                                   secureonlinepay@hotmail.com
157 www.nikemercurialsoccer.com           ksenia gonchar                           efashion2000@gmail.com                                   Nike
                                                                                   secureonlinepay@hotmail.com
158 www.soccersprint.biz                  Sebastian Schwarz                        80338781@qq.com                                          Nike
                                                                                   secureonlinepay@hotmail.com
159 www.esoccerfans.com                   Tiffany Jarvis                           445241672@qq.com                                         Nike
                                                                                   secureonlinepay@hotmail.com
160   www.esportmall.com                  Repossessed by Go Daddy                  secureonlinepay@hotmail.com                              Nike
161   www.tshop365.com                    jason tokunaga                           esoccerpro@gmail.com                                     Nike
162   www.buyshoeslive.com                Repossessed by Go Daddy                  repossesseddomain@godaddy.com                            Nike
163   www.bscbc.com                       Repossessed by Go Daddy                  customerserviceNo1@hotmail.com                           Nike
164   www.suckitvandy.com                 Repossessed by Go Daddy                  customerserviceNo1@hotmail.com                           Nike
165   www.shoemalltop.com                 Carley Mowatt Inc                        80338781@qq.com                                          Nike
                                                                                   secureonlinepay@hotmail.com
166 www.worldtopsoccer.com                Carley Mowatt Inc                        80338781@qq.com                                          Nike
                                                                                   secureonlinepay@hotmail.com
                                                                                   customerserviceNo1@hotmail.com
167   www.nikemercurialvapor8sale.com     Carley Mowatt Inc                        jiessie@vip.qq.com                                       Nike
168   www.nikemercurialvapor8cleats.com   Carley Mowatt Inc                        jiessie@vip.qq.com                                       Nike
169   www.cocasite.com                    jason tokunaga                           esoccerpro@gmail.com                                     Nike
170   www.soccerse.com                    Repossessed by Go Daddy                  repossesseddomain@godaddy.com                            Nike
171   www.buyzshop.com                    zalima moonasar                          secureonlinepay@hotmail.com                              Nike
172   www.soccerumarket.com               Repossessed by Go Daddy                  secureonlinepay@hotmail.com                              Nike
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                                                                                   customersupports@live.com




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173 www.ecspnstore.com                 Lucian Witmer                                   jiessie@vip.qq.com                                   Nike
                                                                                       secureonlinepay@hotmail.com
                                                                                       customerserviceNo1@hotmail.com
174 www.bookstoremall.com              Repossessed by Go Daddy                         repossesseddomain@godaddy.com                        Nike
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                                                                                       ordermanageridr@gmail.com
                                                                                       xgeneralmanageridr@hotmail.com
175 www.soccermallonline.org           Host Master                                     soccermallonline.org@privacy.above.com               Nike
176 www.teekus.com                     Heng Long Co, Ltd                               445241672@qq.com                                     Nike
                                       Chen Zao jie Chen Zao jie                       asklines@hotmail.com
177 www.scillytv.co.uk                 Mary Reynolds                                   customerserviceNo1@hotmail.com                       Nike
                                                                                       nikemercurialorange@gmail.com
178 www.prosoccersport.com             Carley Mowatt Inc                               80338781@qq.com                                      Nike
                                                                                       secureonlinepay@hotmail.com
179 www.soccerexport.com               Lucian Witmer                                   jiessie@vip.qq.com                                   Nike
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180 www.mercurialvaporviiicleats.com   guan ya dong fang mao yi you xian gong si       jiessie@vip.qq.com                                   Nike
                                                                                       secureonlinepay@hotmail.com
                                                                                       customerserviceNo1@hotmail.com
181 www.nikemercurialvapor-ix.com      guan ya dong fang mao yi you xian gong si       jiessie@vip.qq.com                                   Nike
                                       chen zhi jie                                    secureonlinepay@hotmail.com
182   www.marketplaceshoes.com         zalima moonasar                                 yong2012li@163.com                                   Nike
183   www.mercurialvaporsviii.com      Carley Mowatt Inc                               jiessie@vip.qq.com                                   Nike
184   www.sprotsfans.com               jason tokunaga                                  esoccerpro@gmail.com                                 Nike
185   www.tsoccershop365.com           chen zhi jie                                    jiessie@vip.qq.com                                   Nike
186   www.nikesocceruk.com             ksenia gonchar                                  nikemercurialorange@gmail.com                        Nike
187   www.nikesocceruk.net             n/a                                             nikemercurialorange@gmail.com                        Nike
188   www.soccerprosport.com                                                           secureonlinepay@hotmail.com                          Nike
189   www.soccercleatssporting.com     Tiffany Jarvis                                  445241672@qq.com                                     Nike
190   www.directsoccershop.com         Heng Long Co, Ltd                               445241672@qq.com                                     Nike
191   www.eprosoccer.com               Tiffany Jarvis                                  445241672@qq.com                                     Nike
192   www.esoccerpro.org               zhang wei ping                                  445241672@qq.com                                     Nike
193   www.soccerprofootball.com        Tiffany Jarvis                                  445241672@qq.com                                     Nike
194   www.fansedges.us                 jason tokunaga                                  esoccerpro@gmail.com                                 Nike
195   www.footballsoccercleats.com     jason tokunaga                                  esoccerpro@gmail.com                                 Nike
196   www.jerseyskype.com              jason tokunaga                                  esoccerpro@gmail.com                                 Nike
197   www.kosdr.com                    jason tokunaga                                  esoccerpro@gmail.com                                 Nike
198   www.soccerebuy.com               jason tokunaga                                  esoccerpro@gmail.com                                 Nike
199   www.nikemercurialorange.com      ksenia gonchar                                  efashion2000@gmail.com                               Nike
200   www.tsoccer365.com               guan ya dong fang mao yi you xian gong si       jiessie@vip.qq.com                                   Nike
201   www.nikemercurialvapor-9.com     guan ya dong fang mao yi you xian gong si       jiessie@vip.qq.com                                   Nike
202   www.footballfanaticshop.com      Repossessed by Go Daddy                         repossesseddomain@godaddy.com                        Nike
                                                                                       secureonlinepay@hotmail.com
                                                                                       customerserviceNo1@hotmail.com
203 www.footballushop.com              Repossessed by Go Daddy                         repossesseddomain@godaddy.com                        Nike
                                                                                       secureonlinepay@hotmail.com
                                                                                       customerserviceNo1@hotmail.com
204 www.dmsrecap.com                   Sebastian Schwarz                               80338781@qq.com                                      Nike
                                                                                       secureonlinepay@hotmail.com
                                                                                       customerserviceNo1@hotmail.com
205 www.nikeshox.fr                    Xubo Hu                                         support@tongyong.net                                 Nike
206 www.cheapsoccercleatss.com         Chen Zao jie Chen Zao jie                       445241672@qq.com                                     Nike
207 www.eshopstyle.com                 Chen Zao jie Chen Zao jie                       customerserviceNo1@hotmail.com                       Nike
                                                                                       445241672@qq.com
208 www.powerports.net                 chen zhi jie                                    jiessie@vip.qq.com                                   Nike
209 www.footballsoccerjerseys.com      Domain Admin                                    secureonlinepay@hotmail.com                          Nike
                                                                                       80338781@qq.com
210 www.pcmarketlive.com               Registration Private                            customersupports@live.com                            Nike
211 www.hottershoesuk.com              Repossessed by Go Daddy                         customersupports@live.com                            Nike
                                                                                       seantrubynom@gmail.com
212   www.dsmrecap.com                 Sebastian Schwarz                               80338781@qq.com                                      Nike
213   www.cheapejerseys.com            Tiffany Jarvis                                  customerserviceNo1@hotmail.com                       Nike
214   cheapejerseys.com                Tiffany Jarvis                                  customerserviceNo1@hotmail.com                       Nike
215   cheapsoccercleatss.com           Chen Zao jie Chen Zao jie                       445241672@qq.com
216   dsmrecap.com                     Sebastian Schwarz                               80338781@qq.com
217   eshopstyle.com                   Chen Zao jie Chen Zao jie                       customerserviceNo1@hotmail.com
218   powerports.net                   chen zhi jie                                    jiessie@vip.qq.com

                                                                          DEFENDANTS - GROUP E
                     Domain Name                           Name(s)                                                      Email Address(es)    Affected Plaintiff
                                                                                                                                               (Nike and/or
                                                                                                                                                Converse)
219   www.lebron10-forsale.com         Alsaadi                                         xiezhong77@hotmail.com                               Nike
220   www.kickstopshoe.com             sdgwe                                           marlorenzo@gmail.com                                 Nike
221   www.airjordansalg.dk             James Mize                                      service3@webseemial.com                              Nike
222   www.d3classicshoes.co.nz         mica croomes                                    sinianz@yahoo.com                                    Nike
                                                                                       service3@linkonlinemail.com
223   www.b3classicshoes.com                                                           service3@linkonlinemail.com                          Nike
224   www.rabatairmax.dk               Courtney Granger                                service3@webseemial.com                              Nike
225   www.kickstopshoes.net            krystian                                        allenseng@hotmail.com                                Nike
226   www.a3classicshoes.com           Anderson Lisa                                   yangziss@hotmail.com                                 Nike
                                                                                       service3@linkonlinemail.com
227 www.kobe8forsale.com               Terrance                                        xia2781233@hotmaill.com                              Nike
                                                                                       service@airjordan2013.co.uk
228 www.shox-force1.net                Jason                                           callyhubil@yahoo.com                                 Nike
229 www.af1shox.com                    Julie                                           lieann.mccarthy@btinternet.com                       Nike
                                       WWW.LEDOES.COM                                  service1@webseemial.com
230   www.buyshoe23.com                Gale Phil                                       phillip@hotmail.com                                  Nike
231   www.kdbuy2013.com                sgerh drhre                                     f3du20@yahoo.com                                     Nike
232   www.freeruntrainer.com           tian jing                                       tianjing1os@163.com                                  Nike
233   www.2013skoonline.dk             Illya Marcel                                    service3@webseemial.com                              Nike
234   www.salg2013joggesko.dk          LaRod Jones                                     service3@webseemial.com                              Nike
235   www.airmaxonline.dk              Cynthia Friend                                  service3@webseemial.com                              Nike
236   www.1foampositesale.com          Dasha Costin                                    dfiu20@yahoo.com                                     Nike
237   www.foamposites-onsales.com      james potts                                     xerophytea@yahoo.com                                 Nike
238   www.1nbashop.com                 Cook                                            jiasw@hotmail.com                                    Nike




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239   www.nbashop1.com                     Julie McCarthy            lieann.mccarthy@btinternet.com               Nike
240   www.1sfoampositesale.com             Khadir Khalid             janeh910@gmail.com                           Nike
241   www.buyshoegift.com                  Julie McCarthy            lieann.mccarthy@btinternet.com               Nike
242   www.buyshoegifts.com                 sagvsdrg sdvxc            csdffhdhr@hotmail.com                        Nike
243   www.buyshoesgift.com                 bei peng                  beipeng5@163.com                             Nike
244   www.buyshoesgifts.com                PrivacyProtect.org        contact@privacyprotect.org                   Nike
245   www.foamposites-onsale.com           lu yuquan                 luyuquan3v@163.com                           Nike
246   www.foampositesonsale.com            Kenneth Keim              allenseng@hotmail.com                        Nike
247   www.kd2013buy.com                    Melissa Gamboa            mgboa0213@gmail.com                          Nike
248   www.kdshoe2013.com                   Louis Hopkins             service@shoes2u.co.nz                        Nike
249   www.foampositeswear.com              biqin lin                 nightbeforen@yahoo.com                       Nike
250   www.sportsrea.se                                               convenienceservice@gmail.com                 Nike
251   www.besteschuhe2013.de               joshua epps               sdsar@yahoo.com                              Nike
                                                                     convenienceservice@gmail.com
252 www.airmaxkaufen.de                    Kathy Perales             ewefsdsafds@yahoo.com                        Nike
                                                                     convenienceservice@gmail.com
253 www.airmaxshoeonline.de                xiao dongxu               convenienceservice@gmail.com                 Nike
254 www.freerunde.de                       Jon Sellers               xerophytec@yahoo.com                         Nike
                                                                     convenienceservice@gmail.com
255 www.cheapkobe8.net                     Clark Celeste             xia2781233@hotmaill.com                      Nike
                                                                     service1@webseemial.com
256 www.magshoesforsale.com                xing dian                 xingdian5g@163.com                           Nike
                                                                     service2@webseemial.com
257 www.runfreesneakers.com                xu weihai                 1197084292@qq.com                            Nike
                                                                     service3@webseemial.com
258 www.runnershoes.de                     Dinah Keshishian          klbdvdfldfvs@yahoo.com                       Nike
                                                                     service5@webseemial.com
259 www.topairmaxschuhe.de                 Mareen Eisenmann          lastpassward@yahoo.com                       Nike
                                                                     service5@webseemial.com
260 www.airmaxonline.de                    Peter Adam                lastdifferent@yahoo.com                      Nike
                                                                     niceamas@gmail.com
261 www.buyshoesone.com                    Fuck Track me             wo_gan_ni_mama@yeah.net                      Nike
                                                                     niceamas@gmail.com
262 www.kevin-durant-shoes.net             Sacaj Boxangel            yangziss@hotmail.com                         Nike
263 www.airf1shox.com                      pengxiuli                 xerophytem@yahoo.com                         Nike
                                                                     service1@webseemial.com
264 www.bestbuynike.com                    SandyC                    ptcsn@163.com                                Nike
                                                                     jnfszsw@163.com
265   www.c3classicshoes.co.nz             Lisa Lacey                yeu050806@hotmail.com                        Nike
266   www.e3classicshoe.co.nz              cynthia nieves            service3@linkonlinemail.com                  Nike
267   www.kevindurantshoes.net             Chris Hebert              nfl2045@hotmail.com                          Nike
268   www.drun.co.uk                       Cortez Shore              convenienceservice@gmail.com                 Nike
269   www.tiffanyfreeruns.net              dsjf lai                  douguaiaidegus@gmail.com                     Nike / Converse
270   www.jd2c.com                         Fuck Track me             wo_gan_ni_mama@yeah.net                      Nike
                                                                     nimamabea@163.com
                                                                     ihandbag123@163.com
271 www.lqshoes.com                        Fuck Track me             wo_gan_ni_mama@yeah.net                      Nike
                                                                     ihandbag123@163.com
272 www.buytheshoes.com                    HUANG XIAO                buytheshoes84@yahoo.com                      Nike
                                                                     48058406@qq.com
273   www.cheapjordanshoes2014online.com   Jack Zhang                niceamas@gmail.com                           Nike
274   www.cheapnikefreeshoes2014.com       Jack Zhang                niceamas@gmail.com                           Nike
275   www.yearofthesnakekobe8.com          jian yin                  tongkudegaib@gmail.com                       Nike
276   www.360chaussures.fr                 Jordan Batters            convenienceservice@gmail.com                 Nike
                                                                     chenliji1u@163.com
277   www.a3classicshoes.co.nz             Kathy Peyton              sdsar@yahoo.com                              Nike
278   www.newsneakersoutlet.com            krystian                  allenseng@hotmail.com                        Nike
279   www.airjordan23shoese.com            lin hua cong              teeblog@qq.com                               Nike
280   www.nikeblazerfemmelb.org            lin hua cong              teeblog@qq.com                               Nike
281   www.nikeschuhenikefree.com           lin hua cong              teeblog@qq.com                               Nike
282   www.nike-outlet.us                   lin hua cong              teeblog@qq.com                               Nike
283   www.trainingshoesbuy.com             motao                     service1@webseemial.com                      Nike
                                                                     hbxpoolxcc@yahoo.com
284   www.tiffanycofreeruns.org            no buh                    shentaishanglk@gmail.com                     Nike / Converse
285   www.tiffanyfreerunner.com            no buh                    shentaishanglk@gmail.com                     Nike
286   www.tiffanyfreerunner.org            no buh                    shentaishanglk@gmail.com                     Nike
287   www.freerun3volt.com                 no buh                    ninetytradestore@gmail.com                   Nike
288   www.limegreenfreeruns.com            no buh                    shentaishanglk@gmail.com                     Nike / Converse
                                                                     ninetytradestore@gmail.com
289   www.tropicaltwistfreeruns.com        no buh                    ninetytradestore@gmail.com                   Nike / Converse
290   www.nikesb22.com                     REACTIVATION PERIOD       niceamas@gmail.com                           Nike / Converse
291   www.airpenny1forsale.net             Sacaj BoxAngel            yangziss@hotmail.com                         Nike
292   www.usajumpman.com                   SandyC                    morethanjordan23@yahoo.com                   Nike
                                                                     ptcsn@163.com
293   www.360runningshoes.com              tang guo                  tangguo2s@163.com                            Nike
294   www.freeruns3v4.com                  todd amira                toddamira883@gmail.com                       Nike
295   www.jordan4unc.com                   water lin                 wo_gan_ni_mama@yeah.net                      Nike
296   www.shoxuk.com                       WHOIS AGENT               1197084292@qq.com                            Nike
297   www.maxshox2au.com                   xu weihai                 vxvdsad@yahoo.com                            Nike
                                                                     1197084292@qq.com
298   www.blazershiuk.com                  xu weihai                 vxvdsad@yahoo.com                            Nike
299   www.jdnsneakers.com                  xu weihai                 vxvdsad@yahoo.com                            Nike
300   www.outdoorukshoes.com               xu weihai                 1197084292@qq.com                            Nike
301   www.pickfreetrainers.com             xu weihai                 1197084292@qq.com                            Nike
302   www.runshoeuk.com                    xu weihai                 vxvdsad@yahoo.com                            Nike
303   www.shoesjduk.com                    xu weihai                 vxvdsad@yahoo.com                            Nike
304   www.trainersmalluk.com               xu weihai                 vxvdsad@yahoo.com                            Nike
                                                                     1197084292@qq.com
305 www.2012free.org                       yujian ran                tebiedeaigei@gmail.com                       Nike
306 www.tiffanyfreeruns.com                yujian ran                tebiedeaigei@gmail.com                       Nike / Converse
                                                                     ninetytradestore@gmail.com
307   airpenny1forsale.net                 Sacaj BoxAngel            yangziss@hotmail.com                         Nike
308   nikesb22.com                         REACTIVATION PERIOD       niceamas@gmail.com                           Nike / Converse
309   jordan4unc.com                       water lin                 wo_gan_ni_mama@yeah.net                      Nike
310   lqshoes.com                          Fuck Track me             wo_gan_ni_mama@yeah.netihandbag123@163.com   Nike
311   a3classicshoes.co.nz                 Kathy Peyton              sdsar@yahoo.com                              Nike




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312   airjordan23shoese.com           lin hua cong                                 teeblog@qq.com                                         Nike
313   cheapnikefreeshoes2014.com      Jack Zhang                                   niceamas@gmail.com                                     Nike
314   maxshox2au.com                  xu weihai                                    vxvdsad@yahoo.com1197084292@qq.com                     Nike
315   newsneakersoutlet.com           krystian                                     allenseng@hotmail.com                                  Nike

316 nikeblazerfemmelb.org             lin hua cong                                 teeblog@qq.com                                         Nike
317 nikeschuhenikefree.com            lin hua cong                                 teeblog@qq.com                                         Nike
318 shoxuk.com                        WHOIS AGENT                                  1197084292@qq.com                                      Nike

                                                                        DEFENDANTS - GROUP F
                     Domain Name                        Name(s)                                                       Email Address(es)    Affected Plaintiff
                                                                                                                                             (Nike and/or
                                                                                                                                              Converse)
319 www.hyperchaos.net                jian yin                                     haifatradestore@gmail.com                              Nike
                                      Bodon Trading                                2807980168@qq.com
                                      Zhizhong Huang
320 www.cheapkd5shoes.com             jian yin                                     haifatradestore@gmail.com                              Nike
                                      Eric Lee                                     ninetytradestore@gmail.com
                                      Bodon Trading                                2807980168@qq.com
                                      Meijin Huang
                                      Zhizhong Huang
321 www.freesrunsstore.com            Bodon Trading
                                      Zhizhen Li
322 www.airfoampositemax.com          dsjf lai                                     douguaiaidegus@gmail.com                               Nike
323 www.freeruns20.com                no buh                                       shentaishanglk@gmail.com                               Nike
                                                                                   ninetytradestore@gmail.com                             Converse
                                                                                   2807980168@qq.com
324 www.lebron9womens.com             jue xin                                      guanbushangd@gmail.com                                 Nike
325 www.kdvbhm5.com                   todd amira                                   toddamira883@gmail.com                                 Nike
326 www.buyfreeruncheapsale.com       yujian ran                                   ninetytradestore@gmail.com                             Nike
                                                                                   tebiedeaigei@gmail.com
327 www.tiffanybluefreerun3.com       yujian ran                                   ninetytradestore@gmail.com                             Nike
                                                                                   tebiedeaigei@gmail.com
328 www.freerunsstore.com             no buh                                       ninetytradestore@gmail.com                             Nike
                                      Bodon Trading                                2807980168@qq.com                                      Converse
                                      Zhizhen Li
329   www.airfoamposite1.org          leng ye                                      damabaiyun@gmail.com                                   Nike
330   www.kdv-bhm.com                 todd amira                                   toddamira883@gmail.com                                 Nike
331   freeruns3v4.com                 todd amira                                   toddamira883@gmail.com                                 Nike
332   tiffanycofreeruns.org           no buh                                       shentaishanglk@gmail.com                               Nike / Converse
333   tiffanyfreerunner.com           no buh                                       shentaishanglk@gmail.com                               Nike
334   tiffanyfreerunner.org           no buh                                       shentaishanglk@gmail.com                               Nike

                                                                        DEFENDANTS - GROUP G
                     Domain Name                        Name(s)                                                       Email Address(es)    Affected Plaintiff
                                                                                                                                             (Nike and/or
                                                                                                                                              Converse)
335 www.nikefree4s.com                huang yamei                                  limei53@hotmail.com                                    Nike
                                      Cheap Nike Free Run Trade Co., Ltd.          cheapmaxshox@hotmail.com
336 www.nbakd.com                                                                  onlinesales21@hotmail.com                              Nike
                                                                                   cheapmaxshox@hotmail.com
337 www.kengriffey4s.com              zhihong pt                                   ziqiang53@163.com                                      Nike
                                                                                   cheapmaxshox@hotmail.com
338   www.occidentsell.com            zhihong wu                                   zhihong1888@hotmail.com                                Nike
339   www.nbarose.com                 limei huang                                  ziqiang53@163.com                                      Nike
340   www.nbakevindurant.com          yuhua wu                                     yuhua53@hotmail.com                                    Nike
341   www.cheap-freerun.com           yuhua wu                                     yuhua53@hotmail.com                                    Nike
342   www.kobe8shoes2u.com            zhihong wu                                   limei53@hotmail.com                                    Nike
343   www.lbj4u.com                   yuhua wu                                     yuhua53@hotmail.com                                    Nike
344   www.soccershoes2u.com           yuhua wu                                     cheapmaxshox@hotmail.com                               Nike
                                                                                   yahua53@hotmail.com

                                                                        DEFENDANTS - GROUP H
                     Domain Name                        Name(s)                                                       Email Address(es)    Affected Plaintiff
                                                                                                                                             (Nike and/or
                                                                                                                                              Converse)
345   www.cheapvip-jerseys.com        Bill King                                    service@cheapvip-jerseys.com                           Nike
346   www.sonarwetsuits.com           Bill King                                    placeanorder@live.com                                  Nike
347   www.nugah.com                   Bill King                                    nugah4u@gmail.com                                      Nike
348   www.cheapnikefreerun30au.com    Bill King                                    service@cheapnikefreerun30au.com                       Nike
349   www.nikefreeruns30.com          Bill King                                    service@nikefreeruns30.com                             Nike
                                      EBL*SUCH RAINY Y.K. - SALES
350 www.speechtotextservice.net       Reactivation Period                          Reactivation-Pending@enom.com                          Nike
                                                                                   nugah4u@gmail.com
351   www.nikefreerunnersshoes.com    Bill King                                    service@nikefreerunnersshoes.com                       Nike
352   www.newnfljerseys2012nike.com   Bill King                                    service@newnfljerseys2012nike.com                      Nike
353   www.nikefreerunners5.com        Bill King                                    service@nikefreerunners5.com                           Nike
354   www.sonarwetsuits.com           Bill King                                    placeanorder@live.com                                  Nike
355   www.freerundks.com              Bill King                                    placeanorder@live.com                                  Nike
356   www.nikefreerundkp.com          Bill King                                    placeanorder@live.com                                  Nike
357   www.freerunlobesko.com          Bill King                                    placeanorder@live.com                                  Nike
358   www.nikefreerundku.com          Bill King                                    placeanorder@live.com                                  Nike
359   www.cheapfreerun2sale.com       Bill King                                    placeanorder@live.com                                  Nike
360   www.cheapfreerun3online.com     Bill King                                    placeanorder@live.com                                  Nike
361   www.cheapnikefreetr.com         Bill King                                    placeanorder@live.com                                  Nike
362   www.dkbilligenikefree.com       zita binder                                  binderzita@gmail.com                                   Nike
363   www.dkfreerun2.com              zita binder                                  freerunsdksalg@gmail.com                               Nike
364   www.dkfreerun3.com              zita binder                                  dkfreeruns@gmail.com                                   Nike
365   www.dkfreeruntilbud.com         zita binder                                  dkfreerunstilbud@gmail.com                             Nike
366   www.freerundkp.com              Bill King                                    placeanorder@live.com                                  Nike
367   www.gizvtnaita.com              WHOISGUARD PROTECTED                         nikefreerunsaleaus@gmail.com                           Nike
368   www.nikefreedkp.com             Bill King                                    placeanorder@live.com                                  Nike
369   www.nikefreerun2shop.com        Bill King                                    placeanorder@live.com                                  Nike
370   www.nikefreerunlobesko.com      Bill King                                    placeanorder@live.com                                  Nike
371   www.nikefreeskodkt.com          Bill King                                    placeanorder@live.com                                  Nike
372   www.nikefreetilbudlobesko.com   Bill King                                    placeanorder@live.com                                  Nike




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373 www.dkfreerun30.com             zita binder                            dkfreerun30@gmail.com                                 Nike
                                                                           placeanorder@live.com
374 www.nikefreerunsaleaus.com      WHOISGUARD PROTECTED                   nikefreerunsaleaus@gmail.com                          Nike
375 www.onlinenikefreesko.com       Bill King                              service@onlinenikefreesko.com                         Nike
                                                                           placeanorder@live.com
376   cheapfreerun2sale.com         Bill King                              placeanorder@live.com                                 Nike
377   cheapfreerun3online.com       Bill King                              placeanorder@live.com                                 Nike
378   cheapnikefreetr.com           Bill King                              placeanorder@live.com                                 Nike
379   dkbilligenikefree.com         zita binder                            binderzita@gmail.com                                  Nike
380   dkfreerun2.com                zita binder                            freerunsdksalg@gmail.com                              Nike
381   dkfreerun3.com                zita binder                            dkfreeruns@gmail.com                                  Nike
382   dkfreeruntilbud.com           zita binder                            dkfreerunstilbud@gmail.com                            Nike
383   freerundkp.com                Bill King                              placeanorder@live.com                                 Nike
384   gizvtnaita.com                WHOISGUARD PROTECTED                   nikefreerunsaleaus@gmail.com                          Nike
385   nikefreedkp.com               Bill King                              placeanorder@live.com                                 Nike
386   nikefreerun2shop.com          Bill King                              placeanorder@live.com                                 Nike
387   nikefreerunlobesko.com        Bill King                              placeanorder@live.com                                 Nike
388   nikefreeskodkt.com            Bill King                              placeanorder@live.com                                 Nike
389   nikefreetilbudlobesko.com     Bill King                              placeanorder@live.com                                 Nike
390   dkfreerun30.com               zita binder                            dkfreerun30@gmail.com                                 Nike
                                                                           placeanorder@live.com
391 nikefreerunsaleaus.com          WHOISGUARD PROTECTED                   nikefreerunsaleaus@gmail.com                          Nike
392 onlinenikefreesko.com           Bill King                              service@onlinenikefreesko.com                         Nike
                                                                           placeanorder@live.com

                                                             DEFENDANTS - GROUP I
                      Domain Name                  Name(s)                                                   Email Address(es)   Affected Plaintiff
                                                                                                                                    (Nike and/or
                                                                                                                                     Converse)
393 www.freebuyshoes.com            Joann Smith                            nikefreeonline2012@hotmail.com                        Nike
                                    JIACHENGJUN INVESTMENT CO.
                                    SHENZHEN 51800
394 www.newfreeshoes.com            Joe Tran                               nikefreeonline2012@hotmail.com                        Nike
                                    JIACHENGJUN INVESTMENT CO.
                                    SHENZHEN 51800
395 www.newcomeshoes.com                                                   nikefreeonline2012@hotmail.com
396 www.2014newshoes.com                                                   nikefreeonline2012@hotmail.com
397                                 joe tran                               services2013@hotmail.com                              Nike
                                                                           monicayy68@hotmail.com
      www.shoesbuyeasy.com                                                 amy zsr@hotmail.com
398                                 Jean Sabud                             nikefreeonline2012@hotmail.com                        Nike
      www.2014newshoes.com                                                 onlyalice@hotmail.com

                                                             DEFENDANTS - GROUP J
                      Domain Name                  Name(s)                                                   Email Address(es)    Affected Plaintiff
                                                                                                                                    (Nike and/or
                                                                                                                                     Converse)
399 www.purplelebrons.com           kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
                                                                           service@nbashoes.com
400 www.nike-sandals.com            san zhang                              domainages@gmail.com                                  Nike / Converse
401 www.cheaplebrons.org            kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                                                           service@cheaplebrons.org
402 www.crazysupplier.com           Liu JinGuo                             support@domainname.vg                                 Nike
                                    eNom, Inc.                             buykicksonline@hotmail.com
                                                                           hi.pickbuys@hotmail.com
403 www.newfoamposites.org          zhang san                              jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
404 www.newlebron10.org             zhang san                              jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
405 www.galaxykobe7.com             kayla moore                            jenneyzhenlin@gmail.com                               Nike
406 www.2012hyperdunk.org           kayla moore                            jenneyzhenlin@gmail.com                               Nike
407 www.kobe8s.org                  kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                                                           service@kobe8s.org
408 www.nbashoes.net                kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
409 www.hyperdunk2013.org           kayla moore                            jenneyzhenlin@gmail.com                               Nike
410 www.kdivcreamsicle.com          kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
411 www.kobe7s.org                  kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                    WWW.GADGETSHEAVEN.CO.UK 02-1661-
                                    0808
412   www.kobeshark.org             kayla moore                            jenneyzhenlin@gmail.com                               Nike
413   www.lebron9elite.org          wang jie                               1783149795@qq.com                                     Nike
414   www.lebronchristmas.org       kayla moore                            jenneyzhenlin@gmail.com                               Nike
415   www.lebrons2012.com           wang jie                               1783149795@qq.com                                     Nike
416   www.penny5.com                kayla moore                            jenneyzhenlin@gmail.com                               Nike
417   www.cheapkobe.com             michael vick                           1783149795@qq.com                                     Nike
418   www.freerunscheap.net         wang jie                               1783149795@qq.com                                     Nike
419   www.jordan2013.org            wang jie                               1783149795@qq.com                                     Nike
420   www.lebron9cheap.net          kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
421   www.diamondturf1.com          kayla moore                            jenneyzhenlin@gmail.com                               Nike
422   www.cheapjordanss.org         zhang san                              jenney@gmail.com                                      Nike
423   www.jordanforsales.org        zhang san                              jenney@gmail.com                                      Nike
424   www.buywikionline.com         San Zhang                              beoltrade@hotmail.com                                 Nike
                                    Chen Jinxing                           buykicksonline@hotmail.com
                                                                           hi.pickbuys@hotmail.com
                                                                           j3e42d@outlook.com
                                                                           linda.ch26@hotmail.com
                                                                           wholesaleshoestrade@hotmail.com
425 www.hyperenforcer2013.org       zhang san                              jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
426 www.jordanshoes-usa.com         rose chen                              service@nbashoes.net                                  Nike
427 www.cheaplebron.net             zhang san                              jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net




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428 www.airjordanforsale.org               wang jie                        1783149795@qq.com                   Nike
                                                                           service@nbashoes.net
429 www.lbjshoes.com                       michael vick                    1783149795@qq.com                   Nike
                                                                           service@nbashoes.net
430 www.kdshoess.com                       michael vick                    1783149795@qq.com                   Nike
                                                                           service@nbashoes.net
431 www.kdvshoe.org                        zhang san                       jenneyzhenlin@gmail.com             Nike
                                                                           service@nbashoes.net
432 www.cheapkdshoes.com                   michael vick                    1783149795@qq.com                   Nike
                                                                           service@nbashoes.net
433 www.kdivcolorways.com                  kayla moore                     jenneyzhenlin@gmail.com             Nike
                                                                           service@nbashoes.net
434 www.supraowen.org                      zhang san                       jenneyzhenlin@gmail.com             Nike
                                                                           service@nbashoes.net
435 www.derrickroseadizero.org             kayla moore                     jenneyzhenlin@gmail.com             Nike
                                                                           service@nbashoes.net
436   www.linda-jerseys.com                san zhang                       lindajerseys@gmail.com              Nike
437   www.cheapgalaxyfoamposites.com       michael vick                    1783149795@qq.com                   Nike
438   www.galaxyfoampositeforsale.com      michael vick                    1783149795@qq.com                   Nike
439   www.kdusashoes.com                   michael vick                    1783149795@qq.com                   Nike
440   www.newkdshoes.com                   michael vick                    1783149795@qq.com                   Nike
441   www.cheapkd5shoess.com               Zhang San                       jenneyzhenlin@gmail.com             Nike
442   www.nbashoess.org                    zhang san                       jenneyzhenlin@gmail.com             Nike
443   www.kd5forsale.org                   zhang san                       jenneyzhenlin@gmail.com             Nike
444   www.kdshoescheap.com                 kayla moore                     jenneyzhenlin@gmail.com             Nike
445   www.kobe7colorways.com               zhang san                       jenneyzhenlin@gmail.com             Nike
446   www.airjordanscheap.org              zhang san                       jenney@gmail.com                    Nike
447   www.jordansforsalecheap.org          zhang san                       jenney@gmail.com                    Nike
448   www.lindajerseys.com                 EBL*GREENSOUL OY-AUCUPSDU       lindajerseys@gmail.com              Nike
449   www.kickgogo.com                     eNom, Inc.                      support@domainname.vg               Nike
                                                                           buykicksonline@hotmail.com
                                                                           hi.pickbuys@hotmail.com
450   www.pickyourbuys.com                                                 buykicksonline@hotmail.com          Nike
451   www.crazy-supplier.com                                               buykicksonline@hotmail.com          Nike
452   www.2013jordanshoes.org              zhang san                       jenney@gmail.com                    Nike
453   www.2013thesaintsjerseys.com         Bunhon wong                     spectaclexjuc@gmail.com             Nike
                                                                           sfadf33333333333333333333@126.com
454   www.2014worldcupsoccerjerseys.us     san zhang                       lindajerseys@gmail.com              Nike / Converse
455   www.6000jerseys.com                  san zhang                       services@6000jerseys.com            Nike
456   www.airjordansfanatics.com           michael vick                    1783149795@qq.com                   Nike
457   www.by-nike23.com                    Jie Xia                         by-nikes@yahoo.cn                   Nike
458   www.chaussuresairmaxnike.com         huang huacai                    nancywill1986@hotmail.com           Nike
459   www.cheap-air-jordan.com             lin fengying                    bestonlineshop@hotmail.com          Nike
                                                                           nikecheapshoes@hotmail.com
460   www.cheapairjordanshoesforsale.org   huang huacai                    nancywill1986@hotmail.com           Nike
461   www.cheapjordansforsales.org         zhang san                       jenney@gmail.com                    Nike
462   www.cheapjordanswholesale.com        San Zhang                       beoltrade@hotmail.com               Nike
463   www.cheapkd.org                      zhang san                       jenneyzhenlin@gmail.com             Nike / Converse
464   www.cheapkdiv.net                    san zhang                       jenneyzhenlin@gmail.com             Nike / Converse
                                                                           BABAYGOGOGO@gmail.com
465   www.cheapnikeairmaxandfreerun.com    San Zhang                       zhengjf10@163.com                   Nike
466   www.greyjordanshoes.org              huang huacai                    nancywill1986@hotmail.com           Nike
467   www.jordan8sphoenixsuns.org          zhang san                       jenneyzhenlin@gmail.com             Nike
468   www.jordansshoesforcheap.org         wang jie                        1783149795@qq.com                   Nike
469   www.kevindurant6.org                 zhang san                       jenneyzhenlin@gmail.com             Nike
470   www.kobe7supreme.org                 kayla moore                     service@kobe7supreme.org            Nike
                                                                           jenneyzhenlin@gmail.com
471 www.kobe82013.com                      zhang san                       jenney123456555@gmail.com           Nike
                                                                           jenney@gmail.com
472 www.kobe8yots.com                      zhang san                       jenneyzhenlin@gmail.com             Nike
473 www.lebron2013.org                     zhang san                       jenneyzhenlin@gmail.com             Nike
474 www.lebron9dunkman.com                 wang jie                        17832154554@qq.com                  Nike
                                                                           1783149795@qq.com
475 www.lebronhyperdunks.com               san zhang                       service@lebronhyperdunks.com        Nike
                                                                           jenneyzhenlin@gmail.com
                                                                           jenneyzhehe952@gmail.com
476 www.lebronjames10shoes.org             wang jie                        service@lebronjames10shoes.org      Nike
                                                                           1783149795@qq.com
477 www.namebrand123.com.cn                xiongfei trade Co. Ltd          namebrand123@yahoo.cn               Nike
                                                                           namebrand123@hotmail.com
478 www.namebrand166.com                   lin fang                        topnike098@hotmail.com              Nike
                                                                           namebrand123@yahoo.cn               Nike / Converse
                                                                           namebrand123@hotmail.com            Nike / Converse
479   www.newjordanshoes2013.org           zhang san                       jenney@gmail.com                    Nike
480   www.nike2store.net                   san zhang                       qq123456@hotmail.com                Nike
481   www.nikeairjordanshoessale.org       huang huacai                    nancywill1986@hotmail.com           Nike
482   www.nikeairmax1-fr.info              huang huacai                    nancywill1986@hotmail.com           Nike
483   www.nikeairmaxpascherfrance.com      huang huacai                    service-2013@hotmail.com            Nike
484   www.nikefreebillig.org               San Zhang                       sfadf33333333333333333333@126.com   Nike
485   www.nikejordansforsale.com           huang huacai                    service-2013@hotmail.com            Nike
486   www.nikejordanshoes2013.com          huang huacai                    service-2013@hotmail.com            Nike
487   www.nikejordanshoes2013.org          huang huacai                    nancywill1986@hotmail.com           Nike
488   www.nikekickcoo.com                  San Zhang                       beoltrade@hotmail.com               Nike
489   www.nikeshoes.pw                     lin fengying                    nikecheapshoes@yahoo.com.cn         Nike
490   www.paschernikeairmax.info           huang huacai                    nancywill1986@hotmail.com           Nike
491   www.pickyourjerseys.org              huang huacai                    service-2013@hotmail.com            Nike
                                                                           nancywill1986@hotmail.com
492 www.ravensjerseysforsale.com           jie wang                        1783149795@qq.com                   Nike
493 www.sellairjordan23.com                Samanta Bangaree                verynike_123@ymail.com              Nike / Converse
                                                                           verynike_123@yahoo.com.cn
                                                                           cntrade168@ymail.com
                                                                           Cntrade168@yahoo.com.cn
                                                                           hy shoes@yahoo.com.cn
494 www.airmaxfanatics.com                 Moniker Privacy Services        1783149795@qq.com                   Nike
495 www.buywikisonline.com                 San Zhang                       buykicksonline@hotmail.com          Nike




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496 www.goodshoeswholesale.com         San Zhang                    service-2013@hotmail.com            Nike / Converse
                                       San Zhang                    sdaf3333333333@126.com
497 www.hot-cheap.com                  cai jincan                   verynike_123@ymail.com              Nike
                                                                    verynike_123@yahoo.com.cn
                                                                    cntrade168@ymail.com
                                                                    Cntrade168@yahoo.com.cn
                                                                    cx3139@yahoo.com.cn
                                                                    hy shoes@yahoo.com.cn
498   www.hotpunchnikefree.com         wen ben zhou                 service@hotpunchnikefree.com        Nike
499   www.lebronshoes10.org            zhang san                    jenneyzhenlin@gmail.com             Nike
500   www.sportshoesoutlet.org         San Zhang                    safdsf33333333333333@126.com        Nike
501   2013jordanshoes.org              zhang san                    jenney@gmail.com                    Nike
502   2013thesaintsjerseys.com         Bunhon wong                  spectaclexjuc@gmail.com             Nike
                                                                    sfadf33333333333333333333@126.com
503   2014worldcupsoccerjerseys.us     san zhang                    lindajerseys@gmail.com              Nike / Converse
504   6000jerseys.com                  san zhang                    services@6000jerseys.com            Nike
505   airjordansfanatics.com           michael vick                 1783149795@qq.com                   Nike
506   by-nike23.com                    Jie Xia                      by-nikes@yahoo.cn                   Nike
507   chaussuresairmaxnike.com         huang huacai                 nancywill1986@hotmail.com           Nike
508   cheap-air-jordan.com             lin fengying                 bestonlineshop@hotmail.com          Nike
                                                                    nikecheapshoes@hotmail.com
509   cheapairjordanshoesforsale.org   huang huacai                 nancywill1986@hotmail.com           Nike
510   cheapjordansforsales.org         zhang san                    jenney@gmail.com                    Nike
511   cheapjordanswholesale.com        San Zhang                    beoltrade@hotmail.com               Nike
512   cheapkd.org                      zhang san                    jenneyzhenlin@gmail.com             Nike / Converse
513   cheapkdiv.net                    san zhang                    jenneyzhenlin@gmail.com             Nike / Converse
                                                                    BABAYGOGOGO@gmail.com
514   cheapnikeairmaxandfreerun.com    San Zhang                    zhengjf10@163.com                   Nike / Converse
515   greyjordanshoes.org              huang huacai                 nancywill1986@hotmail.com           Nike
516   jordan8sphoenixsuns.org          zhang san                    jenneyzhenlin@gmail.com             Nike
517   jordansshoesforcheap.org         wang jie                     1783149795@qq.com                   Nike
518   kevindurant6.org                 zhang san                    jenneyzhenlin@gmail.com             Nike
519   kobe7supreme.org                 kayla moore                  service@kobe7supreme.org            Nike
                                                                    jenneyzhenlin@gmail.com
520   kobe82013.com                    zhang san                    jenney123456555@gmail.com           Nike
521                                                                 jenney@gmail.com                    Nike
522   kobe8yots.com                    zhang san                    jenneyzhenlin@gmail.com             Nike
523   lebron2013.org                   zhang san                    jenneyzhenlin@gmail.com             Nike
524   lebron9dunkman.com               wang jie                     17832154554@qq.com                  Nike
                                                                    1783149795@qq.com
525 lebronhyperdunks.com               san zhang                    service@lebronhyperdunks.com        Nike
                                                                    jenneyzhenlin@gmail.com
                                                                    jenneyzhehe952@gmail.com
526 lebronjames10shoes.org             wang jie                     service@lebronjames10shoes.org      Nike
                                                                    1783149795@qq.com
527 namebrand123.com.cn                xiongfei trade Co. Ltd       namebrand123@yahoo.cn               Nike
                                                                    namebrand123@hotmail.com
528 namebrand166.com                   lin fang                     topnike098@hotmail.com              Nike / Converse
                                                                    namebrand123@yahoo.cn
                                                                    namebrand123@hotmail.com
529   newjordanshoes2013.org           zhang san                    jenney@gmail.com                    Nike
530   nike2store.net                   san zhang                    qq123456@hotmail.com                Nike
531   nikeairjordanshoessale.org       huang huacai                 nancywill1986@hotmail.com           Nike
532   nikeairmax1-fr.info              huang huacai                 nancywill1986@hotmail.com           Nike
533   nikeairmaxpascherfrance.com      huang huacai                 service-2013@hotmail.com            Nike
534   nikefreebillig.org               San Zhang                    sfadf33333333333333333333@126.com   Nike
535   nikejordansforsale.com           huang huacai                 service-2013@hotmail.com            Nike
536   nikejordanshoes2013.com          huang huacai                 service-2013@hotmail.com            Nike
537   nikejordanshoes2013.org          huang huacai                 nancywill1986@hotmail.com           Nike
538   nikekickcoo.com                  San Zhang                    beoltrade@hotmail.com               Nike
539   nikeshoes.pw                     lin fengying                 nikecheapshoes@yahoo.com.cn         Nike
540   paschernikeairmax.info           huang huacai                 nancywill1986@hotmail.com           Nike
541   pickyourjerseys.org              huang huacai                 service-2013@hotmail.com            Nike
                                                                    nancywill1986@hotmail.com
542 ravensjerseysforsale.com           jie wang                     1783149795@qq.com                   Nike
543 sellairjordan23.com                Samanta Bangaree             verynike_123@ymail.com              Nike / Converse
                                                                    verynike_123@yahoo.com.cn
                                                                    cntrade168@ymail.com
                                                                    Cntrade168@yahoo.com.cn
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                                                            DEFENDANTS - GROUP K
                    Domain Name                  Name(s)                                          Email Address(es)    Affected Plaintiff
                                                                                                                         (Nike and/or
                                                                                                                          Converse)
544   www.800-shoes.com            chenyusheng                          lihaidao2002@163.com                          Nike
545   www.yes-shoe.com             yy z                                 hxtradesaler6@163.com                         Nike
546   www.nflforsalecom.com        ftyi                                 kweg63403@163.com                             Nike
547   www.ok-cheapshoes.com        xb z                                 sale@servicesaler.com                         Nike / Converse
548   www.yes-shoe.net             rtyt                                 sdertxd6@163.com                              Nike
                                   EBL*UNIVERSITY JHUG LIMITED          service@saleservice.com
                                                                        shoesale88@hotmail.com
549   www.bulk-nfl.com             cfh                                  sdertxd6@163.com                              Nike
550   www.cheapnfljerseyscom.com   ftyi                                 kweg63403@163.com                             Nike
551   www.likenfl2013.com          huik                                 kweg63403@163.com                             Nike
552   www.nflcheap800.com          huik                                 kweg63403@163.com                             Nike
553   www.nfls-need.net            sfr                                  sdertxd6@163.com                              Nike
554   www.ok-shoes.net             rtyt                                 sdertxd6@163.com                              Nike
555   www.yes2013nfl.net           sfr                                  sdertxd6@163.com                              Nike
556   www.yesbuynfl.net            sfr                                  sdertxd6@163.com                              Nike
557   www.yesgetnfl.com            sfr                                  sdertxd6@163.com                              Nike
558   www.yesgetnfl.net            sfr                                  sdertxd6@163.com                              Nike
559   www.yesshopnfl.com           sfr                                  sdertxd6@163.com                              Nike
560   www.yesshopnfl.net           sfr                                  sdertxd6@163.com                              Nike
561   bulk-nfl.com                 cfh                                  sdertxd6@163.com                              Nike
562   cheapnfljerseyscom.com       ftyi                                 kweg63403@163.com                             Nike
563   likenfl2013.com              huik                                 kweg63403@163.com                             Nike
564   nflcheap800.com              huik                                 kweg63403@163.com                             Nike
565   nfls-need.net                sfr                                  sdertxd6@163.com                              Nike
566   ok-shoes.net                 rtyt                                 sdertxd6@163.com                              Nike
567   yes2013nfl.net               sfr                                  sdertxd6@163.com                              Nike
568   yesbuynfl.net                sfr                                  sdertxd6@163.com                              Nike
569   yesgetnfl.com                sfr                                  sdertxd6@163.com                              Nike
570   yesgetnfl.net                sfr                                  sdertxd6@163.com                              Nike
571   yesshopnfl.com               sfr                                  sdertxd6@163.com                              Nike
572   yesshopnfl.net               sfr                                  sdertxd6@163.com                              Nike




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                                                                                 DEFENDANTS - GROUP L
                      Domain Name                                      Name(s)                                                 Email Address(es)    Affected Plaintiff
                                                                                                                                                      (Nike and/or
                                                                                                                                                       Converse)
573   www.for-jerseys.com                         lihao                                      jerseys@yahoo.com                                     Nike
574   www.for-jerseys.net                         Wang Haiyang                               jerseys@hotmail.com                                   Nike
575   www.nflcustomic.com                         Tian Shen                                  my.domain@foxmail.com                                 Nike
576   www.great-wholesalejersyes.net              Zheng Jiangyang                            wholesalejersyes@yahoo.com                            Nike
                                                                                             lyleqet@hotmail.com
                                                                                             service@dvjerseys.com
                                                                                             lowjerseys@hotmail.com
577   www.wholesalejerseysx.com                   Cai LiMing                                 rqb@dingdian.cn                                       Nike
578   www.cheapcustomjerseys.us                   Tianqin Ou                                 good-2@foxmail.com                                    Nike
579   www.idjerseys.com                                                                      idjerseys@gmail.com                                   Nike
580   www.collectteam.com                         Suchun Zheng                               toplinwei@yahoo.cn                                    Nike
581   www.for-jerseys.biz                         fangyong                                   winwindshoes.ca@gmail.com                             Nike
                                                  EBL*EXTENTBARGAIN K.K.                     jerseys@goxshop.com
                                                                                             wholesalejerseysx@hotmail.com
582 www.myspeto.com                               Extentbargain K.K.
583 www.wholesalegreatjerseys.com                 Yang XiaoYue                               wholesalegreatjerseys@gmail.com                       Nike
                                                  XiaoYue Yang
584 www.great-wholesalejerseys.us                                                            service@dvjerseys.com
585 www.2014jordan.com                            Jinfeng Zhang                              lmany01@gmail.com                                     Nike
                                                                                             1903769525@qq.com
586                                               xiong lin                                  yanuolv2013@163.com                                   Nike
      www.59ishoes.com                                                                       1749080296@qq.com
587   www.66buy-nike.com                          xiong lin                                  1749080296@qq.com                                     Nike / Converse
588   www.7buy-nike.com                           xiong lin                                  1749080296@qq.com                                     Nike / Converse
589   www.99buy-nike.com                          xiong lin                                  1749080296@qq.com                                     Nike / Converse
590   www.9buy-nike.com                           xiong lin                                  shopping8090@hotmail.com                              Nike / Converse
                                                                                             shopping333@hotmail.com
                                                                                             1749080296@qq.com
591 www.adidas-mall.com                           xiong lin                                  yanuolv2013@163.com                                   Nike
                                                                                             1749080296@qq.com
592   www.airmaxsneaker90.co.uk                   Aretha Johnson                             service2@storelinkmail.com                            Nike
593   www.airyeezy2pascher.info                   rose marry                                 daijiawu@live.com                                     Nike
594   www.authenticjerseyssupplierelite.com       Cai LiMing                                 paylessnfljerseyswholesale@gmail.com                  Nike
595   www.authenticjerseyssuppliersa.com          Cai LiMing                                 nfljersey2010@yahoo.com                               Nike
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596 www.authenticjerseyssupplierscheap.com        Cai LiMing                                 ldd@dingdian.cn                                       Nike
597 www.authenticjerseyssuppliershop.com          Cai LiMing                                 nfljersey2010@yahoo.com                               Nike
                                                                                             rqb@dingdian.cn
598 www.authenticjerseyssuppliersscheap.com       Cai LiMing                                 nfljersey2010@yahoo.com                               Nike
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599 www.authenticjerseyssuppliersshop.com         Cai LiMing                                 nfljersey2010@yahoo.com                               Nike
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600 www.authenticjerseyssuppliersswholesale.com   Cai LiMing                                 nfljersey2010@yahoo.com                               Nike
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601 www.authenticjerseyssupplierswholesale.com    Cai LiMing                                 nfljersey2010@yahoo.com                               Nike
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602 www.authenticjerseysupplierswholesale.com     Cai LiMing                                 ldd@dingdian.cn                                       Nike
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603 www.bestfanjersey.com                         Qi Min Li                                  jerseysmember@hotmail.com                             Nike
                                                                                             274024654@qq.com
604 www.bestfanjersey.net                         Qi Min Li                                  jerseysmember@hotmail.com                             Nike
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605 www.bestfanjersey.org                         qiming trade CO. Ltd                       jerseysmember@hotmail.com                             Nike
                                                                                             274024654@qq.com
606 www.bestfanjersey.us                          Li Qi Min                                  jerseysmember@hotmail.com                             Nike
                                                                                             274024654@qq.com
607 www.bestfanjerseys.net                        Xiang Yong Zheng                           jerseysmember@hotmail.com                             Nike
                                                                                             274024654@qq.com
608 www.bestfanjerseys.org                        ong Zheng                                  jerseysmember@hotmail.com                             Nike
609 www.bestfanjerseys.us                         Zheng Xiang Yong                           jerseysmember@hotmail.com                             Nike
                                                                                             274024654@qq.com
610 www.bestjerseys88.com                         yuyang lv                                  bestjerseys88@gmail.com                               Nike
611 www.bestjerseysgo.com                         yuyang lv                                  bestjerseys88@gmail.com                               Nike
                                                                                             bestjerseysgo@yahoo.com
                                                                                             bestjerseysgo@126.com
612   www.bestk.co.uk                             huang wensheng                             service2@forsendinfo.net                              Nike
613   www.blazer2uk.co.uk                         huang wensheng                                                                                   Nike
614   www.blazershoeuk.co.uk                      huang wensheng                                                                                   Nike
615   www.brandd.co.uk                            huang wensheng                             service2@forsendinfo.net                              Nike
616   www.btbbuy.com                              Liu Yifei                                  Yifei@Liu.cc                                          Nike
                                                  Liu Yifei                                  Yifei@Liu.cc
617   www.buycoltsjerseys.org                     fangyong                                   winwindshoes.ca@gmail.com                             Nike
618   www.buyshoeclothing.org                     yingchun yuan                              shoesspring@hotmail.com                               Nike
619   www.chaussurespaschernike.info              sanchun wu                                 530267919@qq.com                                      Nike
620   www.cheapjerseyswholesaleshop.com           Cai LiMing                                 paylessnfljerseyswholesale@gmail.com                  Nike
621   www.cheapjerseyswholesalesupplier.com       Cai LiMing                                 ldd@dingdian.cn                                       Nike
622   www.cheaplebronshoes.info                   rose marry                                 daijiawu@live.com                                     Nike
623   www.cheapnikeairmaxtrainers3sale.co.uk      zhu fu                                                                                           Nike
624   www.cheapnikefree.info                      sanchun wu                                 530267919@qq.com                                      Nike
625   www.cheapnikenflelitejerseys.org            rose marry                                 daijiawu@live.com                                     Nike
626   www.cheapniketn.info                        rose marry                                 daijiawu@live.com                                     Nike
627   www.cheapnikeusa.info                       rose marry                                 daijiawu@live.com                                     Nike
628   www.cheapreps.cc                            WHOIS AGENT                                repdavid2009@hotmail.com                              Nike / Converse
                                                                                             sellysnow2046@outlook.com
                                                                                             1596615787@qq.com
629   www.cheapreps.org                           WHOIS AGENT                                repdavid2009@hotmail.com                              Nike / Converse
630   www.cheapreps.us                            chen yuanming                              repdavid2009@hotmail.com                              Nike / Converse
631   www.cheapsize.cc                            WHOIS AGENT                                cheapsize@hotmail.com                                 Nike / Converse
632   www.cheapu.co.uk                            huang wensheng                             service2@forsendinfo.net                              Nike
633   www.countrykickz.com                        WHOIS AGENT                                goonb7c@hotmail.com                                   Nike / Converse
                                                                                             sellysnow2046@outlook.com




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634 www.doorjerseys.com                            Cai LiMing                                 doorjerseys86@hotmail.com              Nike
                                                                                              ldd@dingdian.cn
635 www.elitecheapnfljerseysauthenticshop.com      Cai LiMing                                 paylessnfljerseyswholesale@gmail.com   Nike
636 www.elitejerseyssuppliers.com                  Cai LiMing                                 nfljerseys2000@gmail.com               Nike
                                                                                              rqb@dingdian.cn
637 www.elitenfljerseyscheap.com                   Cai LiMing                                 nfljerseys2000@gmail.com               Nike
                                                                                              rqb@dingdian.cn
638   www.elitenfljerseyscheapshop.com             chenye yang                                rqb@dingdian.cn                        Nike
639   www.elitesportjerseys.com                    xiaoxi huang                               pursesoutlet@qq.com                    Nike
640   www.exsneaker2.com                           WHOIS AGENT                                Davideal2009@hotmail.com               Nike / Converse
641   www.eyjordans.com                            ke tianrong                                409213856@qq.com                       Nike
642   www.fashiongoods.cc                          Cai Liming                                 jersey2008@tom.com                     Nike
643   www.fashionsneaker.co.uk                     huang wensheng                             service1@forsendinfo.net               Nike
644   www.findsavemall.com                         Huang XiuYing                              fdsgfdgd@qq.com                        Nike
645   www.footballjerseyssuppliers.com             Cai LiMing                                 nfljersey2010@yahoo.com                Nike
                                                                                              rqb@dingdian.cn
646   www.free2k.co.uk                             huang wensheng                                                                    Nike
647   www.freerun-tn-au.com                        yang li                                    shoesspring@hotmail.com                Nike
648   www.greenbaypackersjerseys.com               chunhai song                               seeijerseys@gmail.com                  Nike
649   www.heelsko.com                              Cai LiMing                                 ldd@dingdian.cn                        Nike
650   www.hiphopiop.cn                             ྻᇵΎ                                        setorsungbg@hotmail.com                Nike
651   www.hiphopiop.ru                             Private Person                                                                    Nike / Converse
652   www.hiphoplinda.cc                           WHOIS AGENT                                Davideal2009@hotmail.com               Nike / Converse
653   www.hiphoplinda.org                          guo jiancong                               Davideal2009@hotmail.com               Nike / Converse
                                                   guo jiancong                               770314722@qq.com
654 www.hiphoplinda.ru                             Private Person                             Davideal2009@hotmail.com               Nike / Converse
655 www.hiphopnp.com                               zhang san                                  Davideal2009@hotmail.com               Nike
                                                                                              2069043802@qq.com
656 www.icenhljersey.com                           On behalf of icenhljersey.com OWNER        ldd@dingdian.cn                        Nike
657 www.idsole.com                                 WHOIS AGENT                                idsole@hotmail.com                     Nike / Converse
                                                                                              goonb7c@hotmail.com
                                                                                              kayaneast1028@hotmail.com
658 www.jerseyauthenticcheap.com                   Cai LiMing                                 nfljerseys2000@gmail.com               Nike
                                                                                              rqb@dingdian.cn
659 www.jerseyauthenticcheapshop.com               Cai LiMing                                 nfljerseys2000@gmail.com               Nike
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660 www.jerseyauthenticwholesaleshop.com           Cai LiMing                                 ldd@dingdian.cn                        Nike
661 www.jerseyfantastic.com                        Cai LiMing                                 ldd@dingdian.cn                        Nike
                                                                                              ldd@dingdian.cn
662 www.jerseysauthenticcheapeliteshop.com         Cai LiMing                                 nfljerseys2000@gmail.com               Nike
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663   www.jerseysauthenticcheaps.com               Cai LiMing                                 ldd@dingdian.cn                        Nike
664   www.jerseysauthenticcheapsshop.com           Cai LiMing                                 ldd@dingdian.cn                        Nike
665   www.jerseysauthenticcheapsuppliers.com       Cai LiMing                                 rqb@dingdian.cn                        Nike
666   www.jerseysauthenticsuppliers.com            Cai LiMing                                 nfljerseys2000@gmail.com               Nike
                                                                                              rqb@dingdian.cn
667   www.jerseysauthenticwholesaleauthentic.com   chenweizu                                  shoesclothingcheapor@gmail.com         Nike
668   www.jerseysauthenticwholesalejerseys.com     xiaoxi huang                               pursesoutlet@qq.com                    Nike
669   www.jerseysauthenticwholesalenfl.com         Lin Ji                                     nfljerseys2000@gmail.com               Nike
670   www.jerseysauthenticwholesaleshop.com        Cai LiMing                                 nfljerseys2000@gmail.com               Nike
                                                                                              rqb@dingdian.cn
671   www.jerseysfantastics.com                    Cai LiMing                                 ldd@dingdian.cn                        Nike
672   www.jerseys-goodsusa.com                     LiMing Cai                                 jerseys-goodsusa@hotmail.com           Nike
673   www.jerseyslist.info                         David Stevens                              cheapsky2010@hotmail.com               Nike
674   www.jerseysmall2012.com                      Cai LiMing                                 fsdgdsg@qq.com                         Nike
675   www.jerseysnatural.com                       Cai LiMing                                 nfljersey2010@yahoo.com                Nike
                                                                                              rqb@dingdian.cn
676 www.jerseystalk.info                           David Stevens                              sophieyuan3448@yahoo.com.cn            Nike
                                                                                              shoesspring2003@hotmail.com
                                                                                              shoesbagschina88@gmail.com
                                                                                              jerseystops@gmail.com
                                                                                              cheapsky2010@hotmail.com
677   www.jerseyswholesaleauthentic.com            Cai LiMing                                 ldd@dingdian.cn                        Nike
678   www.jerseyswholesaleauthenticelite.com       Domain Admin                               nfljerseys2000@gmail.com               Nike
679   www.jerseyswholesalecheapsuppliers.com       Cai LiMing                                 ldd@dingdian.cn                        Nike
680   www.jerseyswholesalesuppliers.com            Cai LiMing                                 rqb@dingdian.cn                        Nike
681   www.jerseyswholesalesuppliersauthentic.com   Huang XiuYing                              fdsgfdgd@qq.com                        Nike
682   www.jerseyswholesalesupplierscheap.com       Cai LiMing                                 fsdgdsg@qq.com                         Nike
683   www.jordanmyth.cc                            WHOIS AGENT                                Davideal2009@hotmail.com               Nike / Converse
684   www.jordanmyth.com                           zhang san                                  Davideal2009@hotmail.com               Nike / Converse
                                                                                              2069043802@qq.com
685   www.jordanmyth.org                           WHOIS AGENT                                Davideal2009@hotmail.com               Nike / Converse
686   www.jordanmyth.us                            chen yuanming                              Davideal2009@hotmail.com               Nike / Converse
687   www.jordan-taiwan.com                        ba fang                                    sin.tong@hotmail.com                   Nike
688   www.jourschaussures.fr                       Ronny Seffner                              service5@storelinkmail.com             Nike
689   www.lalunetteshopfr.com                      zenyu lin                                                                         Nike
690   www.largestore-online.com                    Xiaoqing Zhang                             largestoreonline@hotmail.com           Nike
                                                                                              rqb@dingdian.cn
                                                                                              largestore-online@gmail.com
691   www.levisbt.com                              xiong lin                                  1749080296@qq.com                      Nike
692   www.luckytobuy.com                           Liu Yifei                                  Yifei@Liu.cc                           Nike / Converse
693   www.mall-jordan.com                          xiong lin                                  1749080296@qq.com                      Nike / Converse
694   www.mall-vans.com                            xiong lin                                  yanuolv2013@163.com                    Nike
                                                                                              1749080296@qq.com
695   www.max1s.co.uk                              huang wensheng                                                                    Nike
696   www.max1uksports.co.uk                       huang zhan                                 service2@storelinkmail.com             Nike
697   www.max90store.co.uk                         huang wensheng                             service4@mailfor2013.com               Nike
698   www.maxdny.com                               Cai LiMing                                 nikepuma-2@hotmail.com                 Nike / Converse
                                                                                              nikepuma-1@hotmail.com
                                                                                              rqb@dingdian.cn
699 www.maxshox.fr                                 Stefano Cecconi                            service5@storelinkmail.com             Nike
700 www.maxvd.com                                  tianrong Ke                                nikepuma-2@hotmail.com                 Nike
                                                                                              nikepuma-1@hotmail.com
                                                                                              409213856@qq.com
701 www.minenike.com                               Pan Bing Huang                             1749080296@qq.com                      Nike / Converse




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702 www.newnikejersey.com                        Jian Zhong dai                           reebokdepot@hotmail.com                Nike
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703 www.newnikejersey.in                         dai Jian Zhong                           reebokdepot@hotmail.com                Nike
704 www.newnikejersey.net                        Jian Zhong dai                           reebokdepot@hotmail.com                Nike
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705 www.newnikejersey.org                        yida trade CO.,Ltd                       reebokdepot@hotmail.com                Nike
706 www.newnikejerseys.com                       Qiao Qin Liu                             reebokdepot@hotmail.com                Nike
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707 www.newnikejerseys.in                        Liu Qiao Qin                             reebokdepot@hotmail.com                Nike
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708   www.newredskinsjerseys.com                 chunhai song                             seeijerseys@gmail.com                  Nike
709   www.newyorkgiantsjerseys.org               fangyong                                 winwindshoes.ca@gmail.com              Nike
710   www.nfljerseyfreeshipping.org              fangyong                                 winwindshoes.ca@gmail.com              Nike
711   www.nfljerseysauthenticsuppliersshop.com   Cai LiMing                               paylessnfljerseyswholesale@gmail.com   Nike
712   www.nfljerseysglobal.com                   lvzhongtian                              jerseys@stajump.net                    Nike
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713   www.nfljerseysoutlet.info                  rose marry                               daijiawu@live.com                      Nike
714   www.nfljerseywholesaleauthentic.com        Cai LiMing                               ldd@dingdian.cn                        Nike
715   www.nflnike.us                             Weng Xue Jing                            274024654@qq.com                       Nike
716   www.nike528.com.cn                         ᪂㏻᭷㝈බྖ                                   yanuolv@yahoo.com                      Nike / Converse
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717 www.nike666.com                              ba fang                                  sshopping8090@hotmail.com              Nike
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718 www.nikeblazershoes.info                     sanchun wu                               530267919@qq.com                       Nike
719 www.nikeblazersonline.co.uk                  Stacy Peacock                            service2@airemail.net                  Nike
720 www.nike-dunk-sb-af1.com                     xiong lin                                yanuolv2013@163.com                    Nike / Converse
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721 www.nikefreeplus-au.info                     sanchun wu                               530267919@qq.com                       Nike
722 www.nikenfldepot.com                         hao lin                                  nikesportjerseys@msn.com               Nike
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1134   caps-sell.org                      Private Person                         salesdispute@hotmail.com             Nike
1135   chaussuresdefree.com               jiang xin                              jiangxin6x@163.com                   Nike
1136   chaussurestnrequin-paschere.com    yang lin                               chaussurestnrequin@gmail.com         Nike
1137   cheapdiscountnfljerseyshere.com    Huang XiuYing                          fdsgfdgd@qq.com                      Nike
1138   cheapfree-tn-au.com                yang lin                               wholesale-square@hotmail.com         Nike
                                                                                 vvipwholesale2012@yahoo.com.cn
                                                                                 sell-topbrand@hotmail.com
                                                                                 salesdispute@hotmail.com
                                                                                 cheapfreetnau@gmail.com
1139   cheapjordansuk.co.uk               Harvey Rhodes                          service2@emailkoca.com               Nike
1140   cheapnikefreeshoes.info            rose marry                             daijiawu@live.com                    Nike
1141   cheapsize.com                      WHOIS AGENT                            Davideal2009@hotmail.com             Nike / Converse
1142                                      WHOIS AGENT                            Cheapsizechris@gmail.com
1143                                      WHOIS AGENT                            cheapsize@yahoo.com
1144                                      WHOIS AGENT                            cheapsize@hotmail.com
1145   cheapsize.ru                       Private Person                         cheapsize@hotmail.com                Nike / Converse
1146   coojerseys.us                      fangyong                               winwindshoes.ca@gmail.com            Nike
1147   deyvip.com                         Xiaoyun Wang                           nikepuma-2@hotmail.com               Nike / Converse
                                                                                 nikepuma-1@hotmail.com
                                                                                 deyvip@gmail.com
1148 deyvip.net                           Xiaoyun Wang                           nikepuma-2@hotmail.com               Nike / Converse
                                                                                 nikepuma-1@hotmail.com
                                                                                 deyvip@gmail.com
1149 ecflea.com                           Huang XiuYing                          fdsgfdgd@qq.com                      Nike
1150 exsneaker.net                        zhang sansan                           Davideal2009@hotmail.com             Nike / Converse
                                                                                 mariongreen91@hotmail.com
                                                                                 shoesb7b@yajoo.com
1151 exsneaker.us                         chen yuanming                          Davideal2009@hotmail.com             Nike / Converse
1152 fansjerseyssite.com                  ye dong                                jerseysmember@hotmail.com            Nike
                                                                                 spapparelsa@msn.com
1153




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1154 fashionbagtrade.com                   ShanShan Gao                              sandyonlyone@hotmail.com                             Nike / Converse
                                                                                     fdsgfdgd@qq.com
1155   footsupershop.co.uk                 pang nian                                 service2@airemail.net                                Nike
1156   footswearonline.co.uk               Taniesha Symister                         service2@emailkoca.com                               Nike
1157   footwearsuper.co.uk                 Tamerra Barrett                           service2@airemail.net                                Nike
1158   freerunfr.fr                        Martin Lessmann                           service2@xietell.com                                 Nike
                                                                                     service5@storelinkmail.com
1159   freerunonlocker.co.uk               Alfred La Mar                                                                                  Nike
1160   freerunshoponline.com               Danilo Yambao                             fcvfsde0@yahoo.com                                   Nike
1161   freeruns-tn-au.com                  chaokevin lebron                          1309624870@qq.com                                    Nike
1162   fshoesuk.com                        DOMAIN WHOIS PROTECTION SERVICE           service2@storelinkmail.com                           Nike
1163   hiphopfootlocker.com                zheyu lin                                 805800638@qq.com                                     Nike
1164   hiphopiop.cc                        Cai LiMing                                sellysnow2046@outlook.com                            Nike
                                                                                     fsdgdsg@qq.com
1165 hiphoplp.com                          HuangXiuYing                              hiphopvp2013@hotmail.com                             Nike / Converse
1166 hiphopnp.ru                           Private Person                            hiphopvp2013@hotmail.com                             Nike / Converse
                                                                                     Davideal2009@hotmail.com
1167 jersey-777.com                        Liu Yifei                                 Yifei@Liu.cc                                         Nike
1168 jerseysauthenticwholesalejersey.com   yuanqiu cai                               nfljerseys2000@gmail.com                             Nike
1169                                       yuanqiu cai                               jerseysauthenticwholesalejersey@yahoo.com            Nike
1170 jerseysgoodsusa.com                   Huang libin                               jerseys-goodsusa@hotmail.com                         Nike
                                                                                     jerseysgoodsusa@yahoo.com
                                                                                     fdsgfdgd@qq.com
1171   jordanmyth.ru                       Private Person                            Davideal2009@hotmail.com                             Nike / Converse
1172   kfree2uk.com                        DOMAIN WHOIS PROTECTION SERVICE           service2@forsendinfo.net                             Nike
1173   lunettesshopfr.com                  zenyu lin                                 805800638@qq.com                                     Nike
1174   maxfreeshoes-ru.com                 Xin Zhang                                 shoesspring@hotmail.com                              Nike
1175   maxsneakers.co.uk                   huang wensheng                            service1@airemail.net                                Nike
1176   nflfootballejerseyscheap.com        yegeng tian                               nfljerseys2000@gmail.com                             Nike
                                                                                     nflfootballejerseyscheap@yahoo.com
1177 nike888888.com                        xiong lin                                 yanuolv@yahoo.com                                    Nike
1178 nikedey.com                           Yu Xiao                                   nikepuma-2@hotmail.com                               Nike / Converse
                                                                                     nikepuma-1@hotmail.com
                                                                                     fuwudazong@yahoo.cn
1179 niketnshoes.info                      rose marry                                shoescapsxyz.com@gmail.com                           Nike
                                                                                     daijiawu@live.com
1180   nikickz.com                         zhang san                                 2069043802@qq.com                                    Nike / Converse
1181   nkfreerunshoes.com                  haifeng Xu                                fdsgfdgd@qq.com                                      Nike
1182   noschaussuresfr.com                 chaokevin lebron                          1309624870@qq.com                                    Nike
1183   noschaussuresfr.info                sanchun wu                                selltopbrand@yahoo.cn                                Nike
                                                                                     sell-topbrand@hotmail.com
                                                                                     noschaussuresfr.com@gmail.com
                                                                                     530267919@qq.com
1184 onsavemall.com                        shaotong qiang                            nfljersey2010@yahoo.com                              Nike
                                                                                     onsavemall@yahoo.com
1185
1186 onufoot.com                           Huang JuYing                              rephype2009@live.com                                 Nike / Converse
                                                                                     repdreammonafirst@hotmail.com
                                                                                     fdsgfdgd@qq.com
1187 premiervirtual.us                     sawyer Lin                                jerseys@stajump.net                                  Nike
1188 repcheap.ru                           Private Person                            repdavid2009@hotmail.com                             Nike / Converse
1189 repkiks.com                           WHOIS AGENT                               shoesbagonsale@hotmail.com                           Nike / Converse
                                                                                     service@shoesbagonline.com
1190 runningfreesale.co.uk                 Melvin Saunders                           service5@storelinkmail.com                           Nike
1191 shoescapsxyz.biz                      huang qiao                                2337970303@qq.com                                    Nike
1192 shoescapsxyz.com                      yang lin                                  sophieyuan3448@yahoo.com.cn                          Nike
                                                                                     shoesspring2003@hotmail.com
                                                                                     shoescapsxyz.com@gmail.com
                                                                                     shoesspring@hotmail.com
                                                                                     salesdispute@hotmail.com
1193   shoprunfree.co.uk                   huang guo                                 service5@storelinkmail.com                           Nike
1194   skosnorge.com                       zenyu lin                                 805800638@qq.com                                     Nike
1195   sneakerhome.com                     WHOIS AGENT                               Davideal2009@hotmail.com                             Nike
1196   sneakeroutletuk.com                 DOMAIN WHOIS PROTECTION SERVICE           service4@mailfor2013.com                             Nike
1197   soccerjersey365.com                 Liu Yifei                                 Yifei@Liu.cc                                         Nike
1198   soledream.ru                        Private Person                            soledream2009@hotmail.com                            Nike
1199                                                                                 Davideal2009@hotmail.com
1200   stargoaol.com                       zhiyuan dai                               jerseys-goodsusa@hotmail.com                         Nike
1201                                       zhiyuan dai                               stargoaol@yahoo.com                                  Nike
1202   thekeytrade.net                     Liu Yifei                                 Yifei@Liu.cc                                         Nike / Converse
1203   trainersforsale.co.uk               Above.com Domain Privacy                  service2@emailkoca.com                               Nike
1204   ublazer2uk.com                      DOMAIN WHOIS PROTECTION SERVICE           service3@storelinkmail.com                           Nike
1205   ukmaxonline.co.uk                   huang wensheng                            service2@storelinkmail.com                           Nike
1206                                       robbie clark                              service2@emailkoca.com
1207   wholesalejerseysoccer.com           Liu Yifei                                 Yifei@Liu.cc                                         Nike
1208   wholesalenfljerseyauthentic.com     xiaoxi huang                              nfljerseys2000@gmail.com                             Nike
                                                                                     pursesoutlet@qq.com
1209 wholesalenikeshoes.info               rose marry                                daijiawu@live.com                                    Nike
1210 yingsoccer.com                        Cai LiMing                                rqb@dingdian.cn                                      Nike

                                                                         DEFENDANTS - GROUP M
                         Domain Name                           Name(s)                                                Email Address(es)    Affected Plaintiff
                                                                                                                                             (Nike and/or
                                                                                                                                              Converse)
1211 www.nikefreerunsfactory.com           guang zhou                                gzicnet@qq.com                                       Nike
1212 www.nikefreeruns-factory.com          jingmei zhou                              bbbpppkkk@yahoo.com                                  Nike
                                           KAIDI NETWORK TECHNOLOGY
                                           SHENZHEN 51800
1213 www.nikekobe-8.com                    Rebeca Fosburgh                           lorenjin@hotmail.com                                 Nike
                                                                                     bbbpppkkk@yahoo.com
1214 www.nike-lebron10.com                 Rebeca Fosburgh                           lorenjin@hotmail.com                                 Nike
                                                                                     bbbpppkkk@yahoo.com
1215 www.airjordanfrance.com               jingmei zhou                              bbbpppkkk@yahoo.com                                  Nike
1216 www.nikefreerunsfactory.com           guang zhou                                gzicnet@qq.com                                       Nike
1217 nikekobe-8.com                        Rebeca Fosburgh                           lorenjin@hotmail.com                                 Nike




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1218 nike-lebron10.com                    Rebeca Fosburgh                          lorenjin@hotmail.com                                  Nike
                                                                                   bbbpppkkk@yahoo.com

                                                                       DEFENDANTS - GROUP N
                       Domain Name                           Name(s)                                                 Email Address(es)    Affected Plaintiff
                                                                                                                                            (Nike and/or
                                                                                                                                             Converse)
1219 www.freerunline.com                  LIN JIANG                                shellycorall@yahoo.com                                Nike
                                                                                   answer.online7@gmail.com
1220 www.freerunlinea.com                 LI PING                                  ningtie@yahoo.com                                     Nike
                                          PING LI                                  answer.online7@gmail.com
                                          Bi Ning Zhuo
1221 www.freerunstoreus.com               NAN CHEN                                 Valdiviacaa@gmail.com                                 Nike
                                                                                   answer.online7@gmail.com
1222 www.freerunzone.com                  DOMAIN WHOIS PROTECTION SERVICE          answer.online7@gmail.com                              Nike
1223 www.freerunzone.com                  WHOIS AGENT                              answer.online7@gmail.com                              Nike
1224 www.freerunstoreus.com               NAN CHEN                                 answer.online7@gmail.com                              Nike
                                                                                   Valdiviacaa@gmail.com
1225 freerunzone.com                      WHOIS AGENT                              answer.online7@gmail.com                              Nike

                                                                       DEFENDANTS - GROUP O
                       Domain Name                           Name(s)                                                 Email Address(es)    Affected Plaintiff
                                                                                                                                            (Nike and/or
                                                                                                                                             Converse)
1226 www.cheapnikeairmaxii.com            LXA clt                                  tomjayjay1986@gmail.com                               Nike
1227 www.cheapnikeairmax-mart.com         ltd for domain                           terrycn@live.cn                                       Nike
                                          Jiang Lili                               janespinach@hotmail.com
                                          Shiyi Xu                                 airmax-shop@hotmail.com
1228   www.basketballmart24.com           Shannon Bennett                          terrycn@live.cn                                       Nike
1229   www.basketballmart365.com          ltd for domain                           terrycn@live.cn                                       Nike
1230   www.cheapairjordansshoes2013.com   DNS MANAGER                              terrycn@live.cn                                       Nike
1231   www.cheapairmax12.com              Winchester Dean                          tomjayjay1986@gmail.com                               Nike
1232   www.cheapairmaxshoesale2013.com    LXA clt                                  tomjayjay1986@gmail.com                               Nike
                                                                                   soccerjerseytown@gmail.com
1233 www.cheaperjersey2013.com            Winchester Dean                          tomjayjay1986@gmail.com                               Nike
                                          DNS MANAGER                              tomjayjay1986@gmail.com
1234   www.cheapsportsjerseys2013.com     DNS MANAGER                              tomjayjay1986@gmail.com                               Nike
1235   www.nikefreeshoesmall.com          Domain Administrator                     terrycn@live.cn                                       Nike
1236   www.wheretobuysoccerjersey.net     Jack Wu                                  loveshophere@163.com                                  Nike
1237   www.2013shoesairmax.com            LXA clt                                  tomjayjay1986@gmail.com                               Nike
1238   www.cheapairjordans-mart.com       Shannon Bennett                          terrycn@live.cn                                       Nike
1239   www.cheapsoccer-mall.com           Domain Administrator                     terrycn@live.cn                                       Nike
1240   www.cheapsoccer-mart.com           Private                                                                                        Nike
1241   www.shoesnikemall.com              LXA clt                                  tomjayjay1986@gmail.com                               Nike
1242   www.soccerjerseytown.com           qingshi fang                             551907714@qq.com                                      Nike
                                                                                   soccerjerseytown@gmail.com
1243 www.thailandjerseystore.com          fang7820                                 551907714@qq.com                                      Nike
                                                                                   thailandjerseystore@hotmail.com
                                                                                   fang7820@126.com
1244   basketballmart24.com                Shannon Bennett                         terrycn@live.cn
1245   basketballmart365.com              ltd for domain                           terrycn@live.cn
1246   cheapairjordansshoes2013.com       DNS MANAGER                              terrycn@live.cn
1247   cheapairmax12.com                  Winchester Dean                          tomjayjay1986@gmail.com
1248   cheapairmaxshoesale2013.com        LXA clt                                  tomjayjay1986@gmail.com
                                                                                   soccerjerseytown@gmail.com
1249 cheaperjersey2013.com                Winchester Dean                          tomjayjay1986@gmail.com
                                          DNS MANAGER
1250 cheapsportsjerseys2013.com           DNS MANAGER
1251 nikefreeshoesmall.com                Domain Administrator                     terrycn@live.cn
1252 wheretobuysoccerjersey.net           Jack Wu                                  loveshophere@163.com

                                                                       DEFENDANTS - GROUP P
                       Domain Name                           Name(s)                                                 Email Address(es)    Affected Plaintiff
                                                                                                                                            (Nike and/or
                                                                                                                                             Converse)
1253   www.airmaxstoreuk.co.uk            Drew Pietan                              customerservice.OE@gmail.com                          Nike
1254   www.airmax90uksales.co.uk          James Douglas                                                                                  Nike
1255   www.airmaxstoreonline.co.uk        joe austin                               customerservice.OE@gmail.com                          Nike
1256   www.air2013ukshop.co.uk            Julie Lochhead                                                                                 Nike
1257   www.airmax2013ukshop.co.uk         kerry bolton                                                                                   Nike
1258   www.airmaxofficialshop.co.uk       Lauren Darke                                                                                   Nike




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                                                                         DEFENDANTS - GROUP R
                       Domain Name                             Name(s)                                               Email Address(es)          Affected Plaintiff
                                                                                                                                                  (Nike and/or
                                                                                                                                                   Converse)
1259 www.nikeairmaxcheapsale.co.uk         jfdgsfs adzgdhjdf                         nikeairmaxcheapsales.co.uk@gmail.com                      Nike
1260 www.nikeairmaxcheapsales.co.uk        lisu motol                                nikeairmaxcheapsale@gmail.com                             Nike
                                                                                     nikeairmaxcheapsales.co.uk@gmail.com
1261 www.oykununsesi.com                   haima xuan                                csj527581746@163.com                                      Nike
                                           PULU IMPORT AND EXPORT TR.                nikeairmaxcheapsale@gmail.com
1262   www.payfororder.com                 Kendrickvery
1263   www.billigenikefreerunskodk.com     WHOISGUARD PROTECTED                      billigenikefreerunskodk@gmail.com                         Nike
1264   www.nikefreerunsalesaustralia.com   ilove you                                 nikefreerunsaleservices@gmail.com                         Nike
1265   billigenikefreerunskodk.com         WHOISGUARD PROTECTED                      billigenikefreerunskodk@gmail.com                         Nike
1266   nikeairmaxcheapsales.co.uk          lisu motol                                nikeairmaxcheapsales.co.uk@gmail.com                      Nike
1267   nikefreerunsalesaustralia.com       ilove you                                 nikefreerunsaleservices@gmail.com                         Nike
1268   oykununsesi.com                     haima xuan                                csj527581746@163.com                                      Nike
1269   uncboxing.com                                                                 uncboxing@gmail.com                                       Nike
                                                                                     billigenikefreerunskodk@gmail.com
                                           haima xuan                                csj527581746@163.com

                                                                         DEFENDANTS - GROUP S
                       Domain Name                             Name(s)                                               Email Address(es)          Affected Plaintiff
                                                                                                                                                  (Nike and/or
                                                                                                                                                   Converse)
1270 www.cheapnikejerseysdeal.us           Zelda Spingarn                            tarastone828@hotmail.com                                  Nike
                                                                                     wholesalejerseyscenter@gmail.com
1271 www.cheapjerseyssupplybusiness.com    WhoisGuard Protected                      ffea0938d62041fe92081af3e5916d71.protect@whoisguard.com   Nike
                                           QUNAR LEE                                 wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
                                                                                     ETIMESTORE2@OUTLOOK.COM
1272 www.cheapjerseysbusiness.com          WhoisGuard Protected                      wholesalejerseyscenter@gmail.com                          Nike
                                           AUSTIN GATES                              butshopping@hotmail.com
                                                                                     ETIME1STORE@OUTLOOK.COM
1273 www.nfljerseywebsite.com              Luming Luming                             servicesportjerseys@gmail.com                             Nike
                                           WWW.ALVABABY.COM BEIJING                  abuse@bizcn.com
                                                                                     2684455499@qq.com
1274 www.jerseysdeal.us                    Legal Admin                               13-61787-CIV-COHN@safenames.net                           Nike
                                                                                     wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
1275 www.chineseunderjerseys.com           WhoisGuard Protected                      42fc309df34949699049e4dbd8fd1cff.protect@whoisguard.com   Nike
                                           GREEN BROWN                               wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
                                                                                     YEZHONGZENG124@126.COM


1276 www.nfljerseyschinese.com             WhoisGuard Protected                      wholesalejerseyscenter@gmail.com                          Nike
                                                                                     butshopping@hotmail.com
1277 www.jerseyssupply.us                  Holly Gasser                              lawandaescobar894@hotmail.com                             Nike
                                                                                     wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
1278 www.nflnikejerseysdeal.com                                                      wholesalejerseyscenter@gmail.com                          Nike
                                                                                     butshopping@hotmail.com
1279 www.jerseysbiz.us                     Willa Wharton                             amparochandler878@hotmail.com                             Nike
                                                                                     wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
1280 www.jerseywholesalejerseys.us         zhou dadi                                 dadicup22@hotmail.com                                     Nike
                                                                                     wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
                                                                                     underjerseys-anndi@hotmail.com
                                                                                     wholesalechinacenter@hotmail.com
1281 www.jerseyssalemarket.com             WhoisGuard Protected                      26ab35ff8d45450485db74c6be03207b.protect@whoisguard.com   Nike
                                           REACTIVATION PERIOD                       underjerseys@gmail.com



1282 www.wholesalejerseysbusiness.com      WhoisGuard Protected                      acb0570936eb4fe79c92833d24661196.protect@whoisguard.com   Nike
                                                                                     underjerseys@gmail.com
                                                                                     butshopping@hotmail.com
1283 www.underjerseys.us                   jack cheng                                Jerseys8899@hotmail.com                                   Nike
                                                                                     underjerseys@gmail.com
                                                                                     butshopping@hotmail.com
1284 www.nikejerseysfreeshipping.com       jack cheng                                Jerseys8899@hotmail.com                                   Nike
                                                                                     butshopping@hotmail.com
                                                                                     underjerseys@gmail.com
                                                                                     underjerseys-anndi@hotmail.com
                                                                                     wholesalechinacenter@hotmail.com
1285 www.buyjerseys.us                                                               amparochandler878@hotmail.com                             Nike
                                                                                     butshopping@hotmail.com
                                                                                     wholesalejerseyscenter@yahoo.com
1286 www.cheapjerseyschina.us.com          Protected WhoisGuard                      2cfe98bec6a34b9c8fb69dfd14e1b062.protect@whoisguard.com   Nike
                                           WhoisGuard Protected                      butshopping@hotmail.com
                                                                                     wholesaleshoppingonline@gmail.com



1287   www.buyjerseysfree.com              WhoisGuard Protected                      278600f2ac8e4d4daeaba50f35ca72cd.protect@whoisguard.com   Nike
1288   www.cheapjerseysfreemarket.com      WhoisGuard Protected                      f8c712b99d0946289411fa53c228e246.protect@whoisguard.com   Nike
1289   www.cheapjerseysmarketus.com        WhoisGuard Protected                      a88040fc30d747dd928f8bbe33728597.protect@whoisguard.com   Nike
1290   www.2013cheapjerseys.us             Zelda Spingarn                            tarastone828@hotmail.com                                  Nike
1291   www.chinajerseyscheckout.com        WhoisGuard Protected                      474b30d2be1747f3aaffd4b9ee7c4ff9.protect@whoisguard.com   Nike
1292   www.wholesalenfljerseyschina.us     jack cheng                                jerseys8899@hotmail.com                                   Nike
1293   www.discountjerseys.us              Willa Wharton                             amparochandler878@hotmail.com                             Nike
                                                                                     wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
                                                                                     manager@discountjerseys.us




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1294 www.cheapgamejerseys.us               jianxian zheng                            lovegamejerseys@gmail.com                                 Nike
                                                                                     butshopping@hotmail.com
                                                                                     imlebha1985@outlook.com
1295 www.cheapsportsjerseys.us             miltongp9 miltongp9                       butshoppingonline@gmail.com                               Nike
                                                                                     butshopping@hotmail.com
                                                                                     miltongp9@hotmail.com
1296 www.chinanfljerseys.us.com            WhoisGuard Protected                      butshoppingonline@gmail.com                               Nike
1297 www.nflchinajerseys.us                Louisa Kornbergin                         butshoppingonline@gmail.com                               Nike
                                                                                     LouisaKornbergin@aol.com
1298 www.onlyjerseyswholesale.com          WHOISGUARD PROTECTED                      underjerseys@gmail.com                                    Nike
                                                                                     butshopping@hotmail.com
1299 www.sportsjerseyswholesale.us         miltongp9 miltongp9                       butshoppingonline@gmail.com                               Nike
                                                                                     butshopping@hotmail.com
                                                                                     miltongp9@hotmail.com
1300 www.cheapjerseyschina.us.com                                                    wholesaleshoppingonline@gmail.com                         Nike
                                                                                     butshopping@hotmail.com
1301 www.discountjerseys.us                Willa Wharton                             wholesalejerseyscenter@gmail.com                          Nike
                                                                                     butshopping@hotmail.com
                                                                                     manager@discountjerseys.us

1302 www.jerseysonly.us                    rgbko977 rgbko977                         wholesalechinacenter@gmail.com                            Nike
                                                                                     lovegamejerseys@gmail.com
                                                                                     butshopping@hotmail.com
                                                                                     rgbko977@hotmail.com
1303 www.nflbiz.us.com                     WhoisGuard Protected                      butshoppingonline@gmail.com                               Nike
                                                                                     butshopping@hotmail.com
1304 www.nfljerseys.us.com                 WhoisGuard Protected                      butshoppingonline@gmail.com                               Nike
                                                                                     butshopping@hotmail.com
1305 www.nfljerseyswebsite.com             WhoisGuard Protected                      wholesalejerseyscenter@gmail.com                          Nike
                                                                                     butshopping@hotmail.com
1306 www.supplyjerseys.us                  Holly Gasser                              wholesalejerseyscenter@gmail.com                          Nike
                                                                                     butshopping@hotmail.com
                                                                                     service@supplyjerseys.us
                                                                                     lawandaescobar894@hotmail.com

1307 www.wholesalecheapjerseyssupply.com   WhoisGuard Protected                      wholesalejerseyscenter@gmail.com                          Nike
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1310 chinanfljerseys.us.com                WhoisGuard Protected                      butshoppingonline@gmail.com                               Nike
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1311 nflchinajerseys.us                    Louisa Kornbergin                         wholesalejerseyscenter@gmail.com                          Nike
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1312 NflJerseysWebsite.com                 WhoisGuard Protected                      wholesalejerseyscenter@gmail.com                          Nike
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1314 sportsjerseyswholesale.us             miltongp9 miltongp9                       butshoppingonline@gmail.com                               Nike
                                                                                     butshopping@hotmail.com
                                                                                     miltongp9@hotmail.com

                                                                         DEFENDANTS - GROUP T
                      Domain Name                              Name(s)                                                  Email Address(es)       Affected Plaintiff
                                                                                                                                                  (Nike and/or
                                                                                                                                                   Converse)
1315 www.buyjordanscheaponline.com         Rene Paley                                meyerjpat@hotmail.com                                     Nike
1316 www.buyrealcheapjordans.com           Rene Paley                                meyerjpat@hotmail.com                                     Nike
                                           PWK*MEION ONLINE STORE
1317   www.fashionpay.com                  Meion Online Store                        meyerjpat@hotmail.com                                     Nike
1318   www.buyretrojordansforsale.com      Rene Paley                                meyerjpat@hotmail.com                                     Nike
1319   www.cheapjordansbuynow.com          Imogen Lockhart                           doradvca@hotmail.com                                      Nike
1320   www.cheapsauthenticjordans.com      Rene Paley                                meyerjpat@hotmail.com                                     Nike
1321   www.cheapsjordanoutlet.com          Rene Paley                                meyerjpat@hotmail.com                                     Nike
1322   www.jordansonlinestorecheap.com     Rene Paley                                meyerjpat@hotmail.com                                     Nike
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1324   www.thejordanconcord.com            Tracy Driver                              gilmercbqwwf@hotmail.com                                  Nike
1325   www.myfashionsjordans.com           Rene Paley                                meyerjpat@hotmail.com                                     Nike
1326   www.jordanretroshoesinthebox.com    emmeli duhaime                            meyerjpat@hotmail.com                                     Nike
1327   www.thejordan4s.com                 malik davis                               malikwwf@hotmail.com                                      Nike
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1328   www.globaljordanforsale.com         GoDaddy                                   gilmercbqwwf@hotmail.com                                  Nike
1329   www.airjordan2014sales.com          diantejohnsonjohnson                      findnewfacelook@hotmail.com                               Nike
1330   www.airjordan3infrared23.com        diantejohnsonjohnson                      findnewfacelook@hotmail.com                               Nike
1331   www.airjordan6s.com                 diantejohnsonjohnson                      findnewfacelook@hotmail.com                               Nike
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1333   www.airjordanretroiv.com            Rene Paley                                meyerjpat@hotmail.com                                     Nike
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1335 www.ajgammablue11sale.com             diantejohnson                             findnewfacelook@hotmail.com                               Nike
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1361   www.cheapsauthenticjordans.com        Rene Paley                  meyerjpat@hotmail.com                                     Nike
1362   www.cheapsjordanoutlet.com            Rene Paley                  meyerjpat@hotmail.com                                     Nike
1363   www.cheapzjordan.com                  Imogen Lockhart             doradvca@hotmail.com                                      Nike
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1379   www.onlinebuyairjordans.com           Rene Paley                  meyerjpat@hotmail.com                                     Nike
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1396   authenticjordan2013ssale.com          Latin Malin                 findnewfacelook@hotmail.com                               Nike
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1407   buyjordanonlinesales.com              diantejohnson               findnewfacelook@hotmail.com                               Nike
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1410   buyjordanscheaponline.com             Rene Paley                  meyerjpat@hotmail.com                                     Nike
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1415   buyrealcheapjordans.com               Rene Paley                  meyerjpat@hotmail.com                                     Nike / Converse
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1417   cheapjordan2014sale.com               diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
1418   cheapjordansbuynow.com                Imogen Lockhart             doradvca@hotmail.com                                      Nike
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1420   cheapsauthenticjordans.com            Rene Paley                  meyerjpat@hotmail.com                                     Nike
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1422   cheapzjordan.com                      Imogen Lockhart             doradvca@hotmail.com                                      Nike
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1424   fear4s2013.com                        diantejohnson               findnewfacelook@hotmail.com                               Nike
1425   firered5ssale.com                     diantejohnson               findnewfacelook@hotmail.com                               Nike
1426   firstlevelsportshop.com               diantejohnson               findnewfacelook@hotmail.com                               Nike
1427   gammablue11ssale2013.com              diantejohnson               findnewfacelook@hotmail.com                               Nike
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1432 jordansale2014.com               diantejohnsonjohnson                    findnewfacelook@hotmail.com                        Nike
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1434   jordanshoesonlines.net         Rene Paley                              paley444666@yahoo.com                              Nike
1435   new-jordans.com                Imogen Lockhart                         doradvca@hotmail.com                               Nike
1436   newjordanstore.com             Imogen Lockhart                         doradvca@hotmail.com                               Nike
1437   nikeairmaxs.co.uk              Imogen Lockhart                         doradvca@hotmail.com                               Nike
1438   onlinebuyairjordans.com        Rene Paley                              meyerjpat@hotmail.com                              Nike
1439   realjordan2013ssales.com       diantejohnson                           FashionJordanSky@gmail.com                         Nike
1440   realjordanssales.com           diantejohnson                           findnewfacelook@hotmail.com                        Nike
1441   salejordansonline.com          diantejohnson                           findnewfacelook@hotmail.com                        Nike
1442   socceronline2014.com           diantejohnson                           findnewfacelook@hotmail.com                        Nike
1443   topsportsstore.com             smith chen                              findnewfacelook@hotmail.com                        Nike

                                                                  DEFENDANTS - GROUP U
                       Domain Name                      Name(s)                                              Email Address(es)    Affected Plaintiff
                                                                                                                                    (Nike and/or
                                                                                                                                     Converse)
1444 www.authentic-jordans.us         Tim RhudY                               colepenam@gmail.com                                Nike
                                      WWW.CLOTHING.NET GUANGZHOU              lessspam42@gmail.com
1445   www.cheapjordan11bred.org      Tim RhudY                               colepenam@gmail.com                                Nike
1446   www.cheapjordan11bred.us       Tim RhudY                               colepenam@gmail.com                                Nike
1447   www.jordans13hegotgame.org     Tim RhudY                               colepenam@gmail.com                                Nike
1448   www.objordans.com              Tim RhudY                               colepenam@gmail.com                                Nike
1449   www.bred11scheap.us            Tim RhudY                               colepenam@gmail.com                                Nike
1450   www.breds11forsale.us          Tim RhudY                               colepenam@gmail.com                                Nike
1451   www.hegotgame13sale.us         Tim RhudY                               colepenam@gmail.com                                Nike
1452   www.cheapjordan11bred.org      Tim RhudY                               colepenam@gmail.com                                Nike
1453   www.authentic-jordans.us       Tim RhudY                               colepenam@gmail.com                                Nike
1454   www.cheapjordan11bred.net      Tim RhudY                               colepenam@gmail.com                                Nike
1455   www.cheapjordanbred11.com      Tim RhudY                               colepenam@gmail.com                                Nike
1456   www.cheapjordanbred11.net      Tim RhudY                               colepenam@gmail.com                                Nike
1457   www.cheapjordanbred11.org      Tim RhudY                               colepenam@gmail.com                                Nike
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1459   www.jordan13hegotgame13s.org   Tim RhudY                               colepenam@gmail.com                                Nike
1460   www.jordan13shegotgame.net     Tim RhudY                               colepenam@gmail.com                                Nike
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1465   cheapjordan11bred.us           Tim RhudY                               colepenam@gmail.com                                Nike
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1467   objordans.com                  Tim RhudY                               colepenam@gmail.com                                Nike
1468   bred11scheap.us                Tim RhudY                               colepenam@gmail.com                                Nike
1469   breds11forsale.us              Tim RhudY                               colepenam@gmail.com                                Nike
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1473   cheapjordan11bred.net          Tim RhudY                               colepenam@gmail.com                                Nike
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1478   jordan13hegotgame13s.org       Tim RhudY                               colepenam@gmail.com                                Nike
1479   jordan13shegotgame.net         Tim RhudY                               colepenam@gmail.com                                Nike
1480   jordan13shegotgame.org         Tim RhudY                               colepenam@gmail.com                                Nike
1481   cheapjordanbred11.us           Tim RhudY                               colepenam@gmail.com                                Nike
1482   jordan13hegotgame13s.us        Tim RhudY                               colepenam@gmail.com                                Nike
1483   jordans13hegotgame.us          Tim RhudY                               colepenam@gmail.com                                Nike

                                                                  DEFENDANTS - GROUP V
                       Domain Name                      Name(s)                                              Email Address(es)    Affected Plaintiff
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                                                                                                                                     Converse)
1484 www.cheaptd.com                  zheng jinhui                            topbrand-ol@hotmail.com                            Nike
                                                                              inttopshop@hotmail.com
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1485 www.shopuq.com                   jinhui zheng                            topbrand-ol@hotmail.com                            Nike /
                                      Anne Zheng                              inttopshop@hotmail.com                             Converse
                                      Zheng Jinzhao                           inttopshop1@hotmail.com
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1486 www.echeapmk.com                 zheng jinhui                            topbrand-ol@hotmail.com                            Nike
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1487 www.brandyz.com                  jinhui zheng                            enikeshop1@yahoo.com                               Nike / Converse
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1489 www.echeapshoes.com              ZhiXiong Huang                          sdfasdfa@net.com                                   Nike / Converse
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1493 www.tradeak.com                                                        enikeshop1@yahoo.com                          Nike
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1496 www.brandnk.com                 pin pai51                              trade381@hotmail.com                          Nike
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1497 www.shopaab.com                 pin pai51                              inttopshop@yahoo.com                          Nike
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1502 www.brandcn.ru                  private person                                                                       Nike
1503 www.brandnn.com                 pin pai51                              brand-ol@yahoo.com                            Nike
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1505 echeapshoes.com                 ZhiXiong Huang                         sdfasdfa@net.com                              Nike / Converse
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1509 shopaab.com                     pin pai51                              inttopshop@yahoo.com                          Nike
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1635   www.nikeblazer-fr.com              Peir Junck                                 johnpeir@163.com                     Nike
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1648 www.retrosjordan13.com               john peir                                  Retrosjordan13@gmail.com             Nike
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1650   www.13-retro.com                   nicol Duchaine                             Nicolonline@hotmail.com              Nike
1651   www.2013sbdunk.com                 jesus jimenez                              Sneakers2013@gmail.com               Nike
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1704   freerun3sshoes.com                Peir Junck             sale@freerun3sshoes.com               Nike
                                                                johnpeir@163.com
1705   getjordanretro.com                                       zeynabstalvey@gmail.com               Nike
1706   hotairjordan13.com                zeynab bstalvey        hotairjordan13@gmail.com              Nike
1707   hotairjordanretro.com             emmeli duhaime         hotairjordanretro@gmail.com           Nike
1708   hotjordanretro4.com               emmeli duhaime         customerserviceonlinenow@gmail.com    Nike
1709   hotjordanshoessupermarket.com     zeynab bstalvey        hotjordanshoessupermarket@gmail.com   Nike
1710   hotjordansretro.com               Nian Hua               customerserviceonlinenow@gmail.com    Nike
1711   jordan11available.com             zeynab bstalvey        linjian891022@gmail.com               Nike
1712   jordan11basketball.com            Join Lin               nianhua.t@gmail.com                   Nike
1713   jordan11concordbox.com            Join Lin               nikesneakersusstore@gmail.com         Nike
                                                                linjian891022@gmail.com
1714 jordan11coolgreybox.com             Join Lin               nikesneakersusstore@gmail.com         Nike
                                                                linjian891022@gmail.com
1715 jordan11fanatics.com                Join Lin               linjian891022@gmail.com               Nike
1716 jordan11laneyfor2014.com            Peir Junck             johnpeir@163.com                      Nike
1717 jordan11newrelease.com              zeynab bstalvey        nikesneakersusstore@gmail.com         Nike
                                                                zeynabstalvey@gmail.com
1718 jordan11release2013.com             zeynab bstalvey        zeynabstalvey@gmail.com               Nike
1719 jordan11retail.com                  zeynab bstalvey        nikesneakersusstore@gmail.com         Nike
1720 jordan11spacejambox.com             Join Lin               nikesneakersusstore@gmail.com         Nike
                                                                linjian891022@gmail.com
1721 jordan11spacejam-us.com             Join Lin               nikesneakersusstore@gmail.com Nike    Nike
                                                                linjian891022@gmail.com
1722 jordan11-us.com                     canganic kong          nikesneakersusstore@gmail.com         Nike
1723 jordan13-2013.com                   john peir              jordan132013store@gmail.com           Nike
                                                                johnpeir@gmail.com
1724   jordan13basketball.com            Nian Hua               nianhua.t@gmail.com                   Nike
1725   jordan13retrofor2014.com          Peir Junck             johnpeir@163.com                      Nike
1726   jordan13shoesretail.com           Mabelle Weig           nikesneakersusstore@gmail.com         Nike
1727   jordan3fireredbay.com             Nian Hua               nianhua.t@gmail.com                   Nike
1728   jordan3retrofor2014.com           Peir Junck             johnpeir@163.com                      Nike
1729   jordan4oreobox.com                Join Lin               linjian891022@gmail.com               Nike
1730   jordan4retrofor2014.com           Peir Junck             johnpeir@163.com                      Nike
1731   jordan5basketball.com             Nian Hua               nianhua.t@gmail.com                   Nike
1732   jordan5fireredbay.com             Nian Hua               nianhua.t@gmail.com                   Nike
1733   jordan5retail.com                 Mabelle Weig           airforceonelowbox@gmail.com           Nike
1734   jordan5retrofor2014.com           Peir Junck             johnpeir@163.com                      Nike
1735   jordan5shoes2013style.com         Join Lin               linjian891022@gmail.com               Nike
1736   jordan5sretrosale.com             Join Lin               linjian891022@gmail.com               Nike
1737   jordan5-us.com                    canganic kong          lebron10basketball@gmail.com          Nike
1738   jordan6retrosale.com              Join Lin               linjian891022@gmail.com               Nike




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1739 jordangalaxyshoes.com            Peir Junck                               sale@jordangalaxyshoes.com                         Nike
                                                                               johnpeir@163.com
1740 jordannewretroshoes.com          Nian Hua                                 nianhua.t@gmail.com                                Nike
1741 jordanreto2013.com               john peir                                nikesneakersusstore@gmail.com                      Nike
                                                                               johnpeir@gmail.com
1742 jordanretro11fanatics.com        Nian Hua                                 nianhua.t@gmail.com                                Nike
1743 jordanretro2014.com              Join Lin                                 nikesneakersusstore@gmail.com                      Nike
                                                                               linjian891022@gmail.com
1744   jordanretro4-us.com            Howard Linsa                             jordanretrostation@gmail.com                       Nike
1745   jordanretrocity.com            zeynab bstalvey                          zeynabstalvey@gmail.com                            Nike
1746   jordanretrofanatics.com        Join Lin                                 linjian891022@gmail.com                            Nike
1747   jordanretrofans.com            nicol Duchaine                           nikesneakersusstore@gmail.com                      Nike
                                                                               nicolonline@hotmail.com
1748 jordanretrofirered.com           Nian Hua                                 nianhua.t@gmail.com                                Nike
1749 jordanretrofor2014.com           Peir Junck                               johnpeir@163.com                                   Nike
1750 jordanretrogameshoes.com         nicol Duchaine                           nicolonline@hotmail.com                            Nike
                                                                               customerserviceonlinenow@gmail.com
1751 jordanretroget.com               Join Lin                                 nikesneakersusstore@gmail.com                      Nike
                                                                               linjian891022@gmail.com
1752   jordanretrohot.com             Jackson Smith                            customerserviceonlinenow@gmail.com                 Nike
1753   jordanretroretails.com         zeynab bstalvey                          zeynabstalvey@gmail.com                            Nike
1754   jordanretroshoesbay.com        Peir Junck                               johnpeir@163.com                                   Nike
1755   jordanretroshoesfans.com       Peir Junck                               johnpeir@163.com                                   Nike
1756   jordanretroshoesinthebox.com   emmeli duhaime                           emmeliduhaime3502@hotmail.com                      Nike
1757   jordanretroshoes-us.com        nicol Duchaine                           nicolonline@hotmail.com                            Nike
1758   jordanretrosneakerssale.com    Peir Junck                               johnpeir@163.com                                   Nike
1759   jordanretrostation.com         emmeli duhaime                           jordanretrostation@gmail.com                       Nike
                                                                               emmeliduhaime3502@hotmail.com
1760 jordanretrovip.com               Nian Hua                                 nianhua.t@gmail.com                                Nike
1761 jordans2013.com                  Peir Junck                               servicesonlinenow@hotmail.com                      Nike
                                                                               johnpeir@163.com
1762 jordansbred-us.com               Nian Hua                                 nianhua.t@gmail.com                                Nike
1763 jordanshoes2014.com              Nian Hua                                 nianhua.t@gmail.com                                Nike
1764 jordanshoesfanatics.com          Nian Hua                                 nikesneakersusstore@gmail.com                      Nike
                                                                               nianhua.t@gmail.com
1765 jordanshoesinbox.com             Join Lin                                 linjian891022@gmail.com                            Nike
1766 jordanshoesparadise.com          Join Lin                                 linjian891022@gmail.com                            Nike
1767 jordanshoesstation.com           Nian Hua                                 jordanshoesstation@gmail.com                       Nike
                                                                               nianhua.t@gmail.com
1768   jordanshoesusshopping.com      canganic kong                            lebron10basketball@gmail.com                       Nike
1769   jordanshoeswithinhere.com      Join Lin                                 linjian891022@gmail.com                            Nike
1770   jordansretrogethome.com        Join Lin                                 linjian891022@gmail.com                            Nike
1771   jordansretrosetout.com         Join Lin                                 linjian891022@gmail.com                            Nike
1772   jordansspecialsale.com         Nian Hua                                 nianhua.t@gmail.com                                Nike
1773   jordanstore-us.com             nicol Duchaine                           nikesneakersusstore@gmail.com                      Nike
                                                                               nicolonline@hotmail.com
1774 lebron11-us.com                  Peir Junck                               johnpeir@163.com                                   Nike
1775 newairjordan3firered.com         Mabelle Weig                             airforceonelowbox@gmail.com                        Nike
1776 newairmax2014running.com         Peir Junck                               customerserviceonlinenow@gmail.com                 Nike
                                                                               johnpeir@163.com
1777 newjordansretroshoes.com         Join Lin                                 nikesneakersusstore@gmail.com                      Nike
                                                                               linjian891022@gmail.com
1778 newretrojordan.com               Nian Hua                                 nianhua.t@gmail.com                                Nike
1779 nikeairmax2014new.com            canganic kong                            customerserviceonlinenow@gmail.com                 Nike
                                                                               lebron10basketball@gmail.com
1780   nikeairmax90cheap.com          Marshall Matthew                         nikesneakersusstore@gmail.com                      Nike
1781   nikeairmaxfanatics.com         Marshall Matthew                         nikesneakersusstore@gmail.com                      Nike
1782   nikeblazer-fr.com              Peir Junck                               johnpeir@163.com                                   Nike
1783   nikedunkfanatics.com           canganic kong                            nikesneakersusstore@gmail.com                      Nike
1784   nikedunkhighfanatics.com       canganic kong                            nikesneakersusstore@gmail.com                      Nike
1785   nikedunkhighforcheap.com       Marshall Matthew                         nikesneakersusstore@gmail.com                      Nike
1786   nike-factorystore.com          Join Lin                                 linjian891022@gmail.com                            Nike
1787   nikefree-denmarkstore.com      Peir Junck                               johnpeir@163.com                                   Nike
1788   nikejordan11bred.com           Nian Hua                                 nikesneakersusstore@gmail.com                      Nike
                                                                               Nianhua.t@gmail.com
1789 nikemercurial2014soccer.com      Peir Junck                               Johnpeir@163.com                                   Nike
1790 nikesbfanatics.com               Marshall Matthew                         Nikesneakersusstore@gmail.com                      Nike
1791 offerairmax90.com                Nikolaj Chernets                         Sale@offerairmax90.com                             Nike
                                                                               Johnpeir@gmail.com
1792 offerbasketballshoes.com         Peir Junck                               Sale@offerbasketballshoes.com                      Nike
                                                                               Johnpeir@163.com
1793 ownbasketballsneakers.com        Peir Junck                               Servicesonlinenow@hotmail.com                      Nike
                                                                               Johnpeir@163.com
1794 retrojordaninthebox.com          shinsaku Drock                                                                              Nike
1795 retrosjordan13.com               john peir                                Retrosjordan13@gmail.com                           Nike
                                                                               Johnpeir@gmail.com
1796 soccercleatsnew2013.com          Mabelle Weig                             Airforceonelowbox@gmail.com                        Nike
1797 bred-11.com                      Peir Junck                               Sneakers2013@gmail.com                             Nike
                                                                               Johnpeir@163.com

                                                                   DEFENDANTS - GROUP X
                       Domain Name                       Name(s)                                              Email Address(es)    Affected Plaintiff
                                                                                                                                     (Nike and/or
                                                                                                                                      Converse)
1798 www.billigenikefrees.com         zhou kai                                 1939762843@qq.com                                  Nike
                                                                               Nikefair@msn.com
1799 www.cheapestlebron10.com         zhou kai                                 1939762843@qq.com                                  Nike
                                                                               Nikefair@msn.com
1800 www.cheapsfoamposite.com         zhou kai                                 bestfreeruns@hotmail.com                           Nike
                                                                               Nikefair@msn.com
1801 www.salecheaplebron10.com        kun chen                                 254740383@qq.com                                   Nike
                                                                               Nikefair@msn.com
1802 www.cheapnikelebrons.com         chen kun                                 254740383@qq.com                                   Nike
                                                                               Nikefair@msn.com
1803 www.cheapslebron10.com           gao wei                                  1939762843@qq.com                                  Nike
                                                                               Nikefair@msn.com




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1804 www.lebron10cheaps.com            CHEN YU                                  1939762843@qq.com                                   Nike
                                                                                Nikefair@msn.com
1805 www.cheaplebron10x.com            zhou kai                                 bestfreeruns@hotmail.com                            Nike
                                                                                Nikefair@msn.com
1806 www.bestlebronshoes.com           zhou kai                                 bestfreeruns@hotmail.com                            Nike
                                                                                Nikefair@msn.com
1807 www.cheaplebron10shoe.com         CHEN YU                                  1939762843@qq.com                                   Nike
                                                                                Nikefair@msn.com
1808 www.salecheapnikes.com            zhou kai                                 bestfreeruns@hotmail.com                            Nike
                                                                                Nikefair@msn.com
1809 www.nikefoampositecheap.net       zhou kai                                 bestfreeruns@hotmail.com                            Nike
                                                                                Nikefair@msn.com
1810 www.gofreeruns.com                zhou kai                                 bestfreeruns@hotmail.com                            Nike
                                                                                Nikefair@msn.com
1811 www.billigenikefrees.com          zhou kai                                 Nikefair@msn.com                                    Nike
                                                                                1939762843@qq.com
1812   www.cheaplebron.org             zhou kai                                 1939762843@qq.com                                   Nike
1813   www.cheaplebron10nike.com       ZHOU KAI                                 Nikefair@msn.com                                    Nike
1814                                   ZHOU KAI                                 1939762843@qq.com
1815   www.cheapnikelebron10shoe.com   ZHOU KAI                                 Nikefair@msn.com                                    Nike
1816                                   ZHOU KAI                                 Bestfreeruns@hotmail.com
1817   www.cheapnikelebrons.com        CHEN KUN                                 Nikefair@msn.com                                    Nike
                                                                                254740383@qq.com
1818   www.cheapsnikefree.org          kun chen                                 254740383@qq.com                                    Nike
1819   www.nikecheaprun.com            xianghang003 lin                         Bestfreeruns@hotmail.com                            Nike
1820   www.nikefoampositecheap.net     ZHOU KAI                                 Nikefair@msn.com                                    Nike
1821                                   ZHOU KAI                                 Bestfreeruns@hotmail.com
1822   www.nikelebron10cheap.com       ZHOU KAI                                 Bestfreeruns@hotmail.com                            Nike
                                                                                Bestfreeruns@hotmail.com
1823 www.salecheapnikefrees.com        QIU JING                                 Nikefair@msn.com                                    Nike
1824                                                                            Bootscouponscode@gmail.com
1825 www.salecheapnikes.com            zhou kai                                 Nikefair@msn.com                                    Nike
                                                                                Bestfreeruns@hotmail.com
1826 www.bestlebronshoes.com           ZHOU KAI                                 Bestfreeruns@hotmail.com                            Nike
1827 www.cheapestlebron10.com          gao wei                                  Nikefair@msn.com                                    Nike
                                                                                1939762843@qq.com
1828 www.cheaplebron.org               zhou kai                                 1939762843@qq.com
1829 www.cheaplebron10shoe.com         CHEN YU                                  Nikefair@msn.com                                    Nike
                                                                                1939762843@qq.com
1830   www.cheaplebron10star.com       chen kun                                 254740383@qq.com                                    Nike
1831   www.cheaplebron10x.com          zhou kai                                 Bestfreeruns@hotmail.com                            Nike
1832   www.cheap-lebrons.com           ZHOU KAI                                 Bestfreeruns@hotmail.com                            Nike
1833   www.cheapsalelebron10.com       ZHOU KAI                                 Nikefair@msn.com                                    Nike
                                                                                Bestfreeruns@hotmail.com
1834 www.cheapsfoamposite.com          ZHOU KAI                                 Nikefair@msn.com                                    Nike
                                                                                Bestfreeruns@hotmail.com
1835 www.cheapslebron10.com            gao wei                                  Nikefair@msn.com                                    Nike
                                                                                1939762843@qq.com
1836 www.cheapslebron11.com            CHEN KUN                                 Nikefair@msn.com                                    Nike
                                                                                Nbasneakers@aol.com
                                                                                254740383@qq.com
1837   www.freerunsinusa.com           ZHOU KAI                                 Bestfreeruns@hotmail.com                            Nike
1838   www.gofreeruns.com              zhou kai                                 Bestfreeruns@hotmail.com                            Nike
1839   www.lebron10cheaps.com          CHEN YU                                  1939762843@qq.com                                   Nike
1840   www.lebron11cheap.com           CHEN KUN                                 254740383@qq.com                                    Nike
1841   www.salecheaplebron10.com       chen kun                                 Nikefair@msn.com                                    Nike
                                                                                254740383@qq.com
1842 billigenikefrees.com              zhou kai                                 Nikefair@msn.com
                                                                                1939762843@qq.com
1843 cheaplebron.org                   zhou kai                                 1939762843@qq.com
1844 cheaplebron10nike.com             ZHOU KAI                                 Nikefair@msn.com
                                                                                1939762843@qq.com
1845 cheapnikelebron10shoe.com         ZHOU KAI                                 Nikefair@msn.com
                                                                                Bestfreeruns@hotmail.com
1846 cheapnikelebrons.com              CHEN KUN                                 Nikefair@msn.com
                                                                                254740383@qq.com
1847 cheapsnikefree.org                kun chen                                 254740383@qq.com
1848 nikecheaprun.com                  xianghang003 lin                         Bestfreeruns@hotmail.com
1849 nikefoampositecheap.net           ZHOU KAI                                 Nikefair@msn.com
                                                                                Bestfreeruns@hotmail.com
1850 nikelebron10cheap.com             ZHOU KAI                                 Bestfreeruns@hotmail.com
1851 salecheapnikefrees.com            QIU JING                                 Nikefair@msn.com
                                                                                Bootscouponscode@gmail.com
1852 salecheapnikes.com                zhou kai                                 Nikefair@msn.com
                                                                                Bestfreeruns@hotmail.com

                                                                    DEFENDANTS - GROUP Y
                      Domain Name                         Name(s)                                               Email Address(es)    Affected Plaintiff
                                                                                                                                       (Nike and/or
                                                                                                                                        Converse)
1853 www.hotairjordan13.com            emmeli duhaime                           emmeliduhaime3502@hotmail.com                       Nike
                                                                                hotairjordan13@gmail.com
1854 www.hotairjordanretro.com         emmeli duhaime                           emmeliduhaime3502@hotmail.com                       Nike
                                                                                hotairjordanretro@gmail.com
1855 www.jordanretrostation.com        emmeli duhaime                           emmeliduhaime3502@hotmail.com                       Nike
                                                                                jordanretrostation@gmail.com

                                                                    DEFENDANTS - GROUP Z
                      Domain Name                         Name(s)                                               Email Address(es)    Affected Plaintiff
                                                                                                                                       (Nike and/or
                                                                                                                                        Converse)
1856 www.cheapnike-trainersuk.co.uk    shunbaoyi,ltd                            petershanfive@gmail.com                             Nike
1857 www.cheapukniketrainer.co.uk      shunbaoyi,ltd                            petershanfive@gmail.com                             Nike
1858 www.cheapuk-niketrainers.co.uk    shunbaoyi,ltd                            petershanfive@gmail.com                             Nike
                                       Shan Peter
1859 www.ukcheapnike-trainers.co.uk    shunbaoyi,ltd                            petershanfive@gmail.com                             Nike




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1860 www.cheapuknike-trainer.co.uk   shunbaoyi,ltd                            petershanfive@gmail.com                               Nike
1861 www.billignikeairmaxnorge.com   chengfei bei                             beichengfei@yeah.net                                  Nike

                                                               DEFENDANTS - GROUP UNKNOWN
                     Domain Name                     Name(s)                                                    Email Address(es)    Affected Plaintiff
                                                                                                                                       (Nike and/or
                                                                                                                                        Converse)
1862   www.cheapjerseyplazas.com                                              cheapjerseyplaza012@hotmail.com                       Nike
1863   www.sleekpairshoes.com                                                 sales913@sleekpairshoes.com                           Nike
1864   www.freerungood.com                                                    freerungood@gmail.com                                 Nike
1865   www.nb-574.com                                                         yaojing2008@gmail.com                                 Nike
1866   www.vipshoes2.com                                                      vipshoes2@hotmail.com                                 Nike
1867   www.topshopin.com                                                      ana-2520@live.cn                                      Nike
1868   billignikeairmaxnorge.com     chengfei bei                             beichengfei@yeah.net                                  Nike
1869   www.shopchinawholesale.com                                             underjerseys@gmail.com                                Nike




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     1:13-cv-08012-CM-DCF  Document 37-3
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         EXHIBIT 2
                Case
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                                                                        Page2 62
                                                                              of 34
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                                      DEFENDANTS BY GROUP


          NAME                 EMAIL                            DOMAIN NAME                       GROUP

Maria Wu                                                        www.shoecapsxyz.com                Group A
Linhai Ke                                                       www.shoecapsxyz.com                Group A
                               storeonlineservices2012@gmail.   www.freerunonlocker.co.uk          Group A
                               com
                               service2@airemail.net            www.footwearsuper.co.uk            Group A
                                                                TOTAL AWARD (Group A)            $84.2 million



          NAME                 EMAIL                            DOMAIN NAME                       GROUP

Lin Zoe                                                         www.wholesalenfljerseyssale.co     Group B
                                                                m
Comminutete More K.K.                                           www.wholesalenfljerseyssale.co     Group B
                                                                m
                                                                TOTAL AWARD (Group B)            $20.1 million



          NAME                 EMAIL                            DOMAIN NAME                       GROUP

Brakehemalt K.K.                                                www.nflofchina.com                 Group C
                                                                www.storeonlineselllnow.com
                               -                                nike-chaussures.fr                 Group C
                               -                                nike-tn.fr                         Group C
Bingchao Chen                  discountwholesale2012@gmail.c    nikeairforcecentral.com            Group C
                               om
Chen Bingchao                  ppsalediscount@gmail.com                                            Group C
Fan Zhangmu                    588327030@139.com                                                   Group C
                               orderservices@live.com
                               manningso@yahoo.com
Huangjie Wei                   paypal888999@139.com             paypal888999@139.com               Group C
Jie Wei                        johnhijack@139.com               tn-new-discount.com                Group C
Rick Li d/b/a 163.CA Inc.      billing@163.ca                                                      Group C
                               rick@163.ca
                               support@tongyong.net
                               temp@phytocanada.com
Toni Wu                        sellmanageridb@hotmail.com                                          Group C
Wang Hong                      airygirl2003@163.com             www.nikeairforcecentral.com        Group C
Wei Huangjie                   paypal8868@gmail.com                                                Group C
                               paypal888999@gmail.com
                               paypalbank@126.com
                               whjsoft@126.com
                               shoxtn@hotmail.com
                               paypalbank3@gmail.com
                               paypalbank3@126.com
                               paypal888999@139.com
Weijia Yin                     tnrequinmall@live.com            tnrequinmall.com                   Group C
                               paypal888999@139.com             tnrequincentral.com

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       NAME                  EMAIL                           DOMAIN NAME                       GROUP

Yue Manager                  sellmanageridw@hotmail.com                                         Group C
Zhan Cuibin                  onlinebizdiscount@gmail.com                                        Group C
                             paypalbank2@126.com
                             paypalbank2@gmail.com
                             dawintea@msn.com
Zhan Ruping                  ppzhanruping@gmail.com                                             Group C
ヶ⩫ᙯ                          bizfrom2003@gmail.com                                              Group C
Zhan Cui Bin
                                                             TOTAL AWARD (Group C)            $67.1 million



       NAME                  EMAIL                           DOMAIN NAME                       GROUP

                             customerserviceno1@hotmail.co   www.dsmrecap.com                   Group D
                             m
                             secureonlinepay@hotmail.com     www.soccermarket.com               Group D
Benjamin Wilson              3WN69931GW723084L@dcc.pa                                           Group D
                             ypal.com
                             jiessie@vip.qq.com
Catina Johnson               customersupports@live.com       pcmarketlive.com                   Group D
Chen Qing Guo                rinazxpays@hotmail.com                                             Group D
                             kavenpays@hotmail.com
                             xianxpays@hotmail.com
                             payssmile@hotmail.com
                             smallpays@hotmail.com
                             payalways2012@hotmail.com
                             wellspays@live.com
Chen Tai shan                shoppaysment@live.com                                              Group D
Chen Zao jie Chen Zao jie    445241672@qq.com                cheapsoccercleatss.com             Group D
                             customerserviceNo1@hotmail.co   eshopstyle.com
                             m
                             445241672@qq.com
Chen Zhi Jie                 jiessie@vip.qq.com              powerports.net                     Group D
                             secureonlinepay@hotmail.com     www.footballsoccerjerseys.com      Group D
                             80338781@qq.com
Huang Xiuzhu                 paysmentsaccount@live.com                                          Group D
Jianhan Xie                  paysment2011@hotmail.com                                           Group D
Lai Li Ying                  safe-pays2012@live.com                                             Group D
                             safeonlinepay@live.com
                             safeonlinepay@hotmail.com
Larry Rhodes                 Bankrid3Calhar@Yahoo.com        dsmrecap.com/de/paypal/standar     Group D
                                                             d/success/
Lin Mei Ying                 itempays@live.com                                                  Group D
                             onlinepayup@hotmail.com
Liu Zheng Bin                managepays@hotmail.com                                             Group D
Qunhong Ke                   onlinepayQH@hotmail.com                                            Group D
Ren Guo Ying                 annelaw2012@live.com                                               Group D
                             annelaw2012@hotmail.com
                             prosalepays@live.com
                             prosalepay@live.com
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       NAME                 EMAIL                           DOMAIN NAME                 GROUP

Ren Guoying                 shoppingpaysment@live.com                                   Group D
Ren Qing Huang              toppaysline@live.com                                        Group D
                            fastestpayslines@live.com
                            securespay@hotmail.com
                            paywell2012@hotmail.com
                            efashionbuy@hotmail.com
                            sanpays@live.com
Ren Zhi Jie                 diytradecenter@live.com                                     Group D
Ren Zhi Min                 payonlines2011@hotmail.com                                  Group D
                            payonlines01@hotmail.com
                            shoppingpayonline@live.com
Ren Zhi Tong                shoppingcartpay@hotmail.com                                 Group D
                            okpays@live.com
                            beauty-onlines@hotmail.com

Ren Zhimin                  oksales2012@hotmail.com                                     Group D
                            okonsale2012@hotmail.com
                            customersupports@live.com       www.hottershoesuk.com       Group D
CoSebastian Schwarz         80338781@qq.com                 dsmrecap.com                Group D
Song Yong Gan               parypays@live.com                                           Group D
Song Yong Jin               peelaccepts@hotmail.com         dsmrecap.com                Group D
Tiffany Jarvis              customerserviceNo1@hotmail.co   cheapejerseys.com           Group D
                            m
Timothy Saulmon             saulmon_01@yahoo.com            dsmrecap.com                Group D
Wagner Chris                jiessie@vip.qq.com                                          Group D
Xie Han Zhou                securetypaysline@live.com                                   Group D
Yu Bin Bin                  ebaupays@hotmail.com                                        Group D
Yu Hang                     secureonlinepay@hotmail.com                                 Group D
                            greenpayaccounts@hotmail.com
Yu Jie                      addtocart@live.com                                          Group D
Zhang Feng Chun             buypayonline@hotmail.com                                    Group D
Zhang Feng lan              bestypays@live.com                                          Group D
                            paylinesfast@live.com
                            payjumps@live.com
Zhang fengchun              jumppays@hotmail.com            hottershoesuk.com           Group D
Zhi JieRen                  accspays2013@live.com                                       Group D
Ꮼ㯪                          azkxxpays@live.com                                          Group D
Li Ning                     kavenpays@hotmail.com
                            xianxpays@hotmail.com
                            convenientpays@hotmail.com
                            fasipays@live.com
                            itemspay@hotmail.com
                            payitems@hotmail.com
Ᏽຬ                          xunapays@hotmail.com            dsmrecap.com                Group D
Song Yong Jin
ᖹ                           quickpays@live.com                                          Group D
Zhang Wei Ping
ᘙ᳃                          accountslove@live.com           footballsoccerjerseys.com   Group D
Ou Kai Sen

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      NAME                  EMAIL                            DOMAIN NAME                 GROUP

ᚿ                           processokpays@live.com                                        Group D
Ren Zhi Min                 corporationpays@hotmail.com
ᚿ㏻                          payonlines@hotmail.com                                        Group D
Ren Zhi Tong
᪋                           huyuiifi5@126.com                                             Group D
Shi Hua                     jsadas12@yeah.net
                            znjaid@sina.com
                            guotradesusuxianxian@hotmail.c
                            om
                            tbs@prc-oem.com
                            huayiss5@yahoo.com
                            huayzui@yahoo.com
                            jiessie@vip.qq.com
                            yauaa22@yahoo.com
                            2696925368@qq.com
                            SpragueneniThomas@gmail.com
                            tbs520520@163.com
                            supportsser@hotmail.com
                            shuang1203@gmail.com
                            weiweigbasp2@hotmail.com
                            kaishuntbs@163.com
                            a7741551@gmail.com
                            miloomservice@gmail.com
                            592536808@qq.com
                            qianzhifei@hotmail.com
                            seoeasy@hotmail.com
᫓                           navypays@hotmail.com                                          Group D
Zhang Feng Chun             navypays@live.com
                            onlinepay2011@hotmail.com
ᮤ⋢                          yanlanpays@hotmail.com           cheapsoccercleatss.com       Group D
Li Yu hong
❧ⱥ                          paysnice@hotmail.com                                          Group D
Lai Li Ying
⨾                           payssites@live.com                                            Group D
Lin Mei Ying                honorpays@hotmail.com
㞵                           quickonlinepays@live.com                                      Group D
Zhang Feng Yu
                                                             TOTAL AWARD (Group D)      $66.1 million



      NAME                  EMAIL                            DOMAIN NAME                 GROUP

                            Service3@linkonlineemail.com     www.d3classicshoes.co.nz     Group E
                            Service1@webseemial.com          www.af1shox.com              Group E
Chen Minzhong               fallenyinong@yahoo.com                                        Group E
Chris Hebert                nfl2045@hotmail.com              www.kevindurantshoes.net     Group E
Cortez Shore                convenienceservice@gmail.com     www.drun.co.uk               Group E
                            wo_gan_ni_mama@yeah.net          www.jd2c.com                 Group E
                            nimamabea@163.com
                            ihandbag123@163.com

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        NAME                     EMAIL                          DOMAIN NAME                     GROUP

                                 wo_gan_ni_mama@yeah.net        lqshoes.com                     Group E
                                 ihandbag123@163.com
Guohong Zheng                    youyan1990@yahoo.com                                           Group E
Huang Jintian                    linkcampus111@yahoo.com        usajumpman.com                  Group E
                                 buybest365@yahoo.com
                                 bestbuynike@yahoo.com
                                 ecplaza999@163.com
                                 linksinowears@yahoo.com
                                 ineednikeshoes@hotmail.com
                                 usajumpman@yahoo.com
                                 nikeonlineservice@gmail.com
                                 kungfumovie999@yahoo.com
                                 bestbuynike@yahoo.com
HUANG XIAO                       buytheshoes84@yahoo.com        www.buytheshoes.com             Group E
                                 48058406@qq.com
Huang Zhi Zhen                   48058406@qq.com                48058406@qq.com                 Group E
Jack Zhang                       niceamas@gmail.com             cheapjordanshoes2014online.co   Group E
                                                                m
                                                                cheapnikefreeshoes2014.com
Jiang Hunying                    wholesaleairjordan@yahoo.com   usajumpman.com                  Group E
Jiang Junying                    wholesaleairjordan@yahoo.com                                   Group E
Jordan Batters                   convenienceservice@gmail.com   www.360chaussures.fr            Group E
                                 chenliji1u@163.com
Kathy Peyton                     sdsar@yahoo.com                a3classicshoes.co.nz            Group E
Krystian                         allenseng@hotmail.com          newsneakersoutlet.com           Group E
Lin Hua Cong                     teeblog@qq.com                 airjordan23shoese.com           Group E
                                                                nikeblazerfemmelb.org
                                                                nikeschuhenikefree.com
                                                                www.nike-outlet.us
Lin Meiqin                       youyanhg@yahoo.com                                             Group E
Meilian Huang                    linajiao1990@yahoo.com                                         Group E
Motao                            service1@webseemial.com        www.trainingshoesbuy.com        Group E
                                 hbxpoolxcc@yahoo.com
Phillip Bell                     Phillip@hotmail.com                                            Group E
                                 niceamas@gmail.com             nikesb22.com                    Group E
                                 customersupports@live.com      www.pcmarketlive.com            Group E
Sacaj BoxAngel                   yangziss@hotmail.com           airpenny1forsale.net            Group E
SandyC                           morethanjordan23@yahoo.com     www.usajumpman.com              Group E
Tang Guo                         tangguo2s@163.com              www.360runningshoes.com         Group E
Water Lin                        wo_gan_ni_mama@yeah.net        jordan4unc.com                  Group E
                                 1197084292@qq.com              shoxuk.com                      Group E
Xu Linying                       convenienceservice@gmail.com   convenienceservice@gmail.com    Group E
Xu Weihai                        vxvdsad@yahoo.com              www.blazershiuk.com             Group E
                                 1197084292@qq.com              www.jdnsneakers.com
                                                                maxshox2au.com
                                                                www.outdoorukshoes.com
                                                                www.pickfreetrainers.com
                                                                www.runshoeuk.com
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       NAME                     EMAIL                         DOMAIN NAME                      GROUP

                                                              www.trainersmalluk.com
Yu Xian Wu                      jordanshoescity@hotmail.com   usajumpman.com                    Group E
                                tonycheaps@yahoo.com          www.bestbuynike.com
                                                              www.jordanshoesusa.com
Zhao Min Gui                    mingui123@hotmail.com                                           Group E
௝                               usashare@yahoo.com            bestcnshoes.com (FOP, not         Group E
Chen Li Xian                                                  active) www.shoxuk.com
                                                              (armor)
ᯘ                               teeblog@qq.com                teeblog@qq.com                    Group E
Lin Hua Cong
⇩ⱥ                              kendyjone@aol.co.uk           lqshoes.com                       Group E
Huang Yan Ying
⌔                               goingpop@hotmail.com                                            Group E
Chen Wei Zhu
                                                              TOTAL AWARD (Group E)           $87.9 million



       NAME                     EMAIL                         DOMAIN NAME                      GROUP

Bodon Trading                                                 www.cheapkd5shoes.com             Group F
                                                              www.freesrunsstore.com
Eric Lee                                                      www.cheapkd5shoes.com             Group F
Meijin Huang                                                  www.cheapkd5shoes.com             Group F
Zhizhen Li                                                    www.freesrunsstore.com            Group F
Dsjf lai                        douguaiaidegus@gmail.com      www.tiffanyfreeruns.net           Group F
Jian Yin                        tongkudegaib@gmail.com        www.yearofthesnakekobe8.com       Group F
No Buh                          shentaishanglk@gmail.com      tiffanycofreeruns.org             Group F
                                ninetytradestore@gmail.com    tiffanyfreerunner.com
                                                              tiffanyfreerunner.org
                                                              www.freerun3volt.com
                                                              www.limegreenfreeruns.com
                                                              www.tropicaltwistfreeruns.com
Todd Amira                      toddamira883@gmail.com        freeruns3v4.com                   Group F
Yujian Ran                      tebiedeaigei@gmail.com        www.2012free.org                  Group F
                                ninetytradestore@gmail.com    www.tiffanyfreeruns.com
Yurong Huang                    ninetytradestore@gmail.com                                      Group F
                                                              TOTAL AWARD (Group F)           $56 million



       NAME                     EMAIL                         DOMAIN NAME                      GROUP

Cheap Nike Free Run Trade Co.                                 www.nikefree4s.com                Group G
Ltd.
Huang Yamei                     limei53@hotmail.com                                             Group G
Wu Ziqiang                      ziqiang53@163.com                                               Group G
                                ziqiang53@hotmail.com
                                manager@occidenttrade.com
                                pt3c@occidenttrade.com
                                sales@occidenttrade.com

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       NAME                     EMAIL                           DOMAIN NAME                  GROUP

                                                                TOTAL AWARD (Group G)       $74.1 million



       NAME                     EMAIL                           DOMAIN NAME                  GROUP

                                service@nikefreeruns30.com      www.nikefreeruns30.com        Group H
                                d/b/a
Bill King                       placeanorder@live.com           cheapfreerun2sale.com         Group H
                                service@onlinenikefreesko.com   cheapfreerun3online.com
                                                                cheapnikefreetr.com
                                                                freerundkp.com
                                                                nikefreedkp.com
                                                                nikefreerun2shop.com
                                                                nikefreerunlobesko.com
                                                                nikefreeskodkt.com
                                                                nikefreetilbudlobesko.com
                                                                onlinenikefreesko.com
Deng Dong Fang                  jack20121130@gmail.com                                        Group H
                                nikefreerunsaleaus@gmail.com    gizvtnaita.com                Group H
                                nikefreerunsaleaus@gmail.com    nikefreerunsaleaus.com        Group H
Zita Binder                     binderzita@gmail.com            dkbilligenikefree.com         Group H
                                freerunsdksalg@gmail.com        dkfreerun2.com
                                dkfreeruns@gmail.com            dkfreerun3.com
                                dkfreerun30@gmail.com           dkfreeruntilbud.com
                                dkfreerunstilbud@gmail.com      dkfreerun30.com
ಇᮽ                              classiczopim@gmail.com                                        Group H
Yang Jun Jie
ᚿὥ                              placeanorder@live.com           placeanorder@live.com         Group H
Liu Zhi Hong
ὒ                               lky2012104@gmail.com                                          Group H
Liu Kai Yang
⋹⍆                              xlq2012108@gmail.com                                          Group H
Xia Ling Qin
⹡                               newgoodsexplore@gmail.com                                     Group H
Liu Zhen Hu
                                                                TOTAL AWARD (Group H)       $18.5 million



       NAME                     EMAIL                           DOMAIN NAME                  GROUP

                                nikefreeonline2012@hotmail.co   www.freebuyshoes.com          Group I
                                m                               www.newfreeshoes.com
Jean Sabud                      nikefreeonline2012@hotmail.co   www.2014newshoes.com          Group I
                                m
                                onlyalice@hotmail.com
Joe Tran                        services2013@hotmail.com        www.shoesbuyeasy.com          Group I
                                monicayy68@hotmail.com
                                amy_zsr@hotmail.com
Lin Jun Da                      joshmicane@gmail.com                                          Group I
Sun Jin                         admjones98@hotmail.com                                        Group I

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       NAME                    EMAIL                           DOMAIN NAME                       GROUP

Suqin Yang                     nikefreeonline2012@hotmail.co                                      Group I
                               m
Surong Zhu                     nikefreeonline2012@hotmail.co                                      Group I
                               m
Zhuo Zhen                      amy_zsr@hotmail.com                                                Group I
ಖᅜ                             sonyaweeks98@hotmail.com                                           Group I
Wang Bao Guo
ẟ ගඖ                           monicayy68@hotmail.com                                             Group I
Mao Guang Yuan
⣲⍆                             joeleesa98@hotmail.com                                             Group I
Yang Su Qin
ⰷ                              onlyalice@hotmail.com                                              Group I
Wang Xin Fen
                                                               TOTAL AWARD (Group I)            $53 million



       NAME                    EMAIL                           DOMAIN NAME                       GROUP

Chen Jinxing                                                   www.buywikionline.com              Group J
                               lindajerseys@gmail.com d/b/a    www.lindajerseys.com               Group J
                                                               www.linda-jerseys.com
Bunhon wong                    spectaclexjuc@gmail.com         2013thesaintsjerseys.com           Group J
                               sfadf33333333333333333333@1
                               26.com
Cai Jincan                     verynike_123@ymail.com          www.hot-cheap.com                  Group J
                               verynike_123@yahoo.com.cn
                               cntrade168@ymail.com
                               Cntrade168@yahoo.com.cn
                               cx3139@yahoo.com.cn
                               hy_shoes@yahoo.com.cn
Chen JiaSheng                  xdffd232@hotmail.com                                               Group J
Chen Jin Feng                  linda.ch26@hotmail.com                                             Group J
Chen Jinxing                   jisehe212@163.com                                                  Group J
Chen Longfei                   aidon109@hotmail.com                                               Group J
ChenYuanzhuo                   ceddd23@163.com                                                    Group J
Huang Huacai                   nancywill1986@hotmail.com       chaussuresairmaxnike.com           Group J
                               service-2013@hotmail.com        cheapairjordanshoesforsale.org
                                                               greyjordanshoes.org
                                                               nikeairjordanshoessale.org
                                                               nikeairmax1-fr.info
                                                               nikeairmaxpascherfrance.com
                                                               nikejordansforsale.com
                                                               nikejordanshoes2013.com
                                                               paschernikeairmax.info
                                                               pickyourjerseys.org
JACK TABOR                     j_tabor76@yahoo.com             nikecheapshoes@hotmail.com         Group J
Jie Wang                       1783149795@qq.com               ravensjerseysforsale.com           Group J
Jie Xia                        by-nikes@yahoo.cn               by-nike23.com                      Group J
Jim Fricker                    Jim_F8279@outlook.com           lebron9dunkman.com/ipn_main_       Group J
                                                               handler.php
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       NAME                   EMAIL                            DOMAIN NAME                     GROUP

Kayla Moore                   service@kobe7supreme.org         kobe7supreme.org                Group J
                              jenneyzhenlin@gmail.com
Lin Fang                      topnike098@hotmail.com           namebrand166.com                Group J
                              namebrand123@yahoo.cn
                              namebrand123@hotmail.com
Lin Fengying                  bestonlineshop@hotmail.com       cheap-air-jordan.com            Group J
                              nikecheapshoes@yahoo.com.cn      nikeshoes.pw
Michael Vick                  1783149795@qq.com                airjordansfanatics.com          Group J
                              service@nbashoes.net             www.cheapkdshoes.com
                              1783149795@qq.com                www.airmaxfanatics.com          Group J
Qian Shuying                  shuying9410@gmail.com            wholesalediscountusa.com        Group J
                                                               www.chinalpg.com
                                                               cheapjordanswholesale.com
Qian Xiangong                 urbanclothing01@yahoo.com.cn     cheapjordanswholesale.com       Group J
Samanta Bangaree              verynike_123@ymail.com           sellairjordan23.com             Group J
                              verynike_123@yahoo.com.cn
                              cntrade168@ymail.com
                              Cntrade168@yahoo.com.cn
                              hy_shoes@yahoo.com.cn
San Zhang                     lindajerseys@gmail.com           2014worldcupsoccerjerseys.us    Group J
                              services@6000jerseys.com         6000jerseys.com
                              beoltrade@hotmail.com            cheapkdiv.net
                              jenneyzhenlin@gmail.com          cheapnikeairmaxandfreerun.com
                              BABAYGOGOGO@gmail.com            lebronhyperdunks.com
                              zhengjf10@163.com                nike2store.net
                              service@lebronhyperdunks.com     nikefreebillig.org
                              jenneyzhenlin@gmail.com          nikekickcoo.com
                              jenneyzhehe952@gmail.com         www.buywikisonline.com
                              qq123456@hotmail.com             www.goodshoeswholesale.com
                              sfadf33333333333333333333@1      www.sportshoesoutlet.org
                              26.com
                              beoltrade@hotmail.com
                              buykicksonline@hotmail.com
                              service-2013@hotmail.com
                              sdaf3333333333@126.com
Wang Jie                      1783149795@qq.com                jordansshoesforcheap.org        Group J
                              17832154554@qq.com               lebron9dunkman.com
                              service@lebronjames10shoes.org   lebronjames10shoes.org

Wanlu Huang                   lindajerseys@gmail.com                                           Group J
Wen Ben Zhou                  service@hotpunchnikefree.com     www.hotpunchnikefree.com        Group J
Xiongfei Trade Co. Ltd        namebrand123@yahoo.cn            namebrand123.com.cn             Group J
                              namebrand123@hotmail.com
Zhang San                     jenney@gmail.com                 2013jordanshoes.org             Group J
                              jenneyzhenlin@gmail.com          cheapjordansforsales.org
                              jenney123456555@gmail.com        cheapkd.org
                                                               jordan8sphoenixsuns.org
                                                               kevindurant6.org
                                                               kobe82013.com kobe8yots.com
                                                               lebron2013.org
                                                               newjordanshoes2013.org
                                                               www.lebronshoes10.org
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                                                                                 34100

       NAME                   EMAIL                          DOMAIN NAME                 GROUP

᐀                             namebrand123@hotmail.com       namebrand123@hotmail.com     Group J
Zheng Wen Zong
ᘓ                             zhengjf10@163.com              zhengjf10@163.com            Group J
Zheng Jian Fen
ᚿ                             steven.wawj@gmail.com          nikexyz.com                  Group J
Zheng Zhi Hong                                               www.hot-cheap.com
ᯘ ᐆ⌔                          jenneyzhenlin@gmail.com        jenneyzhenlin@gmail.com      Group J
Lin Bao Zhu
᱇ຬ ⶧                          cx3139@yahoo.com.cn            cx3139@yahoo.com.cn          Group J
Gui Yong Cai
Ⰻ                             1783149795@qq.com                                           Group J
Huang Han Liang
ⰾ                             sjack.1368@gmail.com           sellairjordan23.com          Group J
Xu Min Fang
⶧᱇                            a.starks1979@gmail.com         nikexyz.com                  Group J
Cai Gui Lan                                                  www.hot-cheap.com
⶧ ᱇ຬ                          scottsha8@gmail.com            sellairjordan23.com          Group J
Cai Gui Yong
㔠                             linda.ch26@hotmail.com         nikekickcoo.com              Group J
Chen Jin Feng
                                                             TOTAL AWARD (Group J)      $85.4 million



       NAME                   EMAIL                          DOMAIN NAME                 GROUP

University Jhug Limited                                      www.yes-shoe.com             Group K
                                                             www.yes-shoe.net
                              sdertxd6@163.com               bulk-nfl.com                 Group K
                              kweg63403@163.com              cheapnfljerseyscom.com       Group K
Huik                          kweg63403@163.com              likenfl2013.com              Group K
                                                             nflcheap800.com
Li Haidao                     lihaidao2002@163.com                                        Group K
                              510227969@qq.com
                              sdertxd6@163.com               ok-shoes.net                 Group K
                              sdertxd6@163.com               nfls-need.net                Group K
                              sdertxd6@163.com               yes2013nfl.net               Group K
                              sdertxd6@163.com               yesbuynfl.net                Group K
                              sdertxd6@163.com               yesgetnfl.com                Group K
                              sdertxd6@163.com               yesgetnfl.net                Group K
                              sdertxd6@163.com               yesshopnfl.com               Group K
                              sdertxd6@163.com               yesshopnfl.net               Group K
ᮤ                             lihaidao2002@163.com                                        Group K
Li Hai Dao
ứྥ                            foreverseller889@hotmail.com                                Group K
Wang Xiang
                                                             TOTAL AWARD (Group K)      $59 million




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       NAME                    EMAIL                            DOMAIN NAME                         GROUP

Zheng Jiangyang                                                 www.great-wholesalejersyes.net      Group L
Extentbargain K.K.                                              www.for-jerseys.biz                 Group L
                                                                www.myspeto.com
                               service2@emailkoca.com           trainersforsale.co.uk               Group L
Adam Vickers                   service2@storelinkmail.com       airmax2013sale.co.uk                Group L
Alfred La Mar                                                   freerunonlocker.co.uk               Group L
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                               sshopping8090@hotmail.com        nike666.com
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                               wholesalejerseys@ec8j.com
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Cai LiMing                     paylessnfljerseyswholesale@gma   authenticjerseyssupplierelite.com   Group L
                               il.com                           authenticjerseyssuppliersa.com
                               nfljersey2010@yahoo.com          authenticjerseyssupplierscheap.c
                               ldd@dingdian.cn                  om
                               rqb@dingdian.cn                  authenticjerseyssuppliershop.co
                               elitejerseyss@qq.com             m
                               doorjerseys86@hotmail.com        authenticjerseyssuppliersswholes
                               nfljerseys2000@gmail.com         ale.com
                               fsdgdsg@qq.com                   cheapjerseyswholesaleshop.com
                               nikepuma-2@hotmail.com           cheapjerseyswholesalesupplier.c
                               nikepuma-1@hotmail.com           om
                               jerseyscommunity@hotmail.com     doorjerseys.com
                               selloffmlb@qq.com                elitecheapnfljerseysauthenticshop
                               sale@shoxvs.com                  .com
                               jersey2008@tom.com               elitejerseyssuppliers.com
                               fsafsagsg@qq.com                 elitenfljerseyscheap.com
                               kundeservice@skounion.com        fashiongoods.cc
                               kundeservice@ostyler.com         footballjerseyssuppliers.com
                               kundeservice@sneakerno.com       heelsko.com
                               sellysnow2046@outlook.com        jerseyauthenticcheap.com
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       NAME                 EMAIL                           DOMAIN NAME                         GROUP

                                                            maxdny.com
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                                                            nfljerseywholesaleauthentic.com
                                                            presentshoes.com
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                                                            yingsoccer.com
Changqing Lin               linchangqing7602@yahoo.com.c    shoesspring@hotmail.com             Group L
                            n
Chaokevin Lebron            1309624870@qq.com               freeruns-tn-au.com                  Group L
                                                            noschaussuresfr.com
Chen Guo Jing               wiles@35zh.com                                                      Group L
Chen Yuanming               repdavid2009@hotmail.com        cheapreps.us                        Group L
                            Davideal2009@hotmail.com        jordanmyth.us
                                                            exsneaker.us
Chen, Mingjin               airmaxyouneed@hotmail.com       airmaxsshop.co.uk                   Group L
Chen, Suzhen                globe-trade@hotmail.com         reebokdepot@hotmail.com             Group L
Chen, Weifang               274024654@qq.com                274024654@qq.com                    Group L
                            shuaistrade@hotmail.com         jerseysmember@hotmail.com
Chen Tong                   Nikes4wholesale@yahoo.com.cn    thenikeairmaxclassics.com           Group L
Chen Weizu                  shoesclothingcheapor@gmail.co   jerseysauthenticwholesaleauthent    Group L
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Chenye Yang                 rqb@dingdian.cn                 elitenfljerseyscheapshop.com        Group L
Chunhai Song                seeijerseys@gmail.com           greenbaypackersjerseys.com          Group L
                            jerseys-goodsusa@hotmail.com    newredskinsjerseys.com
                            seeijerseys@gmail.com           patriotsjerseysfreeshipping.com
                                                            seeijerseys.com
                                                            steelersjerseysforsale.com
                                                            superjerseysaol.com
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Deng Xiao Jun               1416658427@qq.com               niketw-2011.com                     Group L
Ding, Yi Na                 salegogo1@hotmail.com           yingsoccer.com                      Group L
                            nfljerseys2000@gmail.com        jerseyswholesaleauthenticelite.co   Group L
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       NAME                   EMAIL                             DOMAIN NAME                    GROUP

                                                                m
                              service3@storelinkmail.com        blazersnuk.com                 Group L

                              service2@storelinkmail.com        fshoesuk.com                   Group L

                              service2@forsendinfo.net          kfree2uk.com                   Group L

                              service4@mailfor2013.com          sneakeroutletuk.com            Group L

                              service3@storelinkmail.com        ublazer2uk.com                 Group L

Fang Ming                     reebokdepot@hotmail.com           salebestjersey.org             Group L
                              274024654@qq.com                  topfansjerseys.org
                              nikesportjerseys@msn.com
Fang Ping                     jerseysmember@hotmail.com         onenflnike.us                  Group L
                              274024654@qq.com                  topfansjerseys.info
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Fang Yong                     winwindshoes.ca@gmail.com         buycoltsjerseys.org            Group L
                                                                newyorkgiantsjerseys.org
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                                                                coojerseys.us
Guo Jiancong                  Davideal2009@hotmail.com          hiphoplinda.org                Group L
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Haitian Ren                   wholesaleelitenfljerseys@yahoo.   wholesaleelitenfljerseys.com   Group L
                              com
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Han, Defang                   newclothing@hotmail.com                                          Group L
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Hao Lin                       nikesportjerseys@msn.com          nikenfldepot.com               Group L
                              505175638@qq.com                  savemalls.com
Harvey Rhodes                 service2@emailkoca.com            cheapjordansuk.co.uk           Group L
huang guo                     service5@storelinkmail.com        shoprunfree.co.uk              Group L
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Huang JuYing                  rephype2009@live.com              onufoot.com                    Group L
                              repdreammonafirst@hotmail.co
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                              fdsgfdgd@qq.com
Huang Libin                   jerseys-goodsusa@hotmail.com      jerseysgoodsusa.com            Group L
                              jerseysgoodsusa@yahoo.com
                              fdsgfdgd@qq.com
Huang Qiao                    2337970303@qq.com                 pickupjordan23.org             Group L
                                                                shoescapsxyz.biz
Huang Wensheng                service2@forsendinfo.net          bestk.co.uk                    Group L
                              service1@forsendinfo.net          blazer2uk.co.uk
                              service4@mailfor2013.com          blazershoeuk.co.uk
                              service2@storelinkmail.com        brandd.co.uk
                              service3@storelinkmail.com        cheapu.co.uk
                              service1@airemail.net             fashionsneaker.co.uk
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       NAME                    EMAIL                           DOMAIN NAME                        GROUP

                               service2@storelinkmail.com      free2k.co.uk
                                                               max1s.co.uk
                                                               max90store.co.uk
                                                               orderfree2.co.uk
                                                               outletblazer.co.uk
                                                               sneakeroutlet.co.uk
                                                               uk2shoes.co.uk
                                                               ukblazer2u.co.uk
                                                               airmaxsshop.co.uk
                                                               maxsneakers.co.uk
                                                               ukmaxonline.co.uk
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                               largestoreonline@hotmail.com
                               tradegoods-online@hotmail.com
Huang XiuYing                  fdsgfdgd@qq.com                 findsavemall.com                   Group L
                               nfljersey2010@yahoo.com         jerseyswholesalesuppliersauthent
                               rqb@dingdian.cn                 ic.com
                               hiphopvp2013@hotmail.com        nikenfljerseys.org
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                                                               ecflea.com
                                                               hiphoplp.com
Huang Yong Lin                 nikesportjerseys@msn.com        nikesportjersey.in                 Group L
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         NAME                  EMAIL                          DOMAIN NAME                       GROUP

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Lin, Fengyun                   jinaaba@hotmail.com            maxvd.com                         Group L
Liu Qiao Qin                   reebokdepot@hotmail.com        newnikejerseys.in                 Group L
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Liu Yifei                      Yifei@Liu.cc                   btbbuy.com                        Group L
                                                              luckytobuy.com
                                                              picknicekicks.com
                                                              repkicks.com
                                                              replicajerseysoccer.com
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                                                              jersey-777.com
                                                              soccerjersey365.com
                                                              thekeytrade.net
                                                              wholesalejerseysoccer.com
Liuyifei Liuyifei              merryperry123@hotmail.com      sirhiphop.com                     Group L
                               1596615787@qq.com
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Murray, John                   hupay@qq.com                   bestjerseysgo.com                 Group L
Natorious Douglas                                             blazerhigher.co.uk                Group L
                               ldd@dingdian.cn                icenhljersey.com                  Group L

Pan Bing Huang                 1749080296@qq.com              minenike.com                      Group L
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                               solejump@hotmail.com           solejump.ru                       Group L
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                               sally365reps@hotmail.com       365reps.net                       Group L
                               Cheapsizechris@gmail.com
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       NAME                   EMAIL                          DOMAIN NAME                    GROUP

                              salesdispute@hotmail.com       caps-sell.org                  Group L
                              cheapsize@hotmail.com          cheapsize.ru                   Group L
                              hiphopvp2013@hotmail.com       hiphopnp.ru                    Group L
                              Davideal2009@hotmail.com
                              Davideal2009@hotmail.com       jordanmyth.ru                  Group L
                              repdavid2009@hotmail.com       repcheap.ru                    Group L
                              soledream2009@hotmail.com      soledream.ru                   Group L
                              Davideal2009@hotmail.com
Qi Min Li                     jerseysmember@hotmail.com      bestfanjersey.com              Group L
                              274024654@qq.com
Qiao Qin Liu                                                 newnikejerseys.com             Group L
Qiming Trade CO. Ltd          jerseysmember@hotmail.com      bestfanjersey.org              Group L
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Qing Lang                     reebokdepot@hotmail.com        salebestjersey.net             Group L
                              274024654@qq.com
Robbie Clark                  service2@emailkoca.com                                        Group L
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                              daijiawu@live.com              airyeezy2pascher.info          Group L
                              daijiawu@live.com              cheaplebronshoes.info          Group L
                              daijiawu@live.com              cheapnikenflelitejerseys.org   Group L
                              daijiawu@live.com              cheapniketn.info               Group L
                              daijiawu@live.com              cheapnikeusa.info              Group L
                              daijiawu@live.com              nfljerseysoutlet.info          Group L
                              daijiawu@live.com              nikerequinpascher.info         Group L
                              daijiawu@live.com              nikeskosalg.info               Group L
                              daijiawu@live.com              shoesnikeairmax90.info         Group L
                              daijiawu@live.com              wholesaelejerseys.info         Group L
                              daijiawu@live.com              wholesalesunglasseshut.info    Group L
                              daijiawu@live.com              cheapnikefreeshoes.info        Group L
                              shoescapsxyz.com@gmail.com     niketnshoes.info               Group L
                              daijiawu@live.com
                              daijiawu@live.com              wholesalenikeshoes.info        Group L
Sanchun Wu                    530267919@qq.com               chaussurespaschernike.info     Group L
                              selltopbrand@yahoo.cn          cheapnikefree.info
                              sell-topbrand@hotmail.com      nikeblazershoes.info
                              noschaussuresfr.com@gmail.co   nikefreeplus-au.info
                              m                              nikepascheres.info
                                                             nikepascheresshox.info
                                                             niketns-au.info
                                                             noschaussuresfr.info
Sawyer Lin                    jerseys@stajump.net            premiervirtual.us              Group L
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                              fdsgfdgd@qq.com
Shaotong Qiang                nfljersey2010@yahoo.com        onsavemall.com                 Group L
                              onsavemall@yahoo.com
Shurong Lin                   wholesale-square@hotmail.com                                  Group L
                              usherfashion@hotmail.com

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       NAME                 EMAIL                         DOMAIN NAME                  GROUP

                            tradingspring@hotmail.com
                            jordans-china@hotmail.com
                            wipwholesale2012@yahoo.com.
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Stacy Peacock               service2@airemail.net         nikeblazersonline.co.uk      Group L
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Tamerra Barrett             service2@airemail.net         footwearsuper.co.uk          Group L
Taniesha Symister           service2@emailkoca.com        footswearonline.co.uk        Group L
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                            409213856@qq.com
Weng Xue Jing               274024654@qq.com              nflnike.us                   Group L
                            repdavid2009@hotmail.com      cheapreps.cc                 Group L
                            sellysnow2046@outlook.com
                            1596615787@qq.com
                            repdavid2009@hotmail.com      cheapreps.org                Group L
                            cheapsize@hotmail.com         cheapsize.cc                 Group L
                            goonb7c@hotmail.com           countrykickz.com             Group L
                            sellysnow2046@outlook.com
                            Davideal2009@hotmail.com      exsneaker2.com               Group L
                            Davideal2009@hotmail.com      hiphoplinda.cc               Group L
                            idsole@hotmail.com            idsole.com                   Group L
                            goonb7c@hotmail.com
                            kayaneast1028@hotmail.com
                            Davideal2009@hotmail.com      jordanmyth.cc                Group L
                            Davideal2009@hotmail.com      jordanmyth.org               Group L
                            repdavid2009@hotmail.com      repcheap.cc                  Group L
                            repdavid2009@hotmail.com      repcheap.net                 Group L
                            jacksmith111396@hotmail.com
                            repdavid2009@hotmail.com      repcheap.org                 Group L
                            soledream2009@hotmail.com     soledream.cc                 Group L
                            Davideal2009@hotmail.com
                            soledream2009@hotmail.com     soledream.net                Group L
                            Davideal2009@hotmail.com
                            sarahbass69@hotmail.com
                            soledream2009@hotmail.com     soledream.org                Group L
                            Davideal2009@hotmail.com
                            2069043802@qq.com
                            Davideal2009@hotmail.com      cheapsize.com                Group L
                            Cheapsizechris@gmail.com                                   Group L
                            cheapsize@yahoo.com                                        Group L
                            cheapsize@hotmail.com                                      Group L
                            shoesbagonsale@hotmail.com    repkiks.com                  Group L
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Woodson, Keion              keiondw@yahoo.com             shoesbagonsale@hotmail.com   Group L
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Xiang Yong Zheng            jerseysmember@hotmail.com     bestfanjerseys.net           Group L

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                              274024654@qq.com
Xiao Lin Zheng                nikesportjerseys@msn.com       topfanjersey.com                    Group L
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Xiaofei Wang                  jerseys@stajump.net            premiervirtual.com                  Group L
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Xiaoqing Zhang                largestoreonline@hotmail.com   largestore-online.com               Group L
                              rqb@dingdian.cn
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Xiaoqiong Wu                  xiaoqiongshirley@hotmail.com   jersey-777.com                      Group L
                              pursesoutlet@qq.com            elitesportjerseys.com
                              nfljerseys2000@gmail.com       jerseysauthenticwholesalejerseys.
                                                             com
                                                             sportauthenticjerseys.com
                                                             wholesalenfljerseyauthentic.com
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                              deyvip@gmail.com
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                              1749080296@qq.com              66buy-nike.com
                              shopping8090@hotmail.com       7buy-nike.com
                              shopping333@hotmail.com        99buy-nike.com
                              yanuolv@yahoo.com              9buy-nike.com
                                                             adidas-mall.com
                                                             levisbt.com
                                                             mall-jordan.com
                                                             mall-vans.com
                                                             nike-dunk-sb-af1.com
                                                             nike-zoom-kobe-1719.com
                                                             puma-t-shirt.com
                                                             shoes-tw.net
                                                             t1-nike.net
                                                             tc-jordan.com
                                                             tc-nike.net
                                                             tp-nike-shop.net
                                                             tpoy-adidas.com
                                                             tpoy-converse.com
                                                             tpoy-new-balance.com
                                                             tpoy-nike.com
                                                             nike888888.com
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                              cn
                              sell-topbrand@hotmail.com
                              salesdispute@hotmail.com
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                              sophieyuan3448@yahoo.com.cn
                              shoesspring2003@hotmail.com
                              shoescapsxyz.com@gmail.com
                              salesdispute@hotmail.com
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                              shoesspring@hotmail.com
Ye Dong                       jerseysmember@hotmail.com         fansjerseyssite.com                Group L
                              spapparelsa@msn.com
Yegeng Tian                   nfljerseys2000@gmail.com          nflfootballejerseyscheap.com       Group L
                              nflfootballejerseyscheap@yahoo.
                              com
yida trade CO.,Ltd            reebokdepot@hotmail.com           newnikejersey.org                  Group L
Yingchun Yuan                 shoesspring@hotmail.com           buyshoeclothing.org                Group L
                              sophieyuan3448@sina.com           shopmallcn.com
Yong Lin Huang                nikesportjerseys@msn.com          nikesportjersey.net                Group L
                              274024654@qq.com
Yong Lin Lin                  shoescapsxyz.com@gmail.com                                           Group L
Yong Zheng                    jerseysmember@hotmail.com         bestfanjerseys.org                 Group L
Youncofski, Conor             conoryouncofski@aol.com           shoesbagonsale@hotmail.com         Group L
Yu Xiao                       nikepuma-2@hotmail.com            nikedey.com                        Group L
                              nikepuma-1@hotmail.com
                              fuwudazong@yahoo.cn
Yuanqiu Cai                   nfljerseys2000@gmail.com          jerseysauthenticwholesalejersey.   Group L
                              jerseysauthenticwholesalejersey   com
                              @yahoo.com                        bestjerseys88.com
Yuyang LV                     bestjerseys88@gmail.com           bestjerseysgo.com                  Group L
                              bestjerseysgo@yahoo.com
                              bestjerseysgo@126.com
Zenyu Lin                     805800638@qq.com                  lalunetteshopfr.com                Group L
                              Davideal2009@hotmail.com          lunettesshopfr.com
                              2069043802@qq.com                 skosnorge.com
                                                                hiphopnp.com
Zhang San                     Davideal2009@hotmail.com          jordanmyth.com                     Group L
                              2069043802@qq.com                 nikickz.com
Zhang Sansan                  770314722@qq.com                  repkickz.net                       Group L
                              Davideal2009@hotmail.com          exsneaker.net
                              mariongreen91@hotmail.com
                              shoesb7b@yajoo.com
Zhao Jun Pu                   lowjerseys@hotmail.com and                                           Group L
                              wholesalejersysx@gmail.com
Zheng Xiang Yong              jerseysmember@hotmail.com         bestfanjerseys.us                  Group L
                              274024654@qq.com
Zheng, Lanying                asshops@hotmail.com               maxdny.com(real)                   Group L
                              wholesaledey@hotmail.com          www.tradenny.com(shell)
                                                                maxvd.com
Zhengyu Lin                   shoescapsxyz.com@gmail.com                                           Group L
Zheyu Lin                     805800638@qq.com                  hiphopfootlocker.com               Group L
Zhiyuan Dai                   jerseys-goodsusa@hotmail.com      stargoaol.com                      Group L
                              stargoaol@yahoo.com
Zhu Fu                        hiphopvp2013@hotmail.com          cheapnikeairmaxtrainers3sale.co.   Group L
                                                                uk
                                                                nmgdesign.co.uk
                                                                paranor2.co.uk
                                                                sorenlarsen.co.uk
ୡᮽ                            jerseyscommunity@hotmail.com      jerseyscommunity@hotmail.com       Group L
Zheng Shi Jie
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        NAME                 EMAIL                          DOMAIN NAME                       GROUP

఍                            2217167198@qq.com              icenhljersey.com                  Group L
Yang Hui Xin
රඖ                           popsoccerjersey@yahoo.com.cn   replicajerseysoccer.com           Group L
Wang Bing Yuan
ྻᇵΎ                          setorsungbg@hotmail.com        hiphopiop.cn                      Group L
ྻ㏦ྔ                          sobypal@gmail.com                                                Group L
Wu Song Ye
ዴಇ                           12@YAHOO.COM.CN                icenhljersey.com                  Group L
Wang Ru Jun
፽                            topjint@hotmail.com            shoxvs.com(shell)                 Group L
Zheng Yang Mei
ᘓⱥ                           inshoes2011@hotmail.com        cheaps-b2b.com(shell)             Group L
Tang Jian Ying                                              www.nikedey.com
ᚤ                            weixiaottqwe@hotmail.com                                         Group L
Zhang Wei
ᢇᘓᒣ                          nfljersey2010@yahoo.com        nfljersey2010@yahoo.com           Group L
Fu Jian Shan
᪂㏻᭷㝈බྖ                       yanuolv@yahoo.com              nike528.com.cn                    Group L
                             1749080296@qq.com
᪋                            alice_maria1030@hotmail.com    jersey-777.com                    Group L
Shi Shao Lian
ᯘ⚽ⱥ                          sogoodcomcn@gmail.com                                            Group L
Lin Xiu Ying
ᯘ㟷                           linchangqing2009@yahoo.com.c   shoesspring2003@hotmail.com       Group L
Lin Zhang Qing               n
                             shoesspring2003@hotmail.com
ᰓᯘ                           kelinhai@hotmail.com           sell-topbrand@hotmail.com         Group L
Ke Lin Hai                   sell-topbrand@hotmail.com
(a/k/a Linhai Ke)
᱇                            catherine4good@hotmail.com     jersey-777.com                    Group L
Liu Gui Lan
   ⋢ᑑ                        grilatshc@163.com              selloffmlb.com                    Group L
₫                            sin.tong@hotmail.com           sin.tong@hotmail.com              Group L
Pan Bing Huang
⏕                            evanxu0221@yahoo.com           jerseyswholesaleauthentic.com/3   Group L
Shi Sheng Xu                                                7-c-Contact-Us/
⚟                            bestjerseys88@gmail.com        bestjerseys88@gmail.com           Group L
Zhang Jia Fu
⬌௝                           whugo2011@gmail.com                                              Group L
Hu Xian Di
⬌ᅜῧ                          tiantiansell@gmail.com                                           Group L
Hu Guo Tian
⬌⚽                           bestsevie2011@gmail.com                                          Group L
Hu Xiu Bi
⬌⚽                           xiaganmeinv@gmail.com                                            Group L
Hu Xiu Feng                  goodnewscaon@gmail.com
⬌ⴍ                           today0212@gmail.com                                              Group L
Hu Li Ping
ⱥ                            fashion777-2@hotmail.com       nikepuma-2@hotmail.com            Group L

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        NAME                   EMAIL                           DOMAIN NAME                     GROUP

Zheng Lan Ying
⿁㏄᫓                            sophieyuan3448@sina.com         sophieyuan3448@sina.com          Group L
Yuan Ying Chun                 sophieyuan3448@yahoo.com.cn     shoescapsxyz.com
                               mylove198101@hotmail.com        sophieyuan3448@yahoo.com.cn
                               businessonlinexyz@hotmail.com
㔠                              branngddd@hotmail.com           nikepuma-1@hotmail.com           Group L
Zheng Jin Tao
                                                               TOTAL AWARD (Group L)          $25.9 million



        NAME                   EMAIL                           DOMAIN NAME                     GROUP

                               bbbpppkkk@yahoo.com             www.nikefreeruns-factory.com    Group M
Guang Zhou                     gzicnet@qq.com                  www.nikefreerunsfactory.com     Group M
Jingmei Zhou                   bbbpppkkk@yahoo.com             www.airjordanfrance.com         Group M
                                                               www.nikefreeruns-factory.com
Rebeca Fosburgh                lorenjin@hotmail.com            nikekobe-8.com                  Group M
                                                               nike-lebron10.com
ⰾ                              globaltradeclubs@gmail.com      nikefreerunsfactory.com         Group M
Yan Li Fang
                                                               TOTAL AWARD (Group M)          $22.5 million



        NAME                   EMAIL                           DOMAIN NAME                     GROUP

Bi Ning Zhuo                                                   www.freerunlinea.com             Group N
Chen Qing Wen                  shellycorall@yahoo.com                                           Group N
Chen Zusong                    trendslandy@yahoo.com                                            Group N
Huang Jian Ping                Valdiviacaa@gmail.com                                            Group N
Jian Ping Huang                Valdiviacaa@gmail.com            Valdiviacaa@gmail.com           Group N
JIANG LIN                      answer.online7@gmail.com        www.freerunline.com              Group N
NAN CHEN                       answer.online7@gmail.com        www.freerunstoreus.com           Group N
PING LI                        answer.online7@gmail.com        www.freerunlinea.com             Group N
Qing Wen Chen                  shellycorall@yahoo.com          shellycorall@yahoo.com           Group N
Tie Ning Zhuo                  ningtie@yahoo.com               ningtie@yahoo.com                Group N
                               answer.online7@gmail.com        freerunzone.com                  Group N
Zhuo Tie Ning                  ningtie@yahoo.com                                                Group N
Zusong Chen                    trendslandy@yahoo.com           shellyesilver.com(fop.clean)     Group N
                                                               www.freerunzone.com
Jiang Lili                                                     www.cheapnikeairmax-mart.com     Group N
                                                               TOTAL AWARD (Group N)          $21 million



        NAME                   EMAIL                           DOMAIN NAME                     GROUP

                               terrycn@live.cn                 cheapairjordansshoes2013.com     Group O
                               tomjayjay1986@gmail.com                                          Group O
                               tomjayjay1986@gmail.com         cheapsportsjerseys2013.com       Group O
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       NAME                   EMAIL                           DOMAIN NAME                     GROUP

                              terrycn@live.cn                 nikefreeshoesmall.com            Group O
                              terrycn@live.cn                 www.cheapsoccer-mall.com         Group O
                              551907714@qq.com                www.thailandjerseystore.com      Group O
Huang Hui                     Eleanore147@hotmail.com         cheapsportsjerseys2013.com       Group O
Jack Wu                       loveshophere@163.com            wheretobuysoccerjersey.net       Group O
                              terrycn@live.cn                 basketballmart365.com            Group O
                              tomjayjay1986@gmail.com         cheapairmaxshoesale2013.com      Group O
                              tomjayjay1986@gmail.com         www.2013shoesairmax.com          Group O
                              tomjayjay1986@gmail.com         www.shoesnikemall.com            Group O
                                                              www.cheapsoccer-mart.com         Group O
Qingshi Fang                  551907714@qq.com                www.soccerjerseytown.com         Group O
Shannon Bennett               terrycn@live.cn                 basketballmart24.com             Group O
                                                              www.cheapairjordans-mart.com
Shiyu Xu                      airmax-shop@hotmail.com                                          Group O
Winchester Dean               tomjayjay1986@gmail.com         cheapairmax12.com                Group O
                                                              cheaperjersey2013.com
ፍ                             Cecilia-meme@hotmail.com         cheaperjersey2013.com           Group O
Chen Bi Juan                  Beatrice-barbar@hotmail.com
ᚎ                             Wallislevel@hotmail.com         cheapairjordansshoes2013.com     Group O
Xu Li Li
ᚎୡ                            johnxu1310@hotmail.com          cheapairjordans-mart.com         Group O
Xu Shi Yi
ᚎ㔠ῧ                           terrycn@live.cn                 terrycn@live.cn                  Group O
Xu Jin Tian                   micshoes@hotmail.com
                              elinsale@gmail.com
                              joz.christian@gmail.com
                              uggnet@hotmail.com
ᚿ                             yoyoshoes3@gmail.com            terrycn@live.cn                  Group O
Yu Zhi Qiang                  coctrade@yahoo.com
                              pay@australiauggshop.com
                              yoyoshoes3@gmail.com
                              CVV2008@hotmail.com
                              trade1848@yahoo.com
                              ccv2008@hotmail.com
                              ccvgoods@hotmail.com
                              tradecn86@yahoo.com
                              cnpaypal@foxmail.com

ᬛ                             martinpettersson86@hotmail.co                                    Group O
Xu Zhi Qiang                  m
Ụ⵷⵷                           Irmare2341@hotmail.com          basketballmart24.com             Group O
Jiang Rong Rong
ῄ⌋                            Susiesuke@hotmail.com           cheapsportsjerseys2013.com       Group O
Huang Shu Zhen
⫝̸ᑠⴍ                           Rachelmeris@hotmail.com         cheaperjersey2013.com            Group O
Xiao Xiao Ping
                                                              TOTAL AWARD (Group O)          $26.8 million



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       NAME                    EMAIL                             DOMAIN NAME                      GROUP

                               customerservice.ly@gmail.com      www.airmax90uksales.co.uk         Group P
                                                                 www.airmaxofficialshop.co.uk
Drew Pietan                    customerservice.OE@gmail.com      www.airmaxstoreuk.co.uk           Group P
James Douglas                                                    www.airmax90uksales.co.uk         Group P
Joe Austin                     customerservice.OE@gmail.com      www.airmaxstoreonline.co.uk       Group P
Julie Lochhead                                                   www.air2013ukshop.co.uk           Group P
Kerry Bolton                                                     www.airmax2013ukshop.co.uk        Group P
Lauren Darke                                                     www.airmaxofficialshop.co.uk      Group P
                                                                 TOTAL AWARD (Group P)           $18.5 million



       NAME                    EMAIL                             DOMAIN NAME                      GROUP

                               service@kickslion.com             www.kickslion.net                 Group Q
                                                                 TOTAL AWARD (Group Q)           $33 million



       NAME                    EMAIL                             DOMAIN NAME                      GROUP

Kendrickvery PT                                                  www.oykununsesi.com               Group R
                                                                 www.payfororder.com
Haima Xuan                     csj527581746@163.com              oykununsesi.com                   Group R
                               uncboxing@gmail.com               uncboxing.com
                               nikefreerunsaleservices@gmail.c   nikefreerunsalesaustralia.com     Group R
                               om
Lisu Motol                     nikeairmaxcheapsales.co.uk@gm     nikeairmaxcheapsales.co.uk        Group R
                               ail.com
                               billigenikefreerunskodk@gmail.c   billigenikefreerunskodk.com       Group R
                               om
                                                                 TOTAL AWARD (Group R)           $28.6 million



       NAME                    EMAIL                             DOMAIN NAME                      GROUP

                               wholesalejerseyscenter@gmail.c    www.nfljerseyswebsite.com         Group S
                               om
AUSTIN GATES                   wholesalejerseyscenter@gmail.c    www.cheapjerseysbusiness.com      Group S
                               om
Cai Fengwei                    dannynelms@126.com                                                  Group S
ChangYong Yang                 vaildcalm@hotmail.com                                               Group S
Chen Xicheng                   troyblume@hotmail.com                                               Group S
GREEN BROWN                    wholesalejerseyscenter@gmail.c    www.chineseunderjerseys.com       Group S
                               om
Guo Chunpeng                   jeffhamilton668@gmail.com                                           Group S
Guofu Zhang                    ericaceballose@yahoo.com          discountjerseys.us                Group S
Hang Chen                      jameshill13@                                                        Group S
                               hotmail.com
Holly Gasser                   wholesalejerseyscenter@gmail.c    www.supplyjerseys.us              Group S
                               om
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                                                                                  34100

       NAME                    EMAIL                            DOMAIN NAME                     GROUP

Huang Huayou                   MelissaBartell07@yahoo.com                                       Group S
Huang Xiaoqiu                  helendesotell@163.com                                            Group S
JianXian Zheng                 butshopping@hotmail.com          cheapgamejerseys.us             Group S
                               lovegamejerseys@gmail.com
Li Renfen                      renfen86@gmail.com                                               Group S
Li Yangyang                    brandandelfino@gmail.com                                         Group S
Li Yayun                       nitatimberlake@163.com                                           Group S
Lin Qingfeng                   farrokhnejadlotfi@yahoo.com                                      Group S
Liu Meihua                     stevensalcedos@yahoo.com                                         Group S
Lizhu Ma                       nancycainly@yahoo.com                                            Group S
Louisa Kornbergin              butshoppingonline@gmail.com      nflchinajerseys.us              Group S
Luo Qiuhua                     atthewconney@hotmail.com                                         Group S
Lv Huiwu                       michaelwindebanker@yahoo.co                                      Group S
                               m
Meiyan Liu                     butshoppingonline@gmail.com      butshoppingonline@gmail.com     Group S
                               butshoppingonline@gmail.com      cheapsportsjerseys.us           Group S
                               butshoppingonline@gmail.com      sportsjerseyswholesale.us       Group S
Qin Yao                        johondiller@yahoo.com                                            Group S
QUNAR LEE                      wholesalejerseyscenter@gmail.c   www.cheapjerseyssupplybusines   Group S
                               om                               s.com
                               underjerseys@gmail.com           www.jerseyssalemarket.com       Group S
Renfen Li                      renfen86@gmail.com               supplyjerseys.us                Group S
                                                                www.nfljersey.us
                                                                oaocad.com
                               wholesalechinacenter@gmail.co    www.jerseysonly.us              Group S
                               m
Shen Qingshui                  ellalynn16@gmail.com                                             Group S
Shengze Yang                   mindyevans@163.com                                               Group S
Shijie Chen                    shinsakuonline@hotmail.com                                       Group S
Tingting Xia                   wienfieldtibbs@126.com                                           Group S
Tong Zhenggang                 BrookeSprang707@yahoo.com                                        Group S
Wang Fulong                    luciapatell@yahoo.com                                            Group S
Weng Yanchun                   maryannrodriguez@126.com                                         Group S
                               butshoppingonline@gmail.com      chinanfljerseys.us.com          Group S
                               wholesalejerseyscenter@gmail.c   NflJerseysWebsite.com           Group S
                               om
                               underjerseys@gmail.com           onlyjerseyswholesale.com        Group S
                               wholesaleshoppingonline@gmail    www.cheapjerseyschina.us.com    Group S
                               .com
                               butshoppingonline@gmail.com      www.nflbiz.us.com               Group S
                               butshoppingonline@gmail.com      www.nfljerseys.us.com           Group S
                               wholesalejerseyscenter@gmail.c   www.nfljerseyswebsite.com       Group S
                               om
                               wholesalejerseyscenter@gmail.c   www.wholesalecheapjerseyssupp   Group S
                               om                               ly.com
Willa Wharton                  wholesalejerseyscenter@gmail.c   www.discountjerseys.us          Group S
                               om

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                                                                               34100

       NAME                 EMAIL                            DOMAIN NAME                      GROUP

Wu Yan                      onlinestoresunglasses@gmail.co                                     Group S
                            m
Xiaosi fu                   williamkinnaman@yahoo.com        nfljerseyswebsite.com             Group S
YanFen Weng                 butshopping@hotmail.com                                            Group S
Yang Haiqi                  ChrisGagne42@yahoo.com                                             Group S
Yang Rong'e                 robertdostt@yahoo.com                                              Group S
Yanqing Zhu                 linneahedgecock@yahoo.com                                          Group S
Yuan Xiaoyan                rebeccasansberry@yahoo.com                                         Group S
Zelda Spingarn              wholesalejerseyscenter@gmail.c   www.cheapnikejerseysdeal.us       Group S
                            om
zhang guofu                 ericaceballose@yahoo.com                                           Group S
Zhang Shan                  nancy20easy@yahoo.com                                              Group S
Zhao Zeying                 daviddunn813@yahoo.com                                             Group S
Zheng Limei                 zhenglimeipp@gmail.com                                             Group S
Zheng Yuefen                PatriciaPlatt707@yahoo.com                                         Group S
Zhong Zhenning              hattiknoppot@yahoo.com                                             Group S
Zhou Dadi                   wholesalejerseyscenter@gmail.c   www.jerseywholesalejerseys.us     Group S
                            om
ಇ                           cheap6688@hotmail.com            cheapsportsjerseys.us             Group S
Chen Jun Xian
ྻ஑ጒ                         jiumeiwu53@gmail.com             supplyjerseys.us                  Group S
Wu Jiu Mei                                                   www.nfl-cheap-jerseys.com
ྻ㏦ྔ                         sobypal@gmail.com                                                  Group S
Wu Song Ye
ᮤ⋢ᱵ                         yumeilili62@hotmail.com                                            Group S
Li Yu Mei
⌔                           2010gaohaizhu@gmail.com          supplyjerseys.us                  Group S
Gao Hai Zhu                                                  nflreebokjerseys.com
                                                             www.ahdhf.com(shell)
⨾ⱥ                          2010gaomeiying@gmail.com         supplyjerseys.us                  Group S
Gao Mei Ying
ⰼⱥ                          greenville29649@gmail.com        gieyel.com(offline)               Group S
Gao Hua Ying                                                 www.ahdhf.com(offline)
                                                             www.supplyjerseys.us(BC,need
                                                             PW)
                                                             TOTAL AWARD (Group S)           $12.2 million



       NAME                 EMAIL                            DOMAIN NAME                      GROUP

Meion Online Store                                           www.buyrealcheapjordans.com       Group T
                                                             www.fashionpay.com
Diante Johnson              findnewfacelook@hotmail.com      airjordan6ssale.com               Group T
                            FashionJordanSky@gmail.com       airjordans11ssale.com
                            leisurejordankicks@gmail.com     authenticjordan2013sale.com
                                                             authenticjordan2014.com
                                                             authenticjordansonsales.com
                                                             authenticsjordans2013.com
                                                             buyjordan2013onlines.com
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       NAME                     EMAIL                          DOMAIN NAME                      GROUP

                                                               buyjordanonlinesales.com
                                                               customizedjerseysforsale.com
                                                               fear4s2013.com
                                                               firered5ssale.com
                                                               firstlevelsportshop.com
                                                               gammablue11ssale2013.com
                                                               gammablue11ssales.com
                                                               jordan2013sonsale.com
                                                               jordansforreal.com
                                                               realjordan2013ssales.com
                                                               realjordanssales.com
                                                               salejordansonline.com
                                                               socceronline2014.com
                                                               airjordan2014sales.com
                                                               airjordan3infrared23.com
                                                               airjordan6s.com
                                                               authenticjordan2014sale.com
                                                               authenticjordankicks2014.com
                                                               authenticjordansale.com
                                                               buyauthenticjordanstore2014.co
                                                               m
                                                               buycheapjordansale.com
                                                               buyjordan2014onlinestore.com
                                                               buyjordansforsale2014.com
                                                               buyjordansonlinesale2014.com
                                                               cheapjordan2014sale.com
                                                               gammablue11store.com
                                                               jordan6sale.com
                                                               jordansale2014.com
Imogen Lockhart                 doradvca@hotmail.com           allnewjordans.com                Group T
                                                               cheapjordansbuynow.com
                                                               cheapnewjordans.com
                                                               cheapzjordan.com
                                                               new-jordans.com
                                                               newjordanstore.com
                                                               nikeairmaxs.co.uk
Latin Malin                     findnewfacelook@hotmail.com    authenticjordan2013ssale.com     Group T
                                leisurejordankicks@gmail.com   buyjordans2013sonline.com
                                                               buyjordansonlinesales.com
Malik Davis                     malikwwf@hotmail.com           www.thejordan4s.com              Group T
Rene Paley                      meyerjpat@hotmail.com          airjordanretroiv.com             Group T
                                findnewfacelook@hotmail.com    buyjordans2013forsales.com
                                paley444666@yahoo.com          buyjordanscheaponline.com
                                                               buyjordansforcheaponline.com
                                                               buyrealcheapjordans.com
                                                               buyretrojordansforsale.com
                                                               cheapsauthenticjordans.com
                                                               cheapsjordanoutlet.com
                                                               jordanshoesonlines.net
                                                               onlinebuyairjordans.com
Smith Chen                      findnewfacelook@hotmail.com    topsportsstore.com               Group T
Tracy Driver                    gilmercbqwwf@hotmail.com       www.thejordanair.com             Group T
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                                                                                 34100

       NAME                   EMAIL                      DOMAIN NAME                 GROUP

                                                         TOTAL AWARD (Group T)      $10.8 million



       NAME                   EMAIL                      DOMAIN NAME                 GROUP

                                                                                      Group U
Tim Rhudy                     lessspam42@gmail.com       www.authentic-jordans.us     Group U
                              colepenam@gmail.com        cheapjordan11bred.us
                                                         jordans13hegotgame.org
                                                         objordans.com
                                                         bred11scheap.us
                                                         breds11forsale.us
                                                         hegotgame13sale.us
                                                         cheapjordan11bred.org
                                                         authentic-jordans.us
                                                         cheapjordan11bred.net
                                                         cheapjordanbred11.com
                                                         cheapjordanbred11.net
                                                         cheapjordanbred11.org
                                                         cheapjordansforsales.com
                                                         jordan13hegotgame13s.org
                                                         jordan13shegotgame.net
                                                         jordan13shegotgame.org
                                                         cheapjordanbred11.us
                                                         jordan13hegotgame13s.us
                                                         jordans13hegotgame.us
                                                         TOTAL AWARD (Group U)      $17.6 million



       NAME                   EMAIL                      DOMAIN NAME                 GROUP

Jinhui Zheng                                             www.shopuq.com               Group V

Zheng Jinzhao                                            www.shopuq.com               Group V

                                                         www.tradeut.com              Group V
                                                         tradeak.com                  Group V
Chen Min                      topbrarig@hotmail.com      echeapshoes@hotmail.com      Group V
                              inttopshop1@hotmail.com    www.echeapmk.com             Group V
Jinhui Zheng                  enikeshop1@yahoo.com       www.brandyz.com              Group V
                              topbrand-ol@hotmail.com    www.shopuq.com
                              inttopshop1@hotmail.com
Meixia Zheng                  inttopshop@hotmail.com                                  Group V
Pin Pai51                     echeapshoes@yahoo.com      www.cheapdk.com              Group V
                              enikeshop1@yahoo.com       brandpo.com
                              trade381@hotmail.com       brandnk.com
                              inttopshop@yahoo.com       shopaab.com
                              cheapshoesa@aliyun.com     cheapdk.com
                              740120070@qq.com           cheapbn.com
                              brandol@yahoo.cn           shoesob.com
                              brand-ol@yahoo.com         shoeseb.com
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       NAME                 EMAIL                      DOMAIN NAME                      GROUP

                                                       brandnn.com
                                                       www.cheapbn.com
                                                       www.brandcn.ru
Weng Tian Rong              brggingg@hotmail.com                                        Group V
                            inttopshop@hotmail.com
Zheng Jinhui                inttopshop1@hotmail.com    www.shopyny.com                  Group V
ZhiXiong Huang ZhiXiong     sdfasdfa@net.com           echeapshoes.com                  Group V
Huang ZhiXiong Huang
ZhiXiong Huang ZhiXiong
Huang
ஂᴆ                          961393468@qq.com           brand-ol66@hotmail.com           Group V
Zhang Jiu Chu
ఴወᮥ                         cheapb2b@yahoo.cn                                           Group V
Zheng Jin Hui               nikepumaaa@yahoo.cn
                            bagssell@yahoo.cn
                            etopshop1@hotmail.com
                            bestbrand51@hotmail.com
                            brand-ol88@hotmail.com
                            fashion777-2@hotmail.com
                            inttopshop1@hotmail.com
                            trade381@hotmail.com
                            brand-ol77@hotmail.com
                            etopshop3@hotmail.com
Ỉ                           740120070@qq.com           740120070@qq.com                 Group V
Chen Shui Lian              trade381@hotmail.com       trade382@hotmail.com
⩝ኳ                          brggingg@hotmail.com       inttopshop@hotmail.com           Group V
Weng Tian Rong
⩝ᛅ                          980965093@qq.com           enikeshop@yahoo.cn               Group V
Weng Qing Zhong
⩝㟷ப                         topbrand-ol@hotmail.com    echeapshoes.com                  Group V
Weng Qing Yun               etopshop5@hotmail.com      www.cheaperol.com
                            brand512@hotmail.com       www.jeansb2b.com(no violation)
                            trade383@hotmail.com       topbrand-ol@hotmail.com
                            brandol55@hotmail.com
                            etopshop2@hotmail.com
                            bragggdd@hotmail.com
                            topbrand-ol@hotmail.com
㔠                           cheapb2b@yahoo.cn          trade382@hotmail.com             Group V
Zheng Jin Hui               fashion777-5@hotmail.com   trade381@hotmail.com
㔠↷                          etopshop1@hotmail.com      trade381@hotmail.com             Group V
Zheng Jin Zhao              brand-ol88@hotmail.com
                            inttopshop1@hotmail.com
                            brand-ol77@hotmail.com
                            bestbrand51@hotmail.com
                            trade381@hotmail.com
                            brand-ol66@hotmail.com
                            enikeshop@hotmail.com
                            brand511@hotmail.com
                            trad381@hotmail.com
                            inttopbrand@hotmail.com
                            brandol88@hotmail.com

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       NAME                  EMAIL                           DOMAIN NAME                     GROUP

                                                             TOTAL AWARD (Group V)          $65 million



       NAME                  EMAIL                           DOMAIN NAME                     GROUP

                             sneakers2013@gmail.com          www.max-2013.com                Group W
Canganic Kong                nikesneakersusstore@gmail.com   jordan11-us.com                 Group W
                             lebron10basketball@gmail.com    jordan5-us.com
                             customerserviceonlinenow@gma    jordanshoesusshopping.com
                             il.com                          nikeairmax2014new.com
                             lebron10basketball@gmail.com    nikedunkfanatics.com
                                                             nikedunkhighfanatics.com
Dmmeli Duhaime               customerserviceonlinenow@gma    airjordanretrosbox.com          Group W
                             il.com                          hotairjordan13.com
                             hotairjordan13@gmail.com        hotairjordanretro.com
                             hotairjordanretro@gmail.com     jordanretroshoesinthebox.com
                             emmeliduhaime3502@hotmail.c     jordanretrostation.com
                             om
                             jordanretrostation@gmail.com
Fanskel Lemuel               Sneakers2013@gmail.com          www.dunkhigh2013.com            Group W
                                                             www.new2013airmax.com
Howard Linsa                 nikesneakersusstore@gmail.com   2013jordanretros.com            Group W
                             jordanretrostation@gmail.com    airjordaniv-us.com
                                                             jordanretro4-us.com
Jackson Smith                customerserviceonlinenow@gma    jordanretrohot.com              Group W
                             il.com                          www.lebronxi2014s.com
                             Nikesneakersusstore@gmail.com
Jesus jimenez                Sneakers2013@gmail.com          www.2013sbdunk.com              Group W
John Peir                    nikesneakersusstore@gmail.com   2013jordanretrobox.com          Group W
                             jordan132013store@gmail.com     jordan13-2013.com
                             johnpeir@gmail.com              jordanreto2013.com
                             nikesneakersusstore@gmail.com   retrosjordan13.com
                             Retrosjordan13@gmail.com
Join Lin                     linjian891022@gmail.com         airjordan5style.com             Group W
                             nikesneakersusstore@gmail.com   airjordangetall.com
                             Sneakers2013@gmail.com          jordan11available.com
                             Sneakers2013@gmail.com          jordan11concordbox.com
                             Nikesneakersaler@gmail.com      jordan11coolgreybox.com
                             Sale@airmax2013box.com          jordan11fanatics.com
                                                             jordan11spacejambox.com
                                                             jordan11spacejam-us.com
                                                             jordan4oreobox.com
                                                             jordan5shoes2013style.com
                                                             jordan5sretrosale.com
                                                             jordan6retrosale.com
                                                             jordanretro2014.com
                                                             jordanretrofanatics.com
                                                             www.max-2013.com
                                                             jordanshoesinbox.com
                                                             jordanshoesparadise.com
                                                             jordanshoeswithinhere.com
                                                             jordansretrogethome.com
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       NAME                  EMAIL                           DOMAIN NAME                      GROUP

                                                             jordansretrosetout.com
                                                             newjordansretroshoes.com
                                                             nike-factorystore.com
                                                             www.airmax2013box.com
                                                             www.airmaxhyperfuse2013.com
                                                             www.jordanshoesinthebox.com
                                                             www.lebron10instock.com
                                                             jordanretroget.com
                                                             www.womensjordan3.com

Mabelle Weig                 nikesneakersusstore@gmail.com   airjordan5-firered.com           Group W
                             airforceonelowbox@gmail.com     airjordan6retail.com
                                                             jordan13shoesretail.com
                                                             soccercleatsnew2013.com
                                                             newairjordan3firered.com
                                                             jordan5retail.com

Marshall Matthew             nikesneakersusstore@gmail.com   nikeairmax90cheap.com            Group W
                                                             nikeairmaxfanatics.com
                                                             nikedunkhighforcheap.com
                                                             nikesbfanatics.com

Nian Hua                     nianhua.t@gmail.com             2013bred11jordans.com            Group W
                             addjordanshoes@gmail.com        addjordanshoes.com
                             hotjordanshoessupermarket@gm    airjordanspecialsale.com
                             ail.com                         airjordanusstore.com
                             nikesneakersusstore@gmail.com   bred11jordans.com
                             jordanshoesstation@gmail.com    bredjordanshoes.com
                             Sneakers2013@gmail.com          bredjordans-us.com
                                                             hotjordanshoessupermarket.com
                                                             jordan11basketball.com
                                                             jordan13basketball.com
                                                             jordan3fireredbay.com
                                                             jordan5basketball.com
                                                             jordan5fireredbay.com
                                                             jordannewretroshoes.com
                                                             jordanretro11fanatics.com
                                                             jordanretrofirered.com
                                                             jordanretrovip.com
                                                             jordansbred-us.com
                                                             www.redjordan11.com
                                                             jordanshoesfanatics.com
                                                             jordanshoesstation.com
                                                             jordansspecialsale.com
                                                             newretrojordan.com
                                                             nikejordan11bred.com
                                                             www.378037-010.com
                                                             www.dunklowinthebox.com
                                                             Sneakers2013@gmail.com
                                                             www.lebron10fans.com
                                                             www.lebronshoesofficialshop.co
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       NAME                  EMAIL                           DOMAIN NAME                   GROUP

                                                             www.offerjordan4.com
                                                             jordanshoes2014.com

Nicol Duchaine               customerserviceonlinenow@gma    2013jordansretro.com          Group W
                             il.com                          ejordanretrobox.com
                             nicolonline@hotmail.com         jordanretrofans.com
                             nikesneakersusstore@gmail.com   jordanretrogameshoes.com
                             Servicesonlinenow@hotmail.co    jordanretroshoes-us.com
                             m                               jordanstore-us.com
                             Dunkhighkicks@gmail.com         www.13-retro.com
                                                             www.buyairjordan-us.com
                                                             www.dunkhighkicks.com

Nikolaj Chernets             Sale@offerairmax90.com          offerairmax90.com             Group W
Peir Junck                   johnpeir@163.com                2014retrojordan.com           Group W
                             customerserviceonlinenow@gma    airmax2014running.com
                             il.com                          ajasale.com
                             johnpeir@163.com                jordanretrofor2014.com
                             sale@freerun3sshoes.com         jordan11laneyfor2014.com
                             sale@jordangalaxyshoes.com      jordan13retrofor2014.com
                             servicesonlinenow@hotmail.com   jordan3retrofor2014.com
                             Sale@offerbasketballshoes.com   jordan4retrofor2014.com
                             Sneakers2013@gmail.com          jordan5retrofor2014.com
                                                             jordangalaxyshoes.com
                                                             jordanretroshoesbay.com
                                                             jordanretroshoesfans.com
                                                             freerun3sshoes.com
                                                             jordanretrosneakerssale.com
                                                             jordans2013.com
                                                             lebron11-us.com
                                                             newairmax2014running.com
                                                             nikeblazer-fr.com
                                                             nikefree-denmarkstore.com
                                                             nikemercurial2014soccer.com
                                                             offerbasketballshoes.com
                                                             ownbasketballsneakers.com
                                                             bred-11.com
                                                             www.jordan11bredbox.com


Sale Jordaner                nikesneakersusstore@gmail.com   enikesneakersbay.com          Group W
                             Sale@dunkhighsneaker.com        www.dunkhighsneaker.com
                             Sale@sbdunklow.com              www.sbdunklow.com

Shinsaku Drock               customerserviceonlinenow@gma    2013retrojordanbox.com        Group W
                             il.com                          airjordanretroshoesbox.com
                             shinsakuonline@hotmail.com      foampositeonekicks.com
                             Sneakers2013@gmail.com          retrojordaninthebox.com
                                                             www.highdunkshoes.com

Tang Nianhua                 NianHua.T@gmail.com             NianHua.T@gmail.com           Group W

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       NAME                 EMAIL                           DOMAIN NAME                  GROUP

                            Servicesonlinenow@hotmail.co    www.airmax2013boxes.com      Group W
                            m
Wu Qingfeng                 efashionbiz@hotmail.com         nike-factorystore.com        Group W
Zeynab Bstalvey             zeynabstalvey@gmail.com         airjordan3-firered.com       Group W
                            customerserviceonlinenow@gma    www.soccercleatscity.com
                            il.com                          getjordanretro.com
                            nikesneakersusstore@gmail.com   hotjordanretro4.com
                                                            hotjordansretro.com
                                                            jordan11newrelease.com
                                                            jordan11release2013.com
                                                            jordan11retail.com
                                                            jordanretrocity.com
                                                            jordanretroretails.com
                                                            airjordanlowshoes.com

ᯘ೺                          linjian891022@gmail.com         linjian891022@gmail.com      Group W
Lin Jian
ᯘ⚽ⱥ                         NianHua.T@gmail.com                                          Group W
Nianhua Tang
                                                            TOTAL AWARD (Group W)       $30 million



       NAME                 EMAIL                           DOMAIN NAME                  GROUP

                            nikefair@msn.com                www.cheapestlebron10.com      Group X
CHEN KUN                    Nikefair@msn.com                cheapnikelebrons.com          Group X
                            254740383@qq.com                www.cheaplebron10star.com
                                                            www.cheapslebron11.com
                                                            www.lebron11cheap.com
                                                            www.salecheaplebron10.com

CHEN YU                     Nikefair@msn.com                www.cheaplebron10shoe.com     Group X
                            1939762843@qq.com               www.lebron10cheaps.com
Gao Wei                     Nikefair@msn.com                www.cheapestlebron10.com      Group X
                                                            www.cheapslebron10.com
Kun Chen                    254740383@qq.com                cheapsnikefree.org            Group X
QIU JING                    Nikefair@msn.com                salecheapnikefrees.com        Group X
Xianghang003 Lin            Bestfreeruns@hotmail.com        nikecheaprun.com              Group X
ZHOU KAI                    Nikefair@msn.com                billigenikefrees.com          Group X
                            1939762843@qq.com               cheaplebron.org
                            Bestfreeruns@hotmail.com        cheaplebron10nike.com
                                                            cheapnikelebron10shoe.com
                                                            nikefoampositecheap.net
                                                            nikelebron10cheap.com
                                                            salecheapnikes.com
                                                            www.gofreeruns.com
                                                            www.cheaplebron.org
                                                            www.cheaplebron10x.com
                                                            www.cheap-lebrons.com
                                                            www.cheapsalelebron10.com

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       NAME                 EMAIL                      DOMAIN NAME                       GROUP

                                                       www.cheapsfoamposite.com
                                                       www.freerunsinusa.com
                                                       www.bestlebronshoes.com

                                                       TOTAL AWARD (Group X)            $21.7 million



       NAME                 EMAIL                      DOMAIN NAME                       GROUP

                            hotairjordan13@gmail.com   www.hotairjordan13.com             Group Y
                                                       TOTAL AWARD (Group Y)            $15.1 million



       NAME                 EMAIL                      DOMAIN NAME                       GROUP

Shan Peter                                             www.cheapuk-niketrainers.co.uk     Group Z
Chengfei Bei                beichengfei@yeah.net       billignikeairmaxnorge.com          Group Z
                                                       TOTAL AWARD (Group Z)            $15.1 million




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                       Defendants by Group and Associated Bank Accounts


                                  PAYPAL ACCOUNT INFORMATION
                                      DEFENDANTS - GROUP A
    PayPal          PayPal          Email Address(es)/Domains        Bank Account(s)            GROUP A
 Account Name   Account Number        Associated with PayPal  Associated with PayPal Account
                                             Account
ⴷ                                  yanuolv@yahoo.com.tw                                        Group A
Dong Hong Lun
Lin Zheng Yu                        ebrand123@hotmail.com                                      Group A
                                    tradingspring@hotmail.com

                                                                       TOTAL AWARD (Group A)   $84.2 million
                                                                                                               Case 1:13-cv-08012-CM-DCF Document 72-11 Filed 02/14/18 Page 96 of 100
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                                          DEFENDANTS - GROUP C
     PayPal          PayPal            Email Address(es)/Domains        Bank Account(s)           GROUP C
  Account Name   Account Number          Associated with PayPal  Associated with PayPal Account
                                                Account
Zhan Cuibin                          onlinebizdiscount@gmail.com                                  Group C
Rick Li d/b/a                        billing@163.ca                                               Group C
163.CA Inc.                          rick@163.ca
                                     support@tongyong.net
                                     temp@phytocanada.com

Wei Huangjie                         paypal8868@gmail.com                                         Group C


ヶ⩫ᙯ                                  bizfrom2003@gmail.com                                        Group C
Zhan Cui Bin

Zhan Ruping                          ppzhanruping@gmail.com                                       Group C




Chen Bingchao                        ppsalediscount@gmail.com                                     Group C


Wei Huangjie                         paypal888999@gmail.com                                       Group C

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                                        DEFENDANTS - GROUP C
     PayPal          PayPal           Email Address(es)/Domains        Bank Account(s)            GROUP C
  Account Name   Account Number         Associated with PayPal  Associated with PayPal Account
                                               Account
                                     paypalbank@126.com
                                     whjsoft@126.com
                                     shoxtn@hotmail.com
Wei Huangjie                         paypalbank3@gmail.com                                       Group C
                                     paypalbank3@126.com


Fan Zhangmu                          588327030@139.com,                                          Group C
                                     orderservices@live.com
                                     manningso@yahoo.com
Yue Manager                          sellmanageridw@hotmail.com                                  Group C
Wei Huangjie                         paypal888999@139.com                                        Group C
Zhan Cuibin                          paypalbank2@126.com                                         Group C
                                     paypalbank2@gmail.com
                                     dawintea@msn.com
Toni Wu                              sellmanageridb@hotmail.com                                  Group C
bingchao Chen                        nikeairforcecentral.com                                     Group C
Huangjie Wei                         paypal888999@139.com                                        Group C
                                                                        TOTAL AWARD (Group C)    $67.1 million



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                                         DEFENDANTS - GROUP D
     PayPal           PayPal           Email Address(es)/Domains        Bank Account(s)           GROUP D
  Account Name    Account Number         Associated with PayPal  Associated with PayPal Account
                                                Account
❧ⱥ                                    paysnice@hotmail.com                                        Group D
Lai Li Ying
Benjamin Wilson                       3WN69931GW723084L@                                          Group D
                                      dcc.paypal.com
                                      jiessie@vip.qq.com
ᚿ                                     processokpays@live.com                                      Group D
Ren Zhi Min                           corporationpays@hotmail.com
Zhang Feng Chun                       buypayonline@hotmail.com                                    Group D
Liu Zheng Bin                         managepays@hotmail.com                                      Group D

Ren Qing Huang                        toppaysline@live.com                                        Group D
                                      fastestpayslines@live.com

Yu Bin Bin                            ebaupays@hotmail.com                                        Group D
ᚿ㏻                                    payonlines@hotmail.com                                      Group D
Ren Zhi Tong
Song Yong Gan                         parypays@live.com                                           Group D
Ren Guo Ying                          annelaw2012@live.com                                        Group D
                                      annelaw2012@hotmail.com
                                      prosalepays@live.com


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                                         DEFENDANTS - GROUP D
     PayPal          PayPal            Email Address(es)/Domains         Bank Account(s)           GROUP D
  Account Name   Account Number          Associated with PayPal   Associated with PayPal Account
                                                Account
                                     prosalepay@live.com
᪋                                    huyuiifi5@126.com                                             Group D
Shi Hua                              jsadas12@yeah.net
                                     znjaid@sina.com
                                     guotradesusuxianxian@hotmail
                                     .com
                                     tbs@prc-oem.com
                                     huayiss5@yahoo.com
                                     huayzui@yahoo.com
                                     jiessie@vip.qq.com
                                     yauaa22@yahoo.com
                                     2696925368@qq.com
                                     SpragueneniThomas@gmail.co
                                     m
                                     tbs520520@163.com
                                     supportsser@hotmail.com
                                     shuang1203@gmail.com
                                     weiweigbasp2@hotmail.com
                                     kaishuntbs@163.com
                                     a7741551@gmail.com
                                     miloomservice@gmail.com

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